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   Exhibit L – SEALED excerpts of Plaintiffs’ Expert Witness G. Smith
   Transcript of Deposition (Sept. 22, 2020)



   PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE MARKETING
   OPINIONS OF DRS. ANNA LEMBKE, KATHERINE KEYES, ANDREW KOLODNY, AND JAKKI
   MOHR




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                                                                   Page 1

1                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
2
3
        * * * * * * * * * * * * * * * * * * * * * * *
4
        THE CITY OF HUNTINGTON,
5
                        Plaintiff,
6
        vs.                                             CIVIL ACTION
7                                                     NO. 3:17-01362
        AMERISOURCEBERGEN DRUG
 8      CORPORATION, et al.,
 9                Defendants.
10      ________________________
11      CABELL COUNTY COMMISSION,
12                 Plaintiff,
13      vs.                                                  CIVIL ACTION
                                                           NO. 3:17-01665
14      AMERISOURCEBERGEN DRUG
        CORPORATION, et al.,
15
                         Defendants.
16
        * * * * * * * * * * * * * * * * * * * * * * *
17
18
19               Videotaped and videoconference deposition
        of DR. GORDON SMITH taken by the Defendants under
20      the Federal Rules of Civil Procedure in the above-
        entitled action, pursuant to notice, before Teresa
21      S. Evans, a Registered Merit Reporter, all parties
        located remotely, on the 22nd day of September,
22      2020.
23
24

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1                                          APPEARANCES:
2
        APPEARING FOR THE PLAINTIFFS:
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4                       Anne McGinness Kearse, Esquire
                        Jacob R. Stout, Esquire
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22
23
24

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1                             APPEARANCES (Contd.)
2
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7
        ALSO PRESENT:
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                        Adam Hager, Videographer
9                       Samuel Bloom, Esquire
10
11
12
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3                       M.B., CH.B. (MD Equivalent Otago
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4                       2020
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6                       Gordon Smith, M.B., CH.B. (MD
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14                  2019
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18                  First Responders" from the U.S.
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23
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1                        P R O C E E D I N G S
2                       VIDEO OPERATOR:           Good morning.     We are
3       going on the record at 9:04 a.m. on September 22nd,
4       2020.     Please note that the microphones are
5       sensitive and may pick up whispering, private
6       conversations and cellular interference.                Please
7       turn off all cell phones or place them away from
8       the microphones, as they can interfere with the
9       deposition audio.
10                      Audio and video recording will
11      continue to take place unless all parties agree to
12      go off the record.
13                      This is Media Unit 1 of the video
14      recorded deposition of Gordon Smith taken Counsel
15      for the Defendant in the matter of City of
16      Huntington and Cabell County Commission versus
17      AmerisourceBergen Drug Corporation, et al, filed in
18      the United States District Court for the Southern
19      District of West Virginia, being Civil Action Nos.
20      3:17-01362 and 3:17-01665.
21                      This deposition is being conducted
22      remotely via Zoom conferencing.                My name is Adam
23      Hager from the firm Veritext, and I'm the
24      videographer.      The court reporter is Teresa Evans


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1       from the firm Veritext.
2                        I'm not authorized to administer an
3       oath; I'm not related to any party in this action;
4       nor am I financially interested in the outcome.
5                        Counsel and all present in the room
6       and everyone attending remotely will now state
7       their appearances and affiliations for the record.
8                        If there are any objections to
9       proceeding, please state them at the time of your
10      appearance, beginning with the noticing attorney.
11                       MS. WU:      Good morning.         My name is
12      Laura Flahive Wu of Covington & Burling, and I
13      represent McKesson Corporation.
14                       MR. HOWE:       My name is Sam Howe of
15      Covington & Burling, and I also represent McKesson
16      Corporation.
17                       MS. VITALE:         Good morning.      This is
18      Christina Vitale with Reed Smith, and I represent
19      AmerisourceBergen Drug Corporation.
20                       MS. SOCHACZEVSKI:             Good morning,
21      Danielle Sochaczevski for Cardinal Health.
22                       MR. FRANKS:         Good morning.      Ray
23      Franks, local counsel for Cardinal Health.
24                       MR. BURNETT:          Good morning.      This is


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 1      David Burnett from Motley Rice for the Plaintiffs.
 2      I'm joined by Anne Kearse for the Plaintiffs.
 3                          MR. STOUT:     Jake Stout, Motley Rice,
 4      Plaintiffs.
 5                          MS. SHKOLNIK:       Rachel Shkolnik, Napoli
 6      Shkolnik, on behalf of West Virginia MLP
 7      Plaintiffs.
 8                          VIDEO OPERATOR:        If there are no
 9      further appearances to be noted -- I'm sorry, say
10      that again?
11                          If there are no further appearances to
12      be noted, would the court reporter please swear the
13      witness.
14                          (The witness was sworn.)
15                          G O R D O N       S M I T H
16      was called as a witness by the Defendants, and
17      having been first duly sworn, testified as follows:
18                                EXAMINATION
19      BY MS. WU:
20            Q.        Good morning, Doctor.
21            A.        Good morning.
22            Q.        As you just heard, my name is Laura Flahive
23      Wu.    I'm with the law firm of Covington & Burling,
24      and I represent one of the defendants in this


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                                                                       Page 9

 1      lawsuit, McKesson Corporation.
 2                             Can you hear me okay?           I just want to
 3      make sure that the technology is working --
 4            A.        Yep, no, it seems to be working quite well.
 5            Q.        Okay.     If at any point today it's difficult
 6      for you to hear or see me, please let me know so
 7      that we can pause and reset our technology.
 8                             MS. WU:   That goes for everyone on the
 9      line.      Let's work together to make sure this goes
10      smoothly.         We've been doing that well so far in
11      other depositions.
12            Q.        Doctor, thank you for being with us
13      virtually today.            We appreciate your time.           To
14      start us off, can you state your name and business
15      address for the record?
16            A.        Yes.     My name is Gordon Stephen Smith, and
17      my business address is West Virginia University
18      School of Public Health, Medical Center Drive,
19      Morgantown, West Virginia.
20            Q.        And I'm going to ask a few questions which
21      are about your physical location today, and that's
22      simply to set the scene for the transcript since we
23      are participating in this deposition virtually.
24                             Where are you physically located for


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 1      purposes of your deposition today?
 2            A.        At the Hyatt in the Harbor Hotel in
 3      downtown Baltimore.
 4            Q.        What type of room are you in for purposes
 5      of your deposition?
 6            A.        I think it's the Calvert Room.         On the
 7      third floor.
 8            Q.        Is it -- is it a private room?         It's not
 9      open to the public, sir?
10            A.        It's a private conference room with the
11      doors closed.
12            Q.        Thank you.    Is anyone in the room with you,
13      Doctor?
14            A.        Yes.   David Burnett is with me, the
15      counsel.
16            Q.        Is there anyone else present with you?
17            A.        No, there's not.
18            Q.        You're participating in this deposition via
19      a computer, correct?
20            A.        Correct.
21            Q.        Are there any -- is there any other
22      technology that you're using to assist you during
23      your deposition today?
24            A.        I have a camera mounted on top of my


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 1      computer, but that's it.
 2            Q.        Okay.
 3            A.        And a computer mounted --
 4            Q.        Okay.    And I would just ask if you would
 5      take your cell phone and put it away from you just
 6      because that could cause sound issues as we
 7      continue today.
 8                            Doctor, do you have a set of hard copy
 9      deposition exhibits?
10            A.        Yes, I do.
11            Q.        Okay.    Just want to make sure that we're
12      all set before we get started.                   We're going to go
13      over just a few ground rules for your deposition.
14      Have you been deposed before, Doctor?
15            A.        No, I haven't.
16            Q.        Have you ever testified at trial before?
17            A.        No, I haven't.
18            Q.        Have you ever testified under oath in any
19      other type of legal proceeding?
20            A.        No.
21            Q.        Have you ever served as a consulting expert
22      in any other litigation?
23            A.        Yes, probably 30 years ago in Papua, New
24      Guinea.


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 1            Q.        What was the nature of the litigation in
 2      which you served as a consulting expert?
 3            A.        It was to determine cause of death, but I
 4      can't remember the details.
 5            Q.        Were you serving as a consulting physician
 6      in the context of that litigation?
 7            A.        Yes.
 8            Q.        Thank you, Doctor.           So I'll briefly go over
 9      some of the ground rules for the deposition today,
10      and then we'll move more into the substance.
11                             Since you haven't been deposed before,
12      I just want to make sure that we are on the same
13      page so this goes smoothly.                  You understand that
14      you're testifying under oath today, correct,
15      Doctor?
16            A.        Correct.
17            Q.        And the oath you've taken obligates you to
18      testify truthfully as if you were in a courtroom.
19      Do you understand that?
20            A.        Yes.
21            Q.        Today, your counsel, Mr. Burnett, is there
22      with you in person, correct?
23            A.        Yes.
24            Q.        During the deposition, Mr. Burnett may


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 1      lodge certain objections to my questions.                   If he
 2      lodges an objection, you may answer the question
 3      absent an instruction not to answer.                   Do you
 4      understand that?
 5            A.        I do.
 6            Q.        Now, also you understand that Teresa Evans,
 7      the court reporter, is taking a stenographic record
 8      of this deposition.            Do you understand that?
 9            A.        Yes, I do.
10            Q.        So it's important that we try not to talk
11      over each other.          I'll do my best.           It is a little
12      more difficult in this virtual setting, so I
13      apologize in advance if we step over each other.
14      But we'll try our best to have one speaker at a
15      time.      Can we agree to that, Doctor?
16            A.        Yes.
17            Q.        Okay.   Is there any reason you cannot give
18      truthful testimony today?
19            A.        No.
20            Q.        Are you taking any medications or subject
21      to any illness that may interfere with your
22      testimony today?
23            A.        No, I'm not.
24            Q.        Doctor, who is your current employer?


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 1            A.        West Virginia University.
 2            Q.        What is your current title?
 3            A.        Professor, Epidemiology.
 4            Q.        How long have you held that position?
 5            A.        Just over three years.
 6            Q.        Doctor, you plan to offer expert opinions
 7      in this case, correct?
 8            A.        Yes.
 9            Q.        When were you first approached by counsel
10      about becoming an expert in this case?
11            A.        Sometime in June if I remember correctly.
12            Q.        And that's June of 2020, correct, Doctor?
13            A.        Correct.
14            Q.        Who approached you?
15            A.        Anne Kearse.
16            Q.        What did plaintiffs' counsel ask you to do?
17                             MR. BURNETT:      Let me just interject
18      here.      As you know, you can answer that question as
19      it pertains to your assignment, but you should not
20      otherwise disclose your conversations with counsel.
21            A.        She asked me to -- about the causes of
22      death data and the drug overdose deaths, because
23      she knew that I'd be working in this area.
24            Q.        Doctor, how would you describe the


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 1      assignment that plaintiffs' counsel gave you for
 2      purposes of your testimony in this case?
 3            A.        Was to provide a longitudinal study of the
 4      drug overdose death patterns, both in Cabell
 5      County, in the Huntington area, and in West
 6      Virginia as a whole.
 7            Q.        Doctor, how much are you being paid for
 8      your expert work in this case?
 9            A.        I'm being paid at $500 an hour.
10            Q.        Are you being paid the same amount for your
11      testimony in this case?
12            A.        Yes.
13            Q.        How much have you billed to plaintiffs'
14      counsel for your work in this case so far?
15            A.        I haven't billed anything so far.
16            Q.        How many hours have you worked on this case
17      thus far?
18            A.        Approximately about 55.
19            Q.        And you said you haven't billed any of that
20      time to plaintiffs?
21            A.        No, I haven't.
22            Q.        Do you expect to bill that time to
23      plaintiffs?
24            A.        Yes, I do.


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 1            Q.        Do you expect to get paid for that work,
 2      Doctor?
 3            A.        Yes, I do.
 4            Q.        Do you have an agreement with plaintiffs'
 5      counsel in writing?
 6            A.        I have not -- at this stage, no.
 7            Q.        Do you have any previous work experience
 8      for plaintiffs' counsel specifically, including
 9      Motley Rice?
10            A.        No, I don't.
11            Q.        How about any of the other plaintiffs' law
12      firms in this case?
13            A.        So I just put -- when you're asking about a
14      contract, I have a contract, but I have not sent it
15      off and signed it.           So I'm not sure what exactly
16      you are meaning with that.
17            Q.        Certainly.     So just to clarify the record,
18      Doctor, that's very helpful.               Is it the case that
19      you have received a draft engagement letter from
20      counsel for the plaintiffs in this case?
21            A.        What do you mean by "a draft engagement
22      letter"?
23            Q.        Have plaintiffs' counsel provided you any
24      written agreement for your services in this case?


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 1            A.        Yeah, they've given me an agreement which I
 2      am supposed to sign and send off, but I haven't
 3      done that yet.
 4            Q.        Certainly.     So you have an agreement in
 5      place; you simply need to execute the agreement.
 6      Correct?
 7            A.        That's correct.
 8            Q.        Thank you, Doctor.           Could you describe how
 9      you prepared for your deposition today?
10            A.        I read over my report, read over the origin
11      of the data for the report, looked at documents
12      that I referred to and had discussions with
13      counsel.
14            Q.        And when you refer to "counsel," are you
15      referring to Mr. Burnett?
16            A.        Yes.
17            Q.        Was there any other counsel for plaintiffs
18      involved in your preparation for today?
19            A.        Yes.
20            Q.        Who else?
21            A.        Anne Kearse and Teresa -- I can't remember
22      her last name.
23            Q.        Thank you, Doctor.           Did you speak to anyone
24      else in anticipation of your deposition today?


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 1            A.        No, I did not.       Except to let my wife know
 2      where I was going.
 3            Q.        Fair enough.     How about anyone who works
 4      with you?         Did any members of your team assist you
 5      in preparing for your deposition today?
 6            A.        No, they did not.
 7            Q.        Now, you said a short while ago that you've
 8      billed about 55 hours for your work in this case.
 9      Is that right?
10            A.        Yes.
11            Q.        Did any other members of your academic or
12      professional team assist you in preparing your work
13      for this case?
14            A.        No, they did not.         Not -- not over and
15      above what was available before we started this.
16            Q.        You -- all of the work product you've
17      generated is your own work.                 No other assistants
18      provided support.            Correct?
19            A.        If you mean for the preparation of the
20      report, yes.           But not for my publications or other
21      things.
22            Q.        Certainly.     So for the work that you did
23      specific to this case, you did not use any
24      assistants to provide additional support, correct?


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 1            A.        That's correct.
 2            Q.        Thank you, Doctor.        Now, I want to turn to
 3      talk to your report -- about your report a bit, and
 4      just to make it a little bit easier, if you can
 5      pull out -- in the documents that we sent to you,
 6      it's Document No. 3 is a copy of your expert
 7      report.
 8                          And Doctor, we'll be using that
 9      document a good deal today, so you might want to
10      keep it close at hand.
11                       SMITH DEPOSITION EXHIBIT NO. 3
12                          (Expert Report of Gordon Smith M.B.,
13                          CH.B., (MD Equivalent Otago
14                          University), MPH dated August 3, 2020
15                          was marked for identification purposes
16                          as Smith Deposition Exhibit No. 3.)
17                          MS. WU:    And for the record, we're
18      marking as Gordon Deposition Exhibit 1 a copy of
19      Doctor Gordon's expert report dated August 3rd,
20      2020.
21            Q.        Doctor, do you have a copy of your expert
22      report which is Exhibit 1 in front of you now?
23            A.        Yes, I do.    That's labeled Exhibit 3.          You
24      told me to pick up Exhibit 3.                You said "Exhibit


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                                                                  Page 20

 1      1."
 2            Q.        Oh, my apologies.       I have defaulted to an
 3      old way of marking exhibits.
 4                          MS. WU:     For purposes of the record,
 5      let me clarify.         We will refer to the expert report
 6      of Doctor Gordon as Deposition Exhibit 3.                 That is
 7      what we've been doing in this case.                 My apologies.
 8            Q.        And thank you, Doctor Gordon.          There will
 9      be gaps in our exhibits, but hopefully we'll be
10      less confused this way.            So thank you, Doctor.
11                          So Doctor, do you have a copy of your
12      report which is Deposition Exhibit No. 3 in front
13      of you now?
14            A.        Yes, I do.
15            Q.        Thank you, Doctor.        Doctor, does your
16      report accurately describe the work that you did in
17      order to prepare for testimony in this case?
18            A.        Yes, it does.
19            Q.        The 55 hours that you have billed -- or
20      that you have worked for plaintiffs include time
21      that you spent reviewing data to identify the
22      numbers of drug overdose deaths in Cabell County
23      and West Virginia, correct?
24            A.        Yes, it did.


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 1            Q.        The 55 hours that you have spent working
 2      for plaintiffs' counsel in this case include time
 3      you spent reviewing the Vital Statistics overdose
 4      fatality data for West Virginia from 2001 onwards,
 5      correct.
 6            A.        Correct.
 7            Q.        The 55 hours that you have spent working
 8      for plaintiffs' counsel in this case include the
 9      time that you spent obtaining fatal overdose data
10      from the Vital Statistics for Cabell County from
11      2001 through 2018, correct?
12            A.        Correct.
13            Q.        And the 55 hours that you billed in your --
14      or that you have worked for plaintiffs' counsel
15      included time you spent reviewing data from the
16      West Virginia Medical Examiner's Office, correct?
17            A.        Correct.
18            Q.        That 55 hours that you spent working on
19      this case also includes time that you spent time
20      meeting with counsel for plaintiffs, correct?
21            A.        Correct.
22            Q.        It also includes time that you spent
23      writing an 18-page report and reviewing the 27
24      pages of exhibits that were attached to your


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 1      report.         Correct?
 2            A.        Correct.
 3            Q.        That is everything that you've done for
 4      purposes of your work in connection with this
 5      litigation, correct?
 6            A.        If you will look in my report, I also spent
 7      time to determine the drug overdoses prior to 2001
 8      when that one data source was not available and
 9      that data is included in my report.
10            Q.        Thank you, Doctor.          What work did you
11      undertake in order to identify overdoses that
12      predate 2001 in West Virginia?
13            A.        This was -- talk -- much more work than was
14      mutually anticipated because the data were not --
15      were so readily available.                And so what I undertook
16      was to do a detailed study of the National Center
17      for Health Statistics available data and then I had
18      to search through multiple documents looking for
19      historical data, which is much harder to obtain.
20            Q.        Other than reviewing data in order to
21      identify pre-2001 overdoses, is there any other
22      category of work that I've missed in reviewing your
23      work in connection with this case?
24            A.        Did you already mention reviewing


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 1      background material?
 2            Q.        I did not mention reviewing background
 3      material.
 4            A.        I guess the background was the items that I
 5      cite in the re -- in the report.
 6            Q.        Is there anything else in addition to your
 7      review of data for pre-2001 overdoses and reviewing
 8      background materials, specifically those cited in
 9      your report, that you undertook in order to
10      complete your work in connection with this case?
11            A.        Not that I can remember.
12            Q.        Thank you, Doctor.        Approximately how many
13      hours did you spend reviewing the pre-2001 data in
14      order to generate your opinions as to the rate of
15      overdoses prior to 2001?
16            A.        I really can't remember.            I would think it
17      took probably at least a day.                It was much more
18      time consuming than I thought.
19            Q.        So it took about a day in order to review
20      data in order to identify or estimate the number of
21      overdoses that occurred in West Virginia prior to
22      2001.      Correct?
23            A.        That's correct.     Maybe a day and a bit.
24      But yes.


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 1            Q.        Thank you.     Approximately how many hours
 2      did you spend reviewing data in order to identify
 3      the number of overdoses that occurred in Cabell
 4      County and West Virginia from 2001 to 2018?
 5            A.        That probably took another day and a half,
 6      and between the two of them, was probably about
 7      three days, I would say.
 8            Q.        When you say "between the two of them," do
 9      you mean for the pre-2001 period and then the
10      period 2001 to 2018, Doctor?
11            A.        Yes.     It might have even taken me -- it
12      depends on whether -- are you talking about just
13      reviewing the data, or are you talking about
14      writing it up and analyzing it?
15            Q.        Just reviewing the data, Doctor.
16            A.        Okay.     It was probably, I would say, two
17      days.
18            Q.        Okay.     Doctor, about how many hours did you
19      spend reviewing the fatal overdose data from Vital
20      Statistics for Cabell County specifically?
21            A.        I would say probably a day.
22                             So do you -- by what do you mean by
23      "reviewing"?
24            Q.        Well, Doctor, could you describe the


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 1      process that you undertook when you worked with the
 2      data sets cited in your report?
 3            A.        Yes.     What it involved was making sure that
 4      I had the most recent data available from the
 5      reports, and then looking at the data and then
 6      putting it together into a graph or the tables that
 7      were prepared.
 8            Q.        Doctor, just for use -- if I use the term
 9      "reviewing data" today, could we use that as a
10      shorthand for the process that you've just
11      described?
12            A.        Yes.
13            Q.        Okay.     Thank you.       That will save us a few
14      words.
15                             Doctor, approximately how many hours
16      did you spend reviewing the database of overdose
17      fatalities from the West Virginia Medical
18      Examiner's Office?
19            A.        I would say probably about five or six
20      hours from the Medical Examiner's Office.
21                             MR. BURNETT:      Let me just interject.
22      Counsel, you have his final report with all the
23      data in it.            I'm not sure why you need to know how
24      many hours he spent in the process of preparing


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 1      each component of the report.                I would suggest we
 2      just talk about the report itself.
 3                          MS. WU:   Thank you, Counsel.
 4            Q.        Doctor, approximately how many hours did
 5      you spend drafting your report?
 6                          MR. BURNETT:      And I will interject
 7      here, I am directing you not to answer questions
 8      about the drafting process, because they're not
 9      entitled to drafts and they're not entitled to know
10      about the drafting process.
11                          THE DEPONENT:       Okay.
12                          MS. WU:   Counsel -- Counsel, it's my
13      understanding that witnesses, expert witnesses, are
14      to be prepared to answer questions about the hours
15      and billings for the case.              I'm not asking about
16      the process; simply the number of hours, similar to
17      what would be recorded in an invoice.
18                          And it's my understanding that the
19      parties reached this agreement to avoid the need to
20      produce invoices.
21                          MR. BURNETT:      Right.        So my
22      understanding is that counsel have an agreement as
23      to disclosing billing rate and a total number of
24      hours.      It's not my understanding that there's any


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 1      agreement on discussion of how many hours spent
 2      drafting or the drafting process.
 3                          So I'm directing him not to answer.
 4      You know, I'll circle up at the break and see if
 5      that's something we can disclose, but for now, I'm
 6      going to direct him not to answer.
 7                          MS. WU:      Okay.       I don't think that is
 8      worth delaying progress here.                   But just to be
 9      clear, Counsel, for clarity of the record, you are
10      instructing the witness not to testify concerning
11      the total number of hours that he spent drafting
12      the report which is identified as Deposition
13      Exhibit No. 3, correct?
14                          MR. BURNETT:          At the moment, subject
15      to checking with other people, yes.
16                          MS. WU:      Okay.       Thank you.
17      BY MS. WU:
18            Q.        Doctor, you still have in front of you a
19      copy of your report which is Exhibit No. 3,
20      correct?
21            A.        Correct.
22            Q.        Now, if we turn to page 1 of your report,
23      you -- it states that you are "currently involved
24      in multiple academic projects studying drug


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 1      overdoses in West Virginia, including Cabell
 2      County."         Do you see that?
 3            A.        Yes.
 4            Q.        Doctor, could you identify each of the
 5      academic projects that are cited here on page 1 of
 6      your report?
 7            A.        Okay.        The -- if I can just look at what's
 8      on this report.               I don't list them on the -- on
 9      this report.            Let me just check here.
10                             No.     On page 1, I don't list -- I list
11      my previous work before that, and I don't see any
12      mention of the studies that I've done in West
13      Virginia.
14            Q.        I'm sorry, Doctor, could you -- could you
15      describe for us the multiple academic projects
16      studying drug overdoses in West Virginia that you
17      cite?
18            A.        Okay.        I will look.        Here we go.   On page
19      2, I first describe my detailed work studying
20      injury mortality that I've been working in the area
21      for many, many years.                And then I state that I was
22      recruited in 2016 to West Virginia because of my
23      expertise in substance abuse and in injury data.
24                             I was offered the endowed chair, and


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 1      I'm a part of a group documenting substance abuse
 2      problems in West Virginia.                I've been looking at
 3      the overdose autopsy data; we've been looking at
 4      hospital data for nonfatal overdoses; and
 5      conducting drug surveys in rural parts of the
 6      state.
 7                          And I'm currently funded to conduct a
 8      field study of opioid problems in the eight
 9      southernmost counties of West Virginia that are
10      directly adjacent to Cabell County and Wayne County
11      where the City of Huntington lies.
12                          In addition, my statewide studies of
13      drug overdoses include both Cabell County and Wayne
14      Counties.
15            Q.        Thank you, Doctor.          So you're looking --
16      just for clarity in the record, you are now
17      referencing page 2 of your report, the last
18      paragraph on that page.              Correct?
19            A.        Correct.
20            Q.        Okay.   Let's walk through this.         So if we
21      look back to what you just said, it says, "I am
22      part of a group documenting substance abuse
23      documents in West Virginia, looking at information
24      such as autopsies (for fatal overdoses), hospital


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 1      discharge data (for nonfatal overdoses), and
 2      conducting drug surveys in rural parts of the
 3      state."
 4                             Do you see that, Doctor?
 5            A.        On page 2?
 6            Q.        Yes.
 7            A.        Sorry if I was -- so could you just tell me
 8      -- where was -- I was looking at the other page,
 9      because there's some more detail on the other page
10      of the studies that I've been working on.
11            Q.        Certainly, Doctor.           I was referencing the
12      last paragraph on page 2 of your report, which is
13      what you had just read a portion of into the
14      record.
15            A.        And which were you seeking clarification
16      on?
17            Q.        The -- "I am part of a group documenting
18      substance abuse problems in West Virginia, looking
19      at information such as autopsies (for fatal
20      overdoses)" --
21            A.        Yes.
22            Q.        -- "discharge data (for nonfatal overdoses)
23      and conducting drug surveys in rural parts of the
24      state."


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 1                          Do you see that, Doctor?
 2            A.        Yes, I do.
 3            Q.        What is the group that you reference in
 4      that portion of your report?
 5            A.        There are several groups, actually, one of
 6      which is the colleagues that I -- the co-authors on
 7      my paper that are working on the autopsy data and
 8      the medical examiner data, and then separately, the
 9      other group that I'm -- big group that I'm working
10      with is on page 3, the SUPPORT project where we're
11      looking at all of the different data sources on
12      drug problems in the state, across the state as a
13      whole, all counties, and then specifically
14      identifying problems in individual counties.
15            Q.        Doctor, what is the first group that you
16      mentioned related to the medical examiner data?
17      Does it have a name?
18            A.        Yes, this is our drug toxicology Forensic
19      Drug Database.
20            Q.        Doctor, you mentioned the drug toxicology
21      forensic database group and the SUPPORT program
22      group.      Are there any other academic groups
23      included in those that are referenced in Paragraph
24      1 on page 1 of your report?


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 1            A.        Not referenced in that -- not referenced
 2      here, no.
 3            Q.        Doctor, are you currently a part of any
 4      other academic groups or memberships which are
 5      engaged in the study of overdoses in Cabell County
 6      or West Virginia, more broadly?
 7            A.        I guess my teaching -- I have students who
 8      occasionally work on different projects.                 I'm not
 9      quite sure exactly what you're meaning by "groups."
10                          I have advised students that have done
11      analyses of drug problems in West Virginia.                  But
12      those are probably the two major projects.
13                          The other project is the studies in
14      the eight -- in the counties in the southern part
15      of the state, which was a NIDA-funded study that I
16      am the co-PI on with Doctor Judith Feinberg.
17            Q.        Thank you, Doctor.        Let's talk about the
18      drug toxicology forensic group.                 That's the first
19      one that you identified.            When did that work begin?
20            A.        My colleagues started work on that in 2005
21      as described in our articles that were published,
22      and I started working with them as soon as I came
23      to West Virginia.
24            Q.        And you came to West Virginia in 2016,


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 1      correct, Doctor?
 2            A.        Correct.
 3            Q.        Has the drug toxicology forensic group
 4      published findings since you joined the group in
 5      2016?
 6            A.        Yes, we have, one of which is the article
 7      that I referred to in the -- in my paper, which is
 8      the analysis of the fentanyl data.                    And I've been
 9      funding --
10            Q.        And the --
11            A.        -- the doctoral students who have been
12      working on that, and working with us on it.
13            Q.        Thank you, Doctor.          Other than the fentanyl
14      article which is referenced in your report, are
15      there any additional findings of the drug
16      toxicology forensic group which have been published
17      since you joined that group in 2016?
18            A.        Yes, there's a new article that's just come
19      out that is not on my CV - because it's just come
20      out - on looking at the relationship of
21      polysubstance abuse deaths in the state and
22      relating it to alcohol.
23            Q.        Did you cite that article in your report?
24            A.        No.   As I said, it's just come out, and so


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 1      I didn't.         In academia, we tend to only cite
 2      reports once they're published and been peer
 3      reviewed.
 4            Q.        Doctor, did that polysubstance abuse
 5      article contribute to the opinions that you've put
 6      forward in your report marked as Exhibit 3?
 7            A.        No, it didn't at all contribute to my
 8      opinion; it just reinforced it.
 9            Q.        Thank you, Doctor.        Does the drug
10      toxicology forensic group have any additional
11      forthcoming findings or opinions that you expect to
12      be published?
13            A.        We're always looking at analyzing data.
14      We're probably about to look at some of the other
15      long-term trends in the data.                I have my doctoral
16      students be working on some projects.
17                          But like any academic project, there
18      will be things come up, and one of the things we're
19      particularly interested in is the long-term trends,
20      so we'll probably be doing more data on looking at
21      the trends as the newest data comes out.                  And also
22      --
23            Q.        There's -- I'm sorry, Doctor.         Please go
24      ahead.


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 1             A.       No, that's all.       Thanks.
 2             Q.       Doctor, there's not any paper which is
 3      slated for publication now, correct?
 4             A.       Correct.
 5             Q.       Okay.   How is the drug toxicology forensic
 6      group funded?
 7             A.       At the moment, it's been funded over the
 8      years with some funding -- you mean funded now, or
 9      in the past?
10             Q.       Let's start with now.            How is it funded
11      now?
12             A.       Currently, it is funded by my endowed
13      professorship.
14             Q.       How -- and what is the source of funding
15      for your endowed professorship?
16             A.       This is the Robbins Endowment Fund from the
17      Robbins family who endowed my professorship and
18      provides also some of my salary and also provides
19      some research funds with which I've been able to
20      hire the doctoral students to work with me.
21             Q.       Thank you, Doctor.          When did your endowed
22      funding start to provide resources for the drug
23      toxicology forensic group?
24             A.       As soon as I started working there in 2016,


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 1      end of 2016.
 2            Q.        Doctor, do you have knowledge of the
 3      funding sources for that group prior to your
 4      engagement with it in 2016?
 5            A.        I don't have the exact details, but some of
 6      it came from the National Institute of Justice, and
 7      also NIH through the Clinical and Translational
 8      Research Institute and some CDC funding through the
 9      Injury Prevention Center.
10            Q.        Doctor, does the drug toxicology forensics
11      group focus specifically on Cabell County, West
12      Virginia?
13            A.        No, it does not.      But it clearly identifies
14      each county and which county the data comes from.
15            Q.        Does the drug toxicology forensics group
16      have any service component?               That is, does it
17      provide any services to communities in West
18      Virginia other than the data it publishes?
19            A.        We provide -- the analysis of the data
20      comes from the medical examiner's office, but we
21      provide them with data and when they want it, and
22      when they want to do some analyses, when they're
23      doing testimony in the state and contributing to
24      State policy, and local government policy when


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 1      needed.
 2            Q.        Other than the evaluation and findings
 3      which you provide to the communities in West
 4      Virginia, are there any additional services the
 5      drug toxicology forensics group provides to West
 6      Virginia's communities?
 7            A.        Yes, we have been providing data to
 8      individual counties in the southern states so that
 9      they can understand better their drug problems and
10      have fed it up in community meetings to the group,
11      and they're using it as part of their planning
12      process.
13            Q.        Doctor, to the best of your knowledge, has
14      the drug toxicology forensics group provided data
15      or analysis to Cabell County?
16            A.        I think they have provided some data to the
17      local -- I'm not 100 percent sure.                   I would assume
18      they have over time.          I haven't been -- I've only
19      been involved with it since 2016.                   Goes right back
20      to 2005, and they have provided data to the local
21      people, because this is the best compiled data of
22      all of the -- the actual drugs found in people.
23            Q.        Doctor, during your tenure working with the
24      drug toxicology forensic group starting in 2016, to


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 1      your knowledge, has Cabell County requested
 2      analysis from your working group?
 3            A.        Not that I'm aware of.
 4            Q.        How about Huntington, the City of
 5      Huntington?            Has it requested evaluation or
 6      information from the drug toxicology forensic
 7      group?
 8            A.        I'm not 100 percent sure.              I don't -- I'm
 9      not -- I'm very involved in it, and I've been
10      providing support for it, but it has a long history
11      and there may well have been some local inquiries.
12      I'm not -- I'm not doing it myself personally, so I
13      don't know everything that my colleagues are doing.
14            Q.        Okay.     But you're not aware of any
15      inquiries from Cabell or Huntington, correct?
16            A.        Correct.
17            Q.        Thank you, Doctor.           So then the next
18      program that you mentioned is the SUPPORT program,
19      correct, Doctor?
20            A.        Yes.
21            Q.        And the SUPPORT program is referenced in a
22      number of places in your report, including on page
23      3, correct?
24            A.        Correct.


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 1            Q.        Doctor, could you describe the SUPPORT
 2      program for us?
 3            A.        This is funded by the Center for Medicaid
 4      Services, through the State Health Department,
 5      Department of Health and Human Services, and the
 6      Medicaid office, to provide a comprehensive plan on
 7      drug problems in West Virginia, and specifically to
 8      look at counties and county needs.
 9                          And we're in the process of working on
10      it now.         We don't have any report, but we have been
11      analyzing both hospital data and the Medicaid data
12      and we will be producing reports on individual
13      counties, but we haven't completed that yet.
14                          But the goal is --
15            Q.        Doctor --
16            A.        -- to be able to document the total drug
17      problem and what the burden of drugs are in the
18      state.
19            Q.        Thank you, Doctor.           When did you begin your
20      work with the SUPPORT program?
21            A.        At about the beginning of this year.
22            Q.        Beginning of --
23            A.        -- 2020.    And probably I've been giving
24      them some -- I've been giving them some advice and


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 1      consultation because of my expertise in data and
 2      the statistics and health statistics.                But I wasn't
 3      funded by them specifically until the beginning of
 4      this year.
 5            Q.        Okay.   Do you know when the SUPPORT project
 6      began its work prior to your involvement?
 7            A.        Yes, I understand the funding started at
 8      about October last year.
 9            Q.        To the best of your knowledge, is federal
10      money provided by CMS the only source of funding to
11      the SUPPORT project?
12            A.        That's what I understand, yes.         It comes
13      from -- through -- to the state and then to us.
14            Q.        Doctor, when do you expect to submit your
15      findings or the findings of the SUPPORT project?
16            A.        There's a series -- it's a sequential
17      process, but we would expect to have a report out
18      by the end of this year.
19            Q.        Could you describe at a high level what you
20      expect the report to include in terms of findings?
21            A.        It will report drug overdose deaths, drug
22      overdose hospitalizations, drug overdose emergency
23      department visits.          It will include other mental
24      health problems as well.             It's not just drug


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 1      overdoses.
 2                          It will include use of treatment
 3      services, basically a comprehensive look at what
 4      the -- what the current burden -- the part we're
 5      looking at is the current burden on the population,
 6      and then to be able to separate it out by county.
 7                          And colleagues of mine are looking at
 8      the provision of services and what services are
 9      provided and whether they meet the needs.
10            Q.        Doctor, the SUPPORT project is not specific
11      to opioids, correct?
12            A.        It's -- a major component of it is
13      substance abuse, and that includes opioids.                  But it
14      also includes other related mental health
15      conditions, behavioral health conditions.
16            Q.        And to ask the same question for the drug
17      toxicology forensic group:                The work of that group
18      is not specific to opioids, correct?
19            A.        It is specific to drugs of which opioids
20      are the major component.
21            Q.        It includes other drugs like
22      methamphetamine, for example, correct?
23            A.        Correct.
24            Q.        Okay.   Does the SUPPORT project that we've


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 1      been discussing provide any services to communities
 2      in West Virginia?
 3            A.        No, it does not provide direct services.
 4      It's providing planning data for the provision --
 5      to help the state provide better services.
 6            Q.        Okay.   Doctor, you described findings which
 7      will be published sometime in the near term by the
 8      SUPPORT project.          Are any of those findings
 9      specific to Cabell County?
10            A.        Very definitely.       It's specific to multiple
11      counties.         It would have Wayne, Cabell and we
12      envisage having maps with each county with the
13      particular services and data for that county.
14            Q.        Doctor, have you relied on any of the
15      SUPPORT project analysis related to Cabell County
16      in formulating your opinions in connection with
17      this case?
18            A.        Not the data from the SUPPORT program, no.
19      But from my own --
20            Q.        Okay.
21            A.        -- analysis.
22            Q.        Thank you, Doctor.         The third, and I
23      believe final, project that you cited is the
24      NIDA-funded study of the eight southern counties


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 1      which is referenced in your report.                   Correct?
 2            A.        Correct.
 3            Q.        Cabell County is not one of the eight
 4      southern counties that you referenced in your
 5      report in connection with the NIDA study, correct?
 6            A.        That's correct.
 7            Q.        When did the NIDA-funded study begin?
 8            A.        About two years ago.
 9            Q.        In 2018?
10            A.        Yes.   It maybe started at the beginning of
11      2017 -- end of 2017.            I can't remember the exact
12      date.
13            Q.        And that -- the NIDA-funded study was, of
14      course, funded by NIDA, correct?
15            A.        Yes, National Institute of Drug Abuse.
16            Q.        And did it have any additional funding
17      sources?
18            A.        No, it did not.
19            Q.        Did the NIDA study have any findings which
20      were specific to Cabell County?
21            A.        No, it did not.
22            Q.        And did the NIDA study provide any --
23      include any service component for communities in
24      West Virginia?


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 1            A.        Yes, it did.     It provided advice and
 2      consultation and working with them on delivery and
 3      improving services.            And I would also note that
 4      these counties are very much adjacent to Cabell
 5      County and have very similar drug problems.
 6            Q.        What do you mean, that they have "similar
 7      drug problems?"
 8            A.        The drug overdose rates are relatively
 9      comparable.
10            Q.        What's the basis for your opinion that the
11      drug overdose rates in Cabell County and the eight
12      southern counties are comparable?
13            A.        Because I've got the data -- I don't have
14      it by individual county with me.                    It wasn't part of
15      my report.         But I looked at the data year-by-year
16      at the rates specific by county, and they are --
17      they are similar problems.              Often Cabell County is
18      higher.         But I don't have that data in front of me.
19            Q.        Doctor, have you conducted any comparative
20      analysis of overdose rates in Cabell as compared to
21      other West Virginia counties in connection with
22      this case?
23            A.        Not in conjunction with this case, no.
24            Q.        Doctor, do you intend to offer any opinions


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 1      as to the comparison of overdose rates or data in
 2      Cabell County as compared with other counties in
 3      West Virginia?
 4             A.       It's not part of my report.         I'm only
 5      preparing -- comparing to the state.                And I do
 6      include state data in my report.
 7             Q.       That's right.     So in your report, Doctor,
 8      you compare the overdose rates in Cabell County to
 9      the state of West Virginia as a whole, correct?
10             A.       I'm not sure whether I actually -- maybe
11      you could identify if I do, the exact page that I
12      do that on.         But the issue is that sometimes we
13      only have state data and sometimes we can drill
14      down to the county level.
15             Q.       So in short, your analysis is limited by
16      the data available, correct?
17             A.       All studies are limited by the data
18      available, not specifically my study.
19             Q.       Thank you.   Okay.      So staying with your
20      report, which is Deposition Exhibit No. 3, I'd like
21      to go to page 4 where you will find the heading
22      "Summary of Opinions."            Do you see that, Doctor?
23             A.       Page 3, page 4.      Yes, Summary of Opinions.
24      Yes.


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 1            Q.        Now, following this heading, Doctor, there
 2      are three paragraphs which summarize your opinions
 3      in this case.            Do you see those?
 4            A.        Yes.
 5            Q.        Doctor, do these three paragraphs provide a
 6      full and accurate description of your expert
 7      opinions in this case?
 8            A.        Again -- yes -- yes, they do.           That was
 9      based on my analysis, and that's what I wrote.
10            Q.        Doctor, do you intend to offer any expert
11      opinions today or at trial that are not identified
12      and summarized on pages 4 and 5 of your report?
13                             MR. BURNETT:      And Doctor, if you need
14      to read the paragraphs to be sure, feel free to.
15            A.        The -- my report has more extensive data
16      than are contained in those paragraphs.                  It refers
17      to other articles and my interpretation of them and
18      -- so I would say that those paragraphs on top of
19      page 5 cannot summarize the entire report.                  It's to
20      the best of my ability to be able to summarize the
21      main points, but there's clearly other data;
22      otherwise, there wouldn't be another X number of
23      pages.
24            Q.        Certainly, Doctor.           The underlying data is


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 1      -- forms the basis for your opinions which are
 2      summarized here on pages 4 and 5 of your report,
 3      correct?
 4            A.        Correct, they're summarized.
 5            Q.        Doctor, are there any other opinions beyond
 6      those that are summarized on pages 4 and 5 of your
 7      report that you expect to offer in connection with
 8      this case?
 9            A.        Yes, if you go to the back of the report,
10      there's a summary at the end which is a more
11      accurate finding of the opinions.                   Yes, on pages
12      18, 17.         There are opinions throughout it in terms
13      of opinions.         Page 15.
14                          So they're not word for word in the
15      summary, but there are opinions throughout the
16      report.         My interpretation --
17            Q.        Do you know --
18            A.        -- of a particular data or particular
19      problem that can't be summarized in a new
20      sentences.
21            Q.        Thank you, Doctor.        But generally, those
22      opinions which are cited throughout your report are
23      summarized on pages 4 and 5 in the Summary of
24      Opinions, correct?


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 1            A.        Correct.
 2                             MR. BURNETT:      Objection.
 3            Q.        Doctor, are there any opinions which are
 4      not reflected in your report marked as Deposition
 5      Exhibit No. 3 which you intend to present at trial
 6      in this case?
 7            A.        No.     It's based on my report.
 8            Q.        Now, Doctor, we've been - just for the last
 9      few minutes - talking about your Summary of
10      Opinions.         And for the benefit of the record, could
11      you briefly summarize the expert opinions that
12      you've generated in connection with this case?
13            A.        Yep.     Then I will go back and look at my --
14                             So the Summary of Opinions are "that
15      between 2001 and 2018 at least 1151 people died of
16      a drug overdose in Cabell County" based on the data
17      that I had, "and 1,002" or "(87.1%) fatally
18      overdosed on prescription or illicit opioids in the
19      County."
20                             The rates increased sharply over this
21      period of time from a low of 16.6 per 100,000 in
22      2001 to a high of 2013, .9 per 100,000 in 2017, and
23      the "fatal overdoses due to prescription opioids
24      such as" OxyContin "and hydrocodone significantly


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 1      exceeded the rate of fatal overdoses due to illicit
 2      opioids, as described more further in the Report."
 3                          And I "further found that for West
 4      Virginia the drug poisoning rates, which are mostly
 5      due to drugs, had very low rates" -- actually,
 6      these -- had very low rates "from 1979" to "2000
 7      and began to increase dramatically from" 2000 "on
 8      when they exceeded the rate for the US as a whole."
 9                          I would like to point out, there is an
10      error in my report that I picked up.                This -- where
11      I say, "I have further found that for West
12      Virginia, the drug poisoning rates," that is
13      actually the "accidental poisoning rates" and I
14      later discuss the comments on that.
15            Q.        Okay.
16            A.        So that should be "accidental poisoning
17      rates" which I explain very fully on in that
18      section of the report.
19                          And there's actually one tiny little
20      typo also in the -- one, two -- third page of the
21      third paragraph.         Instead of "case," it should be
22      "cases."
23            Q.        Fair enough, Doctor.
24            A.        And the only --


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 1            Q.        I'm sorry, Doctor.         I didn't mean to step
 2      over you.         You just described that you wanted to
 3      amend your report on page 5, the second full
 4      paragraph, to reference "accidental drug poisoning
 5      rates" rather than "drug poisoning rates."                 Is that
 6      correct?
 7            A.        Yeah, it's just "accidental" -- remove
 8      "drug" and put "accidental."
 9            Q.        Okay.   Doctor, what is the difference
10      between an accidental poisoning rate and a drug
11      poisoning rate?
12            A.        In the accidental poisoning -- the drug
13      poisoning rates are part of the drug -- the drug
14      poisonings are part of the accidental poisonings,
15      and as discussed and as shown in my graph which is
16      on page 15, we could only get the data going back
17      for these older periods of time for accidental
18      poisonings that includes all of the drug
19      poisonings.
20                          And if you go back to page 14, there's
21      a good article referred to by a former student of
22      mine which shows the relation -- clear relationship
23      of poisonings and drug poisonings as part of that.
24            Q.        Thank you, Doctor.         Doctor, I'm going to


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 1      ask you to take out another document which is
 2      Document No. 4.
 3                          MS. WU:     And for the record, I'd like
 4      to mark as Smith Deposition Exhibit No. 4, Appendix
 5      B to Doctor Smith's report, which is a list of
 6      materials considered.
 7                       SMITH DEPOSITION EXHIBIT NO. 4
 8                          (Appendix B, List of Materials
 9                          Considered for Expert Report of Gordon
10                          Smith, M.B., CH.B. (MD Equivalent
11                          Otago University), MPH was marked for
12                          identification purposes as Smith
13                          Deposition Exhibit No. 4.)
14            Q.        Doctor, do you have Exhibit 4 in front of
15      you now?
16            A.        Yes, I do.
17            Q.        Do you recognize this document?
18            A.        Yes, I do.
19            Q.        And it's a list of materials you considered
20      in preparing your report which is Deposition
21      Exhibit No. 3, correct?
22            A.        Correct.
23            Q.        The List of Materials Considered identifies
24      all documents referenced in your expert witness


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 1      report, correct?
 2            A.        Correct.    There's footnotes on each page.
 3            Q.        Okay.    Is this list of materials considered
 4      accurate?
 5            A.        Yes, it is.
 6            Q.        So you did not consider any materials other
 7      than those cited in your report, correct?
 8            A.        Not in the preparation of my report, no.
 9            Q.        Doctor, have your opinions changed since
10      you submitted your report on August 3rd?
11            A.        No.
12            Q.        Have you acquired any additional
13      information since that time?
14            A.        What do you mean by "additional
15      information"?
16            Q.        Has any new data or analysis come to your
17      attention which has changed the opinions that you
18      intend to offer in this case?
19            A.        Certainly has not changed it.         There's
20      always new data coming in.                But no, nothing has
21      changed my opinion.
22                            MR. BURNETT:      Objection.
23            Q.        Is there any new data on which you intend
24      to rely in order to offer testimony in this case?


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 1                          MR. BURNETT:       Ms. Wu, sorry to
 2      interrupt.         My computer's about to die.         We can
 3      keep going --
 4                          MS. WU:    Oh, okay.
 5                          MR. BURNETT:       -- but I'll just need 30
 6      seconds to plug it in using this charger over here.
 7      Hold on.
 8                          MS. WU:    Sure.      Counsel, did you say
 9      to keep going?         I don't want to --
10                          MR. BURNETT:       We don't have to go off
11      the record.         Just give me 20 more seconds.
12                          MS. WU:    Sure, certainly.       Yea.    No
13      rush.
14                          MR. BURNETT:       Okay, I'm good.
15                          MS. WU:    Okay, wonderful.
16      BY MS. WU:
17            Q.        Doctor, are there any new sources of
18      information or data on which you intend to rely in
19      order to offer opinions and testimony in this case?
20            A.        No, there's not.
21            Q.        Thank you.    So Doctor, I'd like to go back
22      to your report, which is Deposition Exhibit 3, and
23      look back at page 5 in the Summary of Opinions.
24      And I'd like to call your attention to the first


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 1      paragraph on the top of page 5 beginning "I have
 2      found."
 3                          This is the paragraph which you read
 4      into the record a short while ago.                    Correct?
 5            A.        Correct.
 6            Q.        And I'd like to march through the opinions
 7      summarized in this paragraph on page 5.                    Doctor,
 8      the sources of data you identified, what was the
 9      source of data for the statistics summarized here?
10            A.        This is --
11            Q.        -- in the first paragraph on page 5?
12            A.        This is the data from the Vital Statistics
13      data.
14            Q.        Is there anything beyond the Vital
15      Statistics data that you used in order to generate
16      the analysis which is summarized in the first
17      paragraph on page 5?
18            A.        Yes, there are -- there are the Vital
19      Statistics data that comes from this database from
20      2000 onward, so it has very detailed data by
21      county.
22                          But then the last of those -- the
23      second paragraph, that was not using the same
24      database; that was using data that is being given


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 1      to the -- by the National Center for Health
 2      Statistics because of the problem of being able to
 3      go back and get the archival data to be able to
 4      demonstrate that the poisoning rates of which drug
 5      poisonings are a part are very low until that
 6      period of time.
 7            Q.        Okay.   So Doctor, just to clarify, the
 8      pre-2001 accidental poisoning rate data that you're
 9      referencing is summarized in the second paragraph
10      on page 5, correct?
11            A.        That second paragraph -- yes.         That's the
12      summarize --
13            Q.        Okay.
14            A.        -- summary -- summarizing the graph that is
15      produced on page 15.
16            Q.        Okay.   So Doctor, just to make sure that
17      we're level set in terms of our terminology before
18      we march ahead today, could you tell us what you
19      mean when you use the term "drug overdose?"
20            A.        Okay.   It's probably easier if I start off
21      with accidental -- accidental poisonings are all
22      poisonings that are not -- that are not accidents
23      -- in other words, someone tried to poison someone
24      as a homicide or someone took the poisoning as a


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 1      suicide.
 2                          And that's -- that's accidental
 3      poisonings.
 4                          And then the vast bulk of those are
 5      due to a drug.          And by that, I mean a drug being a
 6      legal drug or a illegal drug that's considered a
 7      standard terminology as to what a drug is.
 8                          And then separately to that, we then
 9      break it down to an opioid-related drug, which the
10      vast bulk of them are opioid -- involve opioids.
11            Q.        So doctor, I'm -- before we march -- we
12      march further into your opinions, let's stay on
13      drug overdoses just for clarity.
14            A.        Yeah.
15            Q.        When you refer to "drug overdoses" in the
16      context of your report, you always mean drug
17      overdoses to mean accidental poisonings.                Correct?
18            A.        Yes, accidental drug overdoses.
19            Q.        Okay.   Thank you.       Now, Doctor, you just
20      referenced opioids, and again, I just want to level
21      set in our terminology.             When you use the phrase
22      "prescription opioids" in the context of your
23      opinions in this case, what do you mean?
24            A.        By "prescription drugs," I am meaning drugs


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 1      that can be obtained from prescription and the
 2      molecules -- the drug molecules -- the drug is a
 3      manufactured -- initially as a prescription drug.
 4      And it's a broad class of drugs.                      And when we're
 5      looking at all of the toxicology, it's basically
 6      that drug class.
 7            Q.        And when you refer to the class of
 8      prescription opioids, you're referring to drugs
 9      which have been approved by the FDA for sale in the
10      United States.         Correct?
11            A.        Correct.
12            Q.        Also in your report, you used the term or
13      phrase "illicit opioids."               Could you just clarify
14      for us what you mean when you use the phrase
15      "illicit opioids".
16            A.        I refer to -- and I'll go back -- refer to
17      -- I think I put it as a footnote somewhere.
18                          -- that essentially, these are drugs
19      that are on the DEA schedule, not considered to be
20      prescription drugs, prescribable drugs, in the
21      U.S., and as a result, they are declared to be
22      illicit drugs.
23                          So it's based on the DEA
24      classification, Schedule I drugs:                      Substance or


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 1      chemicals -- this is on page 8, footnote.
 2      "Schedule I drugs, substance or chemicals are
 3      defined as drugs" not "currently accepted medical
 4      use and a high potential for abuse.                    Some examples"
 5      are heroin, LSD, marijuana, ecstasy, peyote.
 6                             So that's what I consider to be
 7      illicit drugs.
 8             Q.       Illicit drugs are drugs that are not
 9      approved by the FDA for medical use in the United
10      States.         Correct?
11             A.       Correct.
12             Q.       Now, I'd like to turn back to page 5 of
13      your report, again in your Summary of Opinions, and
14      in the first paragraph, you say - near the end of
15      it - that "overdoses" from "prescription opioids"
16      "significantly exceeded the rate of fatal overdoses
17      due to illicit opioids."
18                             Do you see that, Doctor?
19             A.       Yes.     During that -- years up until 2011,
20      yes.
21             Q.       Doctor, can you quantify the rate at which
22      the overdoses associated with prescription opioids
23      exceeded those associated with illicit opioids?
24             A.       That is contained in my report.             If you go


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 1      back to the graph on page 11 of my report, you can
 2      see that heroin was the illicit drug, and
 3      prescription opioids, quite obviously from looking
 4      at -- I don't have the ratio.                 I could do that at
 5      another time, if needed.
 6                          But it's clearly -- visually, you can
 7      see that the opioid deaths --
 8                          And I would add that these are the
 9      drugs that were found.            And up until 2011, they
10      just weren't finding much heroin in the people that
11      died of an overdose in West Virginia.
12            Q.        Doctor, we're going to talk much more about
13      these figures, but just for clarity in the context
14      of this portion of the transcript, the -- what is
15      the source of data which is used to generate Figure
16      1 on page 11 that you just referenced?
17            A.        Okay.   I'll go back -- it's a sequential
18      process.         Essentially, the -- all injury deaths,
19      all overdoses - which are included in injuries -
20      which are accidental deaths, suicides and
21      homicides, are reported to the medical examiner.
22      They then do an examination of the case; they
23      decide if it needs an autopsy.
24                          And in most of -- and in almost all of


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 1      the drug overdose deaths, they end up doing an
 2      autopsy.        They then test the blood.           They then
 3      determine which of the drugs that they found were
 4      causally related, contributed to the death - is the
 5      official term that they use - so in the opinion of
 6      the medical examiner, this -- the drug found
 7      contributed to the death.
 8                         And that is then required to be listed
 9      on the death certificate, and they list in no
10      particular order necessarily, because you can't
11      tell which drug necessarily -- they're all
12      combined.
13                         They list the drugs on the death
14      certificate.        That data -- and I would also add
15      that the West Virginia Medical Examiner data is
16      considered some of the top data in the country in
17      terms of the compilation of this data onto the
18      death certificate.
19                         And then they -- from 2001 onwards,
20      because of the problems that we were talking about
21      earlier, about getting the actual accidental, which
22      ones are drugs, what drugs were involved, the state
23      set up a separate system where they listed every
24      single drug that was believed to be contributing.


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 1                          That's actually in what they call Part
 2      I of the death certificate, which are drugs that
 3      are believed to have contributed to the death.                   And
 4      that is what this data is based upon.
 5                          So it's a sequential from a detailed
 6      toxicology coming down to being written on a death
 7      certificate, being then written into a database at
 8      the Vital Statistics office.
 9            Q.        In short, it's medical examiner data which
10      is used in order to generate the information
11      summarized in Figure 1.              Correct?
12            A.        Exactly.
13            Q.        Now, turning back to the summary on -- in
14      the first paragraph on page 5 of your report, and
15      turning back to the opinion we've been discussing
16      that "fatal overdoses due to prescription opioids"
17      "significantly exceeded the rate of fatal overdoses
18      due to illicit opioids," Doctor, is that opinion
19      specific to Cabell County?
20            A.        It is -- the figure on page 11 is very
21      specific to Cabell County.                It also -- it also
22      occurred in the state, but that's -- the data there
23      is very specific to Cabell County.
24            Q.        Do you have the same opinion as with regard


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 1      to West Virginia as a whole?
 2            A.        Generally, yes.
 3            Q.        And what is the basis for your opinion with
 4      regard to the state of West Virginia as a whole?
 5            A.        That is looking at that same database that
 6      we have.         Actually, I don't -- I don't think I
 7      included that, but we have access and we have
 8      looked at the data.         It's the same database.
 9                          There's a total for the state, and
10      then it's broken out for which county.
11            Q.        And so you just said you don't think you
12      included it.         Do you mean that you didn't cite it
13      in your report?
14            A.        I'm honestly not sure.          I would have to go
15      back and look.         I may do --
16                          But the report was concentrating on
17      Cabell County, and where we didn't have data, we
18      would include it.
19                          I think we're only talking Cabell
20      County, is what's presented in the report.                 I would
21      have to go back and check.
22            Q.        Doctor, to the best of your knowledge as
23      you sit here today, you are not offering an opinion
24      as to the comparative rates that prescription


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 1      opioid overdoses and illicit opioid overdoses in
 2      the state of West Virginia for the period of 2001
 3      to 2011; is that right?
 4            A.        No, to the best of my knowledge, at the
 5      moment, we don't report the data for the state,
 6      because it was not --
 7            Q.        Okay.     It's not cited in your report,
 8      right?
 9            A.        That -- as far as I know at the moment.             I
10      can't remember whether we would have cited it.                   The
11      --
12            Q.        Okay.
13            A.        What we do cite is the accidental poisoning
14      as a whole, of which the opioids are part of.                  In
15      that, we look at the state, because that was the
16      only data that we had available.
17            Q.        Okay.     Now, Doctor, again, this is just for
18      clarity.         When you say "we," do you mean you
19      personally or --
20            A.        Me.     I --
21            Q.        Okay.
22            A.        I'm originally from New Zealand, and we use
23      the "we" as a personal we sometimes.
24            Q.        In my family, that's what we say "the royal


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 1      we."
 2             A.       "The royal we."
 3             Q.       Okay.
 4             A.       Exactly what my -- same thing.
 5             Q.       Fair enough.         I just wanted to make sure
 6      the record was clear on our pronouns.
 7                             Okay.    So if we stick on page 5 and we
 8      go to the second paragraph on that page, it says,
 9      "I have further found that for West Virginia, the"
10      - and I'm going to say - "accidental," as amended,
11      "poisoning rates, which are mostly due to drugs,
12      had very low rates from 1979 until 2000 and began
13      to increase dramatically from 2001 on, when they
14      began to exceed the rate for the US as a whole."
15                             Do you see that, Doctor?
16             A.       Yes.
17             Q.       What is the basis for your opinion that's
18      summarized in this second paragraph?
19             A.       It's from looking at the U.S. rates as a
20      whole.      For example -- and I think it's -- at this
21      stage, it's my opinion.                  But if you look at Figure
22      3, you could estimate what the rates were for
23      poisoning and drug poisoning, and then you could
24      look at the rates for West Virginia and compare it


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 1      as a whole.
 2                          So that would -- it's visually
 3      comparing that and I -- I think it was also
 4      mentioned - I'm pretty sure - in the report that's
 5      Appendix -- I'm just going to get the name.
 6                          Yes.     West Virginia -- Appendix --
 7      oops it's here.            Exhibit C.        Exhibit C is West
 8      Virginia Historical Drug Overdoses.                    I suspect
 9      that's where I saw this mentioned.
10                          I would have to look --
11            Q.        Now, that --
12            A.        -- at the exact page, but they do talk
13      about the increase -- in fact that was when they
14      began to realize -- aah, here you can see.                   On page
15      5 of that Exhibit C, you can see West Virginia
16      compared to the U.S.             And they go back to 2001.
17      But you could see how the West Virginia rates are
18      clearly exceeding the U.S.
19            Q.        Okay.   So Doctor, if we look back at page 5
20      of your report, the second paragraph which we were
21      just reviewing, accidental poisoning rates as
22      referenced here, is broader than opioid overdoses.
23      Correct?
24            A.        Correct.


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 1            Q.        It includes, for example, alcohol
 2      poisoning.         Correct?
 3            A.        Yes.
 4            Q.        Or cocaine poisoning, correct?
 5            A.        Correct.
 6            Q.        And the opinion which is set forth here in
 7      the second paragraph relates to the state of West
 8      Virginia as a whole.            Correct?
 9            A.        Correct.
10            Q.        It is not specific to Cabell County,
11      correct?
12            A.        We were not able to get the data for Cabell
13      County.         Because the rates were so low that they
14      suppressed them and -- if the rates of -- or the
15      cases that count is very low, the National Center
16      for Health Statistics suppress the rate.
17            Q.        So you have not conducted a similar
18      analysis that is specific to Cabell County,
19      correct?
20            A.        I would dis -- I tried.               I tried to the
21      best of the available data.                 I spent a lot of time
22      trying to get specific Cabell County data.                      But as
23      I suggested, the rates were so low - and I state
24      that in my report - that the C -- that the National


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 1      Center for Health Statistics has a policy of
 2      suppressing the data if the rates are too low
 3      because they're concerned about being able to
 4      identify individuals.
 5            Q.        Doctor, do you know if Cabell County
 6      maintained that sort of data for the period prior
 7      to 2001?
 8            A.        They must have, because if it was higher,
 9      it would have been reflected in the rate for West
10      Virginia, West -- it would have caused the West
11      Virginia rate to have increased.
12            Q.        Do you know if the state of West Virginia
13      actually maintained data sourced from Cabell County
14      for the period prior to 2001?
15            A.        They did.    They compiled data from all
16      counties and -- as probably originally, that's
17      where I spent quite a bit of time when you were
18      going over the individual time, because I was
19      trying to find data for Cabell County directly.
20      But the best I could do was to look at the total
21      class, that was the accidental poisoning rates.
22                          And the thing that impressed me was
23      the rates were so low that it would be impossible
24      no matter the rates were high or low, for


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 1      Cabell/Huntington to make much difference in that.
 2            Q.        Doctor, are you aware that Cabell County
 3      has made no effort to identify the type of drug
 4      involved in an overdose until at least 2015?                   Are
 5      you aware of that?
 6            A.        No, I was not.
 7            Q.        Did you undertake any investigation in
 8      order to interview officials from Cabell County in
 9      order to determine what data they maintained prior
10      to 2001 with regard to accidental poisoning rates?
11            A.        No.
12            Q.        Okay.
13            A.        I talked at length with people in Cabell
14      County and worked with them and met them a number
15      of times.         But no, I haven't.
16            Q.        Okay.   Thank you, Doctor.           Who have you
17      talked to from Cabell County in connection with
18      your work in this case?
19            A.        Not with this case.         I have not talked with
20      any of the officials in regard to the work on this
21      case.
22            Q.        Okay.   And just the same question for the
23      City of Huntington.          Have you consulted with any
24      officials from the City of Huntington in connection


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 1      with your work in this case?
 2            A.        Not with this work in the case, but I've
 3      met them at various times --
 4            Q.        Okay.
 5            A.        -- as part of my other work.
 6            Q.        Okay.   So as part of your work outside of
 7      this case, who are the individuals from Cabell
 8      County that you consulted?
 9            A.        I have met the former -- one of the former
10      police who was -- chiefs who was head of the Drug
11      Task Force there before he became the drug czar for
12      the State.
13                          I've met with Jan Rader, who's the EMS
14      director there.          I've talked over the phone to
15      some of the people doing -- they have a very --
16      because their rates of drug overdoses were so high,
17      they developed a model program called quick
18      response grants where they investigated the
19      overdoses and got people into treatment.                So I've
20      talked to people about that.
21                          They've been very proactive in
22      prevention, and so in the course of understanding
23      the drug problem, in fact, I've met with them.
24                          MR. BURNETT:       Doctor Smith, I assume


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 1      none of those were in context with the litigation.
 2      But if they were, let us know, and we'll act
 3      accordingly.
 4                             THE DEPONENT:       Absolutely not.        It was
 5      in the course of me being new to the state and
 6      wanting to understand the problem, and clearly that
 7      was where the -- some of the heart of the problem
 8      was -- there was clearly a problem there, and they
 9      were doing a lot about it, so as part of me
10      understanding, I made a point of talking to people
11      there.
12      BY MS. WU:
13            Q.        Doctor, you mentioned that you spoke with
14      Huntington Fire Chief Jan Rader.                       Is that right?
15            A.        Yes.
16            Q.        You spoke to her about the Quick Response
17      Team, correct?
18            A.        I think I -- yes, I -- I think I might have
19      mentioned it.            I honestly can't remember what the
20      conversation was, but I've talked to members of her
21      team that do the quick response grant, yes, and I
22      found out details, because I've been working on a
23      similar program in one of the other counties
24      nearby.


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 1            Q.        Understood.   Doctor, to the best of your
 2      knowledge, what is the QRT program in place in
 3      Huntington?
 4            A.        It's a quick response grant, quick response
 5      program where essentially when the EMS are called
 6      to an overdose, a couple -- a day or so later, what
 7      they do is they go back -- these are nonfatal
 8      overdoses, obviously.
 9                          -- and then they go back to the same
10      place and identify the individual, along with
11      people that are skilled in getting people into
12      treatment and know how to get people access to
13      treatment, and so it's a way of engaging people in
14      treatment.         And I suspect they -- and they're also
15      giving them naloxone so that they can prevent drug
16      overdoses from occurring or they can treat them
17      themselves.
18                          That's part of an outreach --
19            Q.        Do you know when -- I'm sorry, Doctor.
20      Please go ahead.
21            A.        No, it's just part of an outreach program
22      they have to try and reduce their problem.
23            Q.        Doctor, do you know when Cabell County
24      instituted the QRT program?


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 1            A.        No, I don't.   I probably -- I have some
 2      documents back in my office that might be able to
 3      give me when it started.            But I don't.
 4            Q.        And do you know how the QRT program in
 5      Huntington is funded?
 6            A.        As I understand it, they've got some grants
 7      and are funded by the County itself.                I'm not 100
 8      percent sure how it's funded.
 9            Q.        Are you aware that the QRT program is
10      funded by Federal grant money?
11            A.        Yes, I -- I am.     That's -- I'm not sure
12      what agency, but I know there is some federal money
13      involved.
14            Q.        Doctor, based on your earlier testimony,
15      you believe that the QRT program in Huntington has
16      been successful in reducing the number of
17      overdoses.         Is that right?
18                          MR. BURNETT:      Objection.
19            Q.        You can answer.
20            A.        It's not really my -- I don't know the full
21      data.      I've seen reports, but I don't know and --
22      it -- basically, I'm not in a position to really
23      analyze the data at all.
24            Q.        From your conversations with Jan Rader and


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 1      others from the City of Huntington, do you
 2      understand that the City of Huntington believes
 3      that the QRT program has been successful in
 4      reducing overdoses?
 5            A.        It --
 6                          MR. BURNETT:       Objection.
 7                          THE DEPONENT:        Okay, I won't answer
 8      that.
 9            Q.        Oh, you can answer, Doctor.
10            A.        No, I won't answer, yeah.
11                          MR. BURNETT:       Well, when I object like
12      that, you can answer.
13                          THE DEPONENT:        Yeah.
14                          MR. BURNETT:       If I say something about
15      privilege or something else -- I'll explicitly tell
16      you --
17                          THE DEPONENT:        Okay, yeah.
18            A.        Certainly they claim that it has been
19      effective, and I've seen newspaper articles
20      describing that.
21            Q.        Okay.   Thank you, Doctor.           So you mention
22      that you also spoke with a number of Cabell County
23      law enforcement.          Is that right?
24            A.        I think it was former law enforcement at


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 1      the time, yes.          Jim Johnson was his name.
 2            Q.        Okay.   What was the context of your
 3      conversation with Jim Johnson?
 4            A.        I had just arrived in the state and a
 5      colleague of mine who worked on drug problems took
 6      me on a little bit of a tour to where the hot spots
 7      of the drug problems in the area were, and they
 8      took me down to Huntington, and where we met with
 9      the people there so I -- so I could understand the
10      drug problem, because I was new to the state, and
11      we also went down to Portsmouth in Ohio which is
12      another area that's --
13                          So that was the reason that I went
14      down there.
15            Q.        In what year did you make that visit,
16      Doctor?
17            A.        It probably was 2017.           I'd have to look at
18      records as to when exactly it was.
19            Q.        Do you recall anyone else in addition to
20      Jim Johnson that you met during your visit to
21      Huntington?
22            A.        He had a data analyst with him who did
23      analyst work, and I think that was probably the
24      only other time.          But I've met with people at


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 1      Marshall University that have been working on the
 2      drug problem at other times.
 3                          MR. BURNETT:      Counsel --
 4            Q.        Who are the people --
 5                          MR. BURNETT:      Counsel, I don't mean to
 6      interrupt your flow, but we've been going about an
 7      hour and a half, so when there's a good time, I
 8      think we would appreciate a break.
 9                          MS. WU:    Oh, sure, certainly.         Let me
10      just -- let me just get this question in and then
11      we can break.
12            A.        So who have I met at Marshall?           I guess
13      there's a number of different people.                  The person
14      who's the current drug czar there.                  I've met with
15      Doctor Baker there.           I've been to meetings down
16      there.
17                          I guess it's hard -- I -- I'd have to
18      look at my names.         I'm that particularly good at
19      remembering specific names, but there are a number
20      of people.
21            Q.        Fair enough, Doctor.         Have you spoken with
22      any individuals from Marshall University in
23      connection with your work in this case, Doctor?
24            A.        Absolutely not.


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 1            Q.        Okay.   And I'm sorry, I don't want to delay
 2      you from a break; I just don't want to lose track.
 3      Doctor, you were -- in the context of our
 4      conversation about Huntington's QRT team, you used
 5      the term "nonfatal overdoses."                  Could you tell us
 6      what you mean there and in your report when you use
 7      the term "nonfatal overdoses"?
 8            A.        Actually, I don't think I mentioned a lot
 9      about nonfatal overdoses in my report, but these
10      are ones where -- which would not be covered in our
11      database whereby the person survived the overdose
12      and didn't make it to the medical examiner's
13      office.
14                          So that's what I mean by a "nonfatal
15      overdose."
16            Q.        Thank you, Doctor.         The nonfatal overdoses
17      are referenced in terms of the data available to
18      you in Paragraph 1 of your report which is
19      Deposition Exhibit No. 3.              Doctor, can you identify
20      any source that you considered in connection with
21      your opinions in this case that relate to nonfatal
22      overdoses?
23            A.        No, it was not the charge.           My charge was
24      to look at -- for this report, was to look at


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 1      documenting the fatalities and the trend in the
 2      fatalities.         Because that was what my particular
 3      expertise was.
 4            Q.        Thank you, Doctor.          So the opinions that
 5      you're offering in this case are limited to fatal
 6      overdoses and do not account for information
 7      related to nonfatal overdoses.                   Correct?
 8                          MR. BURNETT:        Objection.
 9            A.        Yeah, I would have to check my report.             I
10      -- in the context of understanding the problem.
11      I'm not sure.           I'd have to spend about 15-20
12      minutes reading every single line in my report to
13      make sure that I didn't make a mention of it.
14            Q.        Okay.    So the opinions that you're offering
15      with regard to overdose rates in Cabell County and
16      West Virginia as a whole are limited to fatal
17      overdoses.         Correct?
18            A.        Correct.
19                          MR. BURNETT:        Objection.
20            Q.        You haven't considered data which reflects
21      overdose information for nonfatal overdoses in
22      connection with your opinions in this case.
23      Correct?
24                          MR. BURNETT:        Objection.


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 1                          THE DEPONENT:        So does that mean that
 2      I don't need to answer or --
 3                          MR. BURNETT:       You can answer.
 4                          THE DEPONENT:        Just answer.
 5            A.        Yeah, no, I haven't.          That was not my
 6      charge.
 7            Q.        Okay.   Thank you, Doctor.
 8                          MS. WU:    And why don't we go on a
 9      break.
10                          MR. BURNETT:       Yeah.
11                          MS. WU:    Doctor and David, how long do
12      you want to take?
13                          MR. BURNETT:       Perhaps 10:45?
14                          THE DEPONENT:        Yeah, sounds good.
15                          MS. WU:    Okay, 10:45.          Thanks,
16      everyone.         See you soon.
17                          VIDEO OPERATOR:         Going off the record.
18      The time is 10:33 a.m.
19                          (A recess was taken after which the
20                          proceedings continued as follows:)
21                          VIDEO OPERATOR:         Now begins Media Unit
22      2 in the deposition of Gordon Smith.                   We're back on
23      the record.         The time is 10:50 a.m.
24      BY MS. WU:


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 1            Q.        Doctor, we just took a short break.           You
 2      know that you're still under oath, correct?
 3            A.        Correct.
 4            Q.        Okay.   So we spent a little time before the
 5      break talking about your opinions, and now I want
 6      to talk about the boundaries of those opinions.
 7      Doctor, you aren't offering any opinions about the
 8      conduct of any defendant in this case, correct?
 9            A.        Not any individual defendant, no.
10            Q.        You're not offering any opinions about when
11      -- whether the conduct of any individual defendant
12      caused any particular outcome in Cabell County,
13      correct?
14            A.        Not -- not a specific individual defendant,
15      no.
16            Q.        Now, when you say "not a specific
17      individual defendant," what do you mean by that?
18            A.        On page 18 of my report, I referred to the
19      American Public Health Association comment saying
20      that "I concur with the Task Force," and as that's
21      "the industry's credibility is near zero and major
22      changes in its practices are essential."
23                          That was a quote directly from their
24      report.


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 1                          So I do make some comment because that
 2      is an expert report prepared by people I know and
 3      trust their opinions, but not specifically.                  That's
 4      why I was being very explicit with you about the
 5      individual defendants, I have -- I've made no
 6      comment whatsoever anywhere in the report.
 7            Q.        Okay.   Let me try to go through this for
 8      clarity, then we'll return to the statement on page
 9      18.    Doctor, you aren't offering any opinions about
10      McKesson in this lawsuit, correct?
11            A.        Correct.
12            Q.        Doctor, you aren't offering any opinions
13      about Cardinal Health, correct?
14            A.        Correct.
15            Q.        You aren't offering any opinions about
16      AmerisourceBergen, correct?
17            A.        Correct.
18            Q.        Doctor, you aren't offering any opinions
19      about whether the conduct of any of those
20      defendants - McKesson, Cardinal or
21      AmerisourceBergen - caused any particular outcome
22      in Cabell County, correct?
23            A.        Correct.
24            Q.        Doctor, you also are not offering any


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 1      opinion about the legal duties of the defendants
 2      I've named, McKesson, AmerisourceBergen and
 3      Cardinal, correct?
 4            A.        Correct.
 5            Q.        So Doctor, just a moment ago, you
 6      referenced page 18 of your report.                    And you
 7      specifically quoted a passage on page 18 of your
 8      report which is Deposition Exhibit 3 that says,
 9      "The opioid crisis can be directly tied to
10      practices adopted and encouraged by opioid
11      manufacturers and distributors.                   As such, the
12      industry credibility is near zero and major changes
13      in its practices are essential."
14                          Have I read that correctly?
15            A.        That's correct.
16            Q.        Doctor, what is the source of this
17      quotation?
18            A.        The source is the Association of -- it's
19      Footnote 18 on page 17, "Association of Schools and
20      Programs of Public Health.                BRINGING SCIENCE TO
21      BEAR ON OPIOIDS Report and Recommendations" of "the
22      ASPPH Task Force on Public Health Initiatives to
23      Address the Opioid Crisis" dated November" 19, "p.
24      32," and I cite the web link for it.


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 1            Q.        Doctor, do you concur with this passage
 2      which you've quoted on page 18 of your report?
 3            A.        That's what I say.        I say, "The more I work
 4      on opioids in West Virginia the more I concur with
 5      the Task Forces conclusion."
 6            Q.        What is the basis for your concurrence with
 7      the statement on page 18 of your report?
 8            A.        Having read this report and understanding
 9      the literature from -- in the field, I very much
10      agreed with their report.             I rely a lot on my
11      opinion.         They're people that I trust, people that
12      I know.         Some of them I worked with -- one of them,
13      I've worked with.
14                          And I -- the conclusions that they
15      came to made a whole lot of sense to me.                But I
16      haven't done the original research on that myself.
17            Q.        Have you -- what expertise, if any, have
18      you used in order to confirm or test the statement
19      that you've quoted on page 18?
20            A.        I first started my scientific career in the
21      1970s.      I've been working as a scientist, as a
22      researcher in the field, understanding, reading,
23      being able to interpret that literature makes sense
24      or not makes sense, and I've read a number of other


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 1      articles in the past about the drug problems.
 2                          My own research has been more geared
 3      to the actual specific data with regard to the
 4      mortality and those things, but the conclusions
 5      that these experts in the specific field came to
 6      made sense to me.            Otherwise, I would not have made
 7      that opinion.
 8            Q.        Have you done any work in connection with
 9      your opinions in this case in order to test that
10      statement?
11            A.        My work has been understanding the drug
12      problem and the -- and the -- and its impact on the
13      people of West Virginia.            And so in that respect, I
14      have -- everything that I saw in that report,
15      fitted in and concurred with things that I had read
16      and people I had talked to over the years.
17            Q.        All right.     And what expertise, if any,
18      could you bring to bear in order to test that
19      statement?
20            A.        I'm a scientist, and there are other people
21      who are contributing specifically even in this case
22      for the -- that are basically saying -- and they
23      define it clearly, as I understand it.                But
24      essentially, I myself, in terms of doing research,


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 1      haven't done all of the components there.                 I've
 2      done pieces that are referred to.
 3                          They very clearly talk about the data,
 4      the trends in the drugs that were found in people,
 5      the fact that there were increases in supply.                    So
 6      that's all consistent with what I've heard.                  But I
 7      myself have not done research in that area
 8      specifically.
 9            Q.        You yourself aren't an expert in the
10      pharmaceutical distribution chain, correct?
11            A.        I'm an expert in the whole area of
12      substance abuse in general, and so it's part of the
13      whole understanding of the drug problem.                So while
14      I admitted I haven't done on that specific thing,
15      I'm a scientist; I can read the literature; I can
16      make my own judgment based on -- as scientists, we
17      can't do every -- all the research in the world,
18      one person.
19                          We have to rely on experts, and I
20      relied on them with my understanding of the field
21      and my experience.
22            Q.        Certainly, Doctor.        Do you claim any
23      expertise in the pharmaceutical distribution supply
24      chain?


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 1                          MR. BURNETT:      Objection.
 2            A.        I understand the way it works.         I can
 3      understand the reports and read the literature.                    So
 4      I haven't done research specifically in that area,
 5      but I can very much interpret their report -- the
 6      studies that have been done in that area.
 7            Q.        What expertise, if any, do you bring to
 8      your review of reports related to the
 9      pharmaceutical supply chain?
10            A.        I bring a -- training as a scientist, many
11      years of training, experience as a scientist,
12      reading reports, reading, being able to sort out
13      which reports make sense to me, which ones don't
14      make sense, which seems a valid claim, which does
15      not seem a valid claim.
16                          And that's the basis upon which I made
17      that decision.
18            Q.        You think your general knowledge and not a
19      specific expertise related to the pharmaceutical
20      supply chain?
21            A.        General knowledge to a -- as a medical
22      physician and as a public health researcher and
23      understanding the field, it is consistent with the
24      medical literature.


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 1                          MR. BURNETT:         And I'll just --
 2            Q.        So now --
 3                          MR. BURNETT:         Reminder to give me an
 4      opportunity to object to the question.
 5                          THE DEPONENT:          Yes.
 6                          MR. BURNETT:         I object to that
 7      question.
 8            Q.        Doctor, I'd like to ask you to take out
 9      another document, hopefully to make this segment of
10      Q and A more concrete.              It's Document No. 8 which
11      is the study we've been talking about, "BRINGING
12      SCIENCE TO BEAR ON OPIOIDS" dated November 2019.
13                       SMITH DEPOSITION EXHIBIT NO. 8
14                          ("BRINGING SCIENCE TO BEAR ON OPIOIDS"
15                          Report and Recommendations from the
16                          ASPPH Task Force on Public Health
17                          Initiatives to Address the Opioid
18                          Crisis dated November 2019 was marked
19                          for identification purposes as Smith
20                          Deposition Exhibit No. 8.)
21            A.        So what number is this again?
22            Q.        Number 8.
23            A.        Number 8. So I'll just check it here. Yep.
24            Q.        Okay.


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 1            A.        Okay.
 2            Q.        Doctor, you reviewed the publication marked
 3      as Exhibit 8 in connection with your report,
 4      correct?
 5            A.        That's correct.
 6            Q.        And you cited --
 7            A.        Sometime ago.
 8            Q.        And you cited it in Footnote 19 of your
 9      report.         Correct?
10            A.        I think it's Footnote 18 in my report.
11      Page 17?
12            Q.        Page 17, and then again Footnote 19 which
13      hangs off the statement that we discussed --
14            A.        Yes, I see it.       Yes.
15            Q.        Okay.   Thank you, Doctor.             What practices
16      adopted and encouraged by opioid distributors
17      identified in Exhibit 8 do you refer to in your
18      report on page 18?
19            A.        I referred to the general Gestalt.                 I
20      haven't read this in a while.                  I was -- other than
21      recommending -- reading the report and making some
22      comment because I believed in it.                     And Judith
23      Feinberg, someone I worked very closely with, I --
24                          It would take me a while.              If you'd


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 1      like me to, I could take some time, but it would
 2      take me time to find that exact place in the
 3      report.         Maybe you could --
 4            Q.        Certainly, Doctor.        As you sit here today,
 5      what, if any, conduct by pharmaceutical
 6      distributors can you identify as encouraging
 7      prescription or use of opioids?
 8            A.        That essentially there was -- okay.           Based
 9      on the report and other readings, that there were
10      excessive amounts of opioids distributed in West
11      Virginia, including Cabell County as a whole.
12      There was no -- little good evidence that they were
13      effective for the management of chronic pain, and
14      that the risks were understated of addiction for
15      long-term use.
16                          And that's the type of opinion that's
17      in this report.         I would need a little bit of time
18      to completely nail down exactly what page it was
19      in.    But essentially, the issue is that oversupply
20      of opioids above what seemed to be needed,
21      distributing and marketed that they were more
22      efficacious than they actually turned out to be
23      from studies who were not done by me, but experts
24      and referred to in this report, and that there were


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 1      claims that they were nonaddictive, and based on
 2      the reports and the other experts, that this was --
 3                          I concurred they made -- the data made
 4      sense to me in the report's conclusions.                   That was
 5      what made me make that conclusion.
 6            Q.        Doctor, in your last answer, you described
 7      changes in prescribing practices.                   Did I hear that
 8      correctly?
 9            A.        Yeah, there were -- from the -- in the
10      report and in other literature, there have been --
11      there was an increase, considerable increase, in
12      prescribing of opioids, yes.
13            Q.        As you sit here today, can you identify any
14      practices or actions of pharmaceutical distributors
15      that caused increases in the rates of prescribing
16      opioid medications?
17            A.        I know in the report, they talk about
18      increased marketing of drugs, that they were
19      marketed as being safe and less addictive or
20      nonaddictive, particularly for people with chronic
21      pain.
22                          That would be -- that's one practice
23      that I know is in the report.
24                          I would have trouble -- and if you


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 1      want -- I could take a long time to find the
 2      specific point.
 3                          And that they were considered safer
 4      than -- they were marketed as being safer than
 5      other drugs.
 6            Q.        Doctor, do you know if pharmaceutical
 7      distributors such as McKesson, Cardinal and
 8      AmerisourceBergen market prescription drugs?
 9            A.        They distribute -- as -- you quoted that
10      they are actually distributors.                   Much of the
11      marketing is done by the individual drug companies,
12      and they are the ones that distribute.
13            Q.        So the marketing behavior that you've just
14      referenced is conducted by pharmaceutical
15      manufacturers as opposed to distributors, correct?
16            A.        Correct.   The manufacturer -- as I
17      understand the process, the manufacturers make the
18      drug and were marketing it, but then the
19      distributors are the people that distribute the
20      drug, and they have certain legal obligations that
21      they have to follow that they distribute -- when
22      they distribute to individual pharmacies, whether
23      these seem reasonable or should have been red
24      flags.


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 1                          And that's the -- in terms of the
 2      distributing, that's the -- what I understand to be
 3      the issue, is that they should have known that
 4      there were these vast quantities of drugs being
 5      sold to people far in excess of what would normally
 6      have been prescribed.
 7            Q.        Thank you, Doctor.        My question is:     Is
 8      there any marketing practice of the distributors -
 9      including McKesson, Cardinal and ABDC - that you
10      can identify today that you attribute as having
11      caused or increased prescribing rates of
12      prescription opioids?
13                          MR. BURNETT:      Objection.
14            A.        Yeah, I do not know how they market the
15      drugs to individual pharmacies, how they're
16      involved in the marketing their services as a
17      distributor.         That's not an area that I've studied
18      in great detail.
19            Q.        That's not an area in which you have
20      expertise, correct, Doctor?
21            A.        I would say I have expertise to be able to
22      evaluate the reports and what is read, and as a
23      general person in the whole area of substance
24      abuse, epidemiology, it's an important part of


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 1      understanding the problem.
 2            Q.        But you yourself have never studied the
 3      conduct of distributors, correct?
 4            A.        I have not conducted an individual study of
 5      distributors.         As a scientist, I've read the
 6      literature and interpreted the reports and have
 7      come to a conclusion based on the literature and
 8      the science that's being presented to me as a
 9      scientist.
10            Q.        And the marketing activity that you
11      referenced a short while ago is marketing engaged
12      in by pharmaceutical manufacturers, correct?
13            A.        As I understand it.        But I do not know to
14      the -- any -- the extent to which a distributor is
15      also involved in marketing their services to
16      individual pharmacies.
17            Q.        You have no --
18            A.        Everybody --
19            Q.        -- opinion on --
20            A.        Most people selling a product do some
21      marketing, and I do not know the exact details.
22            Q.        Thank you, Doctor.        You don't have an
23      opinion on whether or not pharmaceutical
24      distributors market prescription opioid products,


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 1      correct?
 2            A.        I don't know enough about it.         The issue is
 3      that I -- to me, every retailer or distributor that
 4      I've dealt with has marketed their services, and so
 5      this -- I assume there is some marketing of it, but
 6      I do not have exact details of that.
 7            Q.        It's just an assumption, correct, Doc --
 8            A.        A supplier with market their services, we
 9      can provide the reliable supply, that's why we
10      choose, you know, one supplier over another,
11      whenever we go whatever we're looking for.
12            Q.        Okay.   But you don't actually have
13      knowledge of pharmaceutical distributor practices,
14      correct?
15                          MR. BURNETT:       Objection.
16            A.        I have knowledge because I read the
17      literature and I interpret the literature and I
18      trust the judgment of scientists who have read
19      their work, and as a result of that, that's how I
20      can form an opinion.
21                          But it's a -- I have not studied that
22      area specifically other than studying it in the
23      literature and reading the opinions of experts.
24            Q.        Now, Doctor, turning back to this segment


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 1      of your report on page 18 which quotes the ASPPH
 2      Task Force report, you write, "the industry's
 3      credibility is near zero."              What's "the industry"
 4      that you've referenced there on page 18 of your
 5      report?
 6            A.        My understanding of what they were saying
 7      there in that report is the industry as a whole,
 8      and they're talking about -- "the industry" is a
 9      very broad concept going all the way from the
10      manufacturer of the drug itself, and presumably the
11      industry goes back to the people that make the
12      chemicals that the individual drug company makes
13      its things, and then to the drug distribution
14      system and the way it's distributed to pharmacies,
15      and then I assume that they're talking of the
16      pharmacy as part of the broad issue of the
17      pharmaceutical industry.
18                          I think they're taking a broad
19      interpretation of it.
20            Q.        Is that your interpretation of the term
21      "industry" as used in your report on page 18?
22            A.        That was my understanding, that it was part
23      of a broad, all the way from the manufacturer to
24      the ultimate retailer in the distribution chain.


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 1            Q.        Doctor, you just referenced pharmacies
 2      dispense prescription opioids, correct?
 3            A.        Correct.
 4            Q.        In your opinion, are pharmacies part of the
 5      opioid industry that you've just described?
 6            A.        I don't -- that part of the whole
 7      pharmaceutical industry, yeah, they are part of the
 8      chain of delivering of the product to the consumer.
 9            Q.        Is it your opinion, Doctor, that pharmacies
10      have zero credibility?
11                          MR. BURNETT:        Objection.
12            A.        I think pharmacies differ.            They're all
13      individuals.         Some pharmacies may have very poor
14      credibility; and other pharmacies may have very
15      good credibility.          And I think there's a big
16      variation between pharmacies.
17                          Once you get to the individual
18      pharmacy level, it's impossible to generalize, I
19      think.
20            Q.        It's impossible to create general
21      statements about the industry of pharmacies as a
22      whole, correct?
23                          MR. BURNETT:        Object.
24            A.        I think there were individual pharmacies


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 1      that clearly were part of the irresponsibility and
 2      the lacking of credibility that I referred to.
 3            Q.        Doctor, "yes" or "no"?          It is impossible to
 4      make determinations as to the credibility of the
 5      pharmacy industry as a whole.                Correct?
 6                          MR. BURNETT:      Objection.
 7            A.        I can't really say that, because it is a --
 8      the report parcels out individual pieces, but the
 9      general conclusion they came to, that the whole
10      industry chain as a whole, lacked credibility.
11            Q.        Doctor, I'm asking for your opinion.
12      Doctor, is it your opinion that the pharmacy
13      industry as a whole lacks credibility?
14                          MR. BURNETT:      Objection.
15            A.        My opinion is that I concur with the Task
16      Force's conclusion as stated.
17            Q.        Doctor, "yes" or "no."          Is it your opinion
18      that the pharmacy industry as a whole lacks
19      credibility?
20                          MR. BURNETT:      Objection, asked and
21      answered, and really outside the scope of his
22      report.
23                          MS. WU:   Counsel, this is a quotation
24      in his report.


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 1            Q.        Doctor, please answer yes or no.
 2            A.        What are you meaning by the pharmaceutical
 3      industry?         Are you meaning the manufacturer?             Are
 4      you meaning the whole chain?               At which point are
 5      you talking about?
 6            Q.        Doctor, let me clarify.             The objection
 7      seems to have thrown you.             A few moments ago, we
 8      talked about the pharmacy industry, meaning
 9      pharmacies that dispense opioids.                    Do you recall
10      that?
11            A.        So you're talking about local pharmacies as
12      against the pharmaceutical industry.
13            Q.        Doctor, is it your opinion that pharmacies
14      that dispense prescription opioids have almost zero
15      credibility?
16                          MR. BURNETT:      Objection, asked and
17      answered.
18                          You can answer.
19            A.        Yeah, as I say, some pharmacies certainly
20      lacked credibility, but I think at the individual
21      pharmacy level, it's a -- as a group, there clearly
22      were people that lacked credibility.
23            Q.        You can't make a --
24            A.        To blanket the whole industry as a whole is


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  1      impossible, because there are good players and bad
  2      players, and I think that's clearly documented.
  3            Q.        Doctors prescribe prescription opioids,
  4      correct?
  5            A.        Correct.
  6            Q.        Are doctors part of the prescription opioid
  7      industry that you've referenced on page 18 of your
  8      report?
  9            A.        Clearly there were some prescriptions --
10       there are physicians that have been prescribing
11       probably more than they should have.
12             Q.        That's not my question, Doctor.              My
13       question is:         Are doctors part of "the industry"
14       that you've referenced on page 18 of your report?
15             A.        I would say so, but I'm not 100 percent
16       sure.      I'd have to go back and look at the report
17       its a while -- it's a long time since I read the
18       report, so I -- I can't say that.                     I would have to
19       spend some time looking to -- because I agree with
20       the general statement, but I have -- I did not --
21       you'll notice I did not break it down by what parts
22       of the industry I agreed with.
23                           I think that the overall system -- and
24       I think that's what they're meaning there.                        I would


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  1      have to look at that.
  2            Q.        Certainly.   Doctor, I'm only asking for
  3      your opinions today.          I'm not asking for the
  4      opinions of other authors or individuals.                   Doctor,
  5      is it your opinion that doctors are part of "the
  6      industry" which you've included in the quotation in
  7      your report on page 18?
  8                          MR. BURNETT:      Objection, asked and
  9      answered.
10                           THE DEPONENT:       Yeah.       Yeah.
11             A.        I would say that -- that clearly the
12       doctors were part of the chain of the industry --
13       the chain of command -- the chain here, and I would
14       have to check whether they included doctors as part
15       of their industry -- under their industry
16       association.
17                           I certainly know that there were
18       doctors that were overprescribing, but there were
19       also doctors that were underprescribing opioids.
20             Q.        Doctor, it's your opinion in this case that
21       fatal overdoses were caused by prescription opioids
22       that were the subject of legitimate prescriptions
23       in some cases.         Correct?
24                           MR. BURNETT:      Objection.


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  1            A.        In our analysis of the data, we found
  2      prescription opioids in many of the drug -- most of
  3      the drug overdose cases.
  4            Q.        Is it your opinion that the doctors
  5      responsible for those prescription opioids -- for
  6      those prescriptions for those prescription opioids
  7      have zero credibility?
  8                          MR. BURNETT:      Objection.
  9            A.        That was not part of my report, and I -- I
10       didn't include that in any analysis.
11             Q.        Doctor, as you sit here today, you don't
12       have knowledge of the sum and substance of the
13       quotation included on page 18 of your report taken
14       from the ASPPH report; is that correct?
15                           MR. BURNETT:      Objection,
16       mischaracterizes the testimony.
17             A.        Yeah, that is not at all what I have said.
18       I have read the report sometime ago.                I took a
19       quick look at the conclusions the other day again,
20       and I realized that I completely agreed with them,
21       and my opinion has not changed since I read it, and
22       that was why I quoted it in the report, because I'm
23       a public health physician; I work at a public
24       health school.


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  1                          This was the major attempt by experts
  2      in the field to understand the drug problem and, as
  3      they say, bring science to bear on opioids and
  4      understand the problem, and having read it and
  5      knowing the people that were on it, I felt very
  6      comfortable with their concluding statement, which
  7      really summarized it up.
  8            Q.        But you don't have an understanding of what
  9      those authors meant by "the industry's
10       credibility."         Is that right?
11                           MR. BURNETT:      Objection,
12       mischaracterizes the testimony.
13             A.        Yes, as I've commented before, by "the
14       industry," we're talking about the whole supply
15       chain as a whole, from manufacturer, to the
16       distributor, to the pharmacist, and probably that's
17       why I would have to go back and read the report,
18       because certainly some doctors were
19       overprescribing.
20             Q.        As you sit here today, can you identify any
21       practices of the pharmaceutical distributors that
22       encouraged the use of prescription opioids in a way
23       inconsistent with the standard of care?
24                           MR. BURNETT:      Objection.


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  1            A.        The standard of care as I understand it
  2      from reading the literature, my understanding
  3      there's a -- there are a duty to report to the DEA
  4      on when there seemed to be excessive supply to
  5      individual pharmacies or to particular areas, that
  6      they're under a duty to report that.
  7                          And it probably wasn't done.         From
  8      what I read in this report, it was not done to the
  9      extent to which it probably should -- which it
10       should have been.
11             Q.        Doctor, that wasn't my question.         But let's
12       -- let's refine that.          In the scope of your
13       testimony in this case, you are not offering any
14       opinions about the legal duties of pharmaceutical
15       distributors, correct?
16             A.        That was never contained in my report, no,
17       as one of my opinions.
18             Q.        And you are not an expert in the legal or
19       compliance duties of pharmaceutical distributors,
20       correct?
21             A.        I'm an expert in substance abuse; I
22       understand the field.          I read the literature and
23       the legal regulatory part of the process is part of
24       the things that I --


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  1                          THE COURT REPORTER:             I've lost him.        I
  2      don't know --
  3                          MS. WU:   Same here.
  4                          MR. BURNETT:      His computer just died,
  5      so we're going to switch cables.                    Hold on.
  6                          MS. WU:   Okay.
  7                          VIDEO OPERATOR:        This is the
  8      videographer.         I'm sorry, I didn't realize I was
  9      muted.        I went ahead and went off the record.
10       Teresa, I went off the record at 11:21.
11                           (A recess was taken after which the
12                           proceedings continued as follows:)
13                           VIDEO OPERATOR:        Now begins Media Unit
14       3 in the deposition of Gordon Smith.                    We're back on
15       the record.         The time is 11:24 a.m.
16       BY MS. WU:
17              Q.       Doctor, we had a technical issue, and I
18       believe you may have been speaking when we lost
19       you.        So I'm going to try to go back and retread
20       the same ground, so I ask for your patience here.
21                           Doctor, we were talking about the
22       standard of care just before our technical issue
23       arose.        Do you recall that?
24              A.       Yes, I do.


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  1            Q.        Doctor, in the context of this case, you
  2      aren't offering any expert opinion about the
  3      appropriate medical use of prescription opioids,
  4      correct?
  5            A.        I am -- my opinion was based on -- based on
  6      reading the literature.             I don't fully understand
  7      that question, because I --
  8                          Could you repeat the question?
  9            Q.        Certainly.     sure.     Let me try it again.
10       Doctor, do you anticipate offering any expert
11       testimony in this case related to the appropriate
12       use of prescription opioids?
13             A.        Only in the context of prescription -- the
14       -- when I refer to the report, as to what
15       encouraged and what -- the -- the crisis can be
16       tied directly to practices adopted by manufacturers
17       and distributors.            Is that -- actually, they only
18       talk about opioid manufacturers and distributors.
19                           So I think I myself hasn't studied it,
20       but I've read the literature, and I fully
21       understand the literature and the arguments on both
22       sides and came to that conclusion.
23             Q.        Okay.   So just to make it a little more
24       narrow, my question relates to the testimony that


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  1      you will give in this case.                  Doctor, do you plan to
  2      offer any expert opinions about the appropriate
  3      medical use of prescription opioids?
  4            A.        Not -- not -- it was not part of the report
  5      that I was asked to do, and the only opinion is
  6      regarding the issue -- the statement that I make
  7      there.      Other than that, no.
  8            Q.        Okay.     And Doctor, again, just to -- for
  9      clarity, you aren't offering - and you do not plan
10       to offer - any expert opinions concerning the
11       marketing of prescription opioids.                     Correct?
12             A.        Correct.
13                             MR. BURNETT:       Objection.
14             Q.        Doctor, you aren't offering any expert
15       opinion - and you don't plan to offer any expert
16       opinion - about whether prescription opioids were
17       diverted for nonmedical use.                  Correct?
18             A.        That was not a subject of my report.
19             Q.        And you don't plan to offer testimony on
20       that subject at trial, correct?
21             A.        No.     I make -- I make no distinction in my
22       report with regard to the illegally-diverted
23       prescription drugs and prescription drugs.                        We rely
24       on the molecule that's found on the people when


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  1      they die, irregardless of the origin.
  2            Q.        That's not a distinction that you've made
  3      in forming your opinions in the context of this
  4      case, correct?
  5            A.        Correct.
  6            Q.        Doctor, you also aren't offering any expert
  7      opinion on the source of prescription opioids that
  8      were involved in any of the fatal overdoses that
  9      are cited and recorded in your report in this case.
10       Correct?
11             A.        In the data that I talk about in the
12       report, we don't talk about the origin of them.                  I
13       do make a comment and refer to several studies that
14       did do an in-depth study based on the same medical
15       examiner data where they did look at the -- either
16       origin of that drug or whether people had a
17       prescription.
18             Q.        Doctor, you yourself -- and I'll use the
19       term "origin" for clarity.                You yourself are not
20       offering expert opinions about the origin of the
21       opioids cited in your report.                  Correct?
22             A.        That -- I'm not offering it with regard to
23       the -- the actual data on the overdoses that come.
24       I do refer to several other studies that did, but


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  1      not in the specific study that I did.
  2            Q.        And you haven't conducted any independent
  3      analysis of the origin of opioids involved in the
  4      fatal overdoses that is in your report, correct?
  5            A.        Other than reading the literature, other
  6      studies, no.
  7            Q.        Doctor, you aren't offering any expert
  8      opinion about what caused opioids to become drugs
  9      of abuse in Cabell County, correct?
10             A.        Only to the extent that I am citing the
11       report from the Association of Schools of Public
12       Health as to the origin of the drug crisis and
13       agreeing with their report.
14                           But I specifically -- did not talk in
15       any more detail than that.
16             Q.        And as you sit here today, you can't
17       identify any practices of distributors that are
18       part of the origin referenced on page 18 of your
19       report.         Correct?
20                           MR. BURNETT:        Objection.
21             A.        I'm not quite -- could you -- I'm not quite
22       sure exactly what you're getting at here.
23             Q.        Sure.   As you -- you referenced in your
24       last answer a quotation on page 18 of your report.


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  1      Correct?
  2            A.        Correct.
  3            Q.        And the quotation that you reference is
  4      from the Association of Schools and Programs of
  5      Public Health's publication dating from November
  6      2019, correct?
  7            A.        Correct.
  8            Q.        That report refers to certain practices of
  9      opioid manufacturers and distributors, correct?
10             A.        Correct.
11             Q.        As you sit here today, you can't identify
12       any practices of distributors that are referenced
13       in your report on page 18.                Correct?
14                           MR. BURNETT:        Objection.
15             A.        What I do reference is the discussion from
16       the expert report that -- that there was oversupply
17       -- overpromotion and marketing by the opioid
18       manufacturers, and that the distributors
19       overdistributed, I guess -- basically distributed
20       higher quantities of drug than would be expected,
21       and from reading the reports --
22                           And that report -- that should have
23       been reported to the DEA.
24             Q.        Doctor, are you offering any opinions as to


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  1      what amount of prescription opioids should have
  2      been distributed to Cabell County?
  3            A.        I'm relying on the experts who wrote the
  4      report, and in their opinion, it was excessive.                  I
  5      do not have an opinion -- other than reading the
  6      expert and that I agree -- my opinion is that I
  7      agree with the report.
  8            Q.        Doctor, do you know if that report itself
  9      identifies any amount of prescription opioid
10       distribution to Cabell County that would have been
11       proper?
12             A.        Not to my -- I would have to go through and
13       do a search for the word "Cabell" to make 100
14       percent sure.         But I'm not aware of that.
15             Q.        And as you sit here today, you are not
16       aware of what interval of oversupply that report
17       attributes to the distributors, correct?
18             A.        That's correct.
19             Q.        All right.    Doctor, earlier you testified
20       that the overdoses reported or reflected in your
21       report, Exhibit 3, are limited to fatal overdoses.
22       Is that correct?
23             A.        Correct.
24             Q.        Doctor, do you know what percentage of


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  1      overdoses in Cabell County for the period 2001 to
  2      2018 were fatal?
  3            A.        That, I do not know, and I think it's a
  4      very difficult answer.           There are different levels
  5      that you could look at, but I'm not aware of the
  6      data.      Some people have looked at emergency
  7      department visits, but then once they distributed
  8      naloxone, you can't rely on emergency department
  9      visits because many people are giving naloxone to
10       friends and colleagues in the field.
11                           So it's a difficult -- and I do not
12       know.
13             Q.        You do not know.      Do you know what
14       percentage of overdoses are addressed in your
15       report for Cabell County?
16             A.        In terms of fatal overdoses, the general
17       feeling of the literature and the quality of the
18       medical examiner data and the Vital Statistics in
19       West Virginia is that we're capturing as close as
20       we can to 100 percent of all of the overdose
21       fatalities in the state -- in Cabell County and in
22       the State.         But I make no reference to the nonfatal
23       ones.
24             Q.        Doctor, so you don't know what proportion


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  1      of all overdoses in Cabell County are fatal
  2      overdoses, correct?
  3            A.        That's -- that's correct.           And I think
  4      there -- any attempt to get it would be a
  5      guesstimate, because it's so difficult to know at
  6      what stage of a -- of a very minor overdose might
  7      not need treatment.
  8            Q.        Doctor, are you familiar with ARCOS data?
  9            A.        I've seen reference to it, but I have --
10       and -- in reports, but I haven't looked at it in
11       detail myself, no.
12             Q.        And you haven't looked at ARCOS data in
13       connection with your work for this case, correct?
14             A.        No, I have not.
15             Q.        Doctor, do you know the market share of
16       McKesson in Cabell County?
17             A.        No, I do not.
18             Q.        Doctor, did you attempt to identify whether
19       any fatal overdoses which were included in the data
20       that you summarized in your report were linked to
21       McKesson?
22             A.        It's impossible to tell from the data that
23       we have the actual origin of either the
24       manufacturer of the drug or of the person that


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  1      delivered it to the state.                 Or the county.
  2            Q.        So your answer would be the same for
  3      AmerisourceBergen, correct?                  You haven't attempted
  4      to identify whether any fatal overdose referenced
  5      in your report could be linked to
  6      AmerisourceBergen, correct?
  7            A.        No.    Basically the drugs have to get into
  8      there somehow, but I cannot tell how they got
  9      there.
10             Q.        And same answer for Cardinal, correct?
11             A.        Correct.
12             Q.        Have you undertaken that exercise with
13       regard to any pharmacy?
14             A.        No, I have not personally.
15             Q.        Have you undertaken that exercise with
16       regard to any manufacturer?
17             A.        No, I have -- no, I have not, only to the
18       point - and I would have to go and check - some of
19       the drugs were under patent at the time, and so I
20       -- you could potentially go back and identify a
21       manufacturer, but it would be dependent on which
22       drugs were under patent and which were not under
23       patent and were made by the other drug companies.
24                             So that would be complicated to work


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  1      out, but some of it would be possible, but not all
  2      of it.
  3            Q.        Doctor, do you know if the toxicology
  4      reports generated by the West Virginia Medical
  5      Examiner are sufficiently detailed in order to
  6      identify specific manufacturer of pharmaceutical
  7      products?
  8            A.        They cannot identify specific manufacturer
  9      of the product.         They can identify the specific
10       drug, and if that drug were under patent and the
11       only ones -- one manufacturer, they could identify
12       a manufacturer.         But only through that mechanism.
13             Q.        And have you done that analysis for
14       manufacturers potentially tied to fatal overdoses
15       cited to your report in this case?
16             A.        I have not done to individual
17       manufacturers, but if you look at -- they name
18       specific drugs such as OxyContin and various other
19       drugs like that, that for a period of time - and
20       I'm not sure when it came off patent - was
21       certainly patented drugs and were only made by a
22       particular manufacturer.
23             Q.        But you haven't done that analysis in the
24       context of this case, correct?


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  1            A.        The specific drugs are listed in my opinion
  2      -- in my exhibits as to what drugs, so that if you
  3      wanted to look up which drugs were made by which
  4      manufacturer and which drugs were under patent, you
  5      would be able to do that.
  6            Q.        So Doctor, it would be possible, for
  7      example, to identify the number of fatal overdoses
  8      reflected in the data you report which are linked
  9      to a product manufactured by Purdue.
10             A.        If you wanted to go back and study the
11       period that Purdue was the only manufacturer of
12       OxyContin and then look at when other manufacturers
13       started manufacturing it.             So it would be possible
14       if you wanted to do that directly from the data.
15             Q.        Now I want to move on to doctors.          Doctor,
16       have you attempted to identify whether any of the
17       fatal doses -- overdoses which are identified in
18       your report in this case can be linked to a
19       particular prescribing physician?
20             A.        No, I have not.     And the PDMP is
21       restrictive and you can't get that.
22             Q.        Doctor, when you say "PDMP," what are you
23       referring to?
24             A.        Prescription Drug Monitoring Program.


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  1            Q.        Are you referring to the West Virginia
  2      PDMP?
  3            A.        Yeah, that's called the controlled
  4      substances monitoring board.
  5            Q.        Did you review PDMP data in connection with
  6      preparing your report in this case?
  7            A.        Not directly, I did not.            The only
  8      reference I make is in the two specific studies
  9      that did do some linkage with the PDMP data.
10             Q.        You yourself haven't tested those findings
11       by doing your own analysis of the PDMP data,
12       correct?
13             A.        That's correct.     I relied on other reports.
14             Q.        Doctor, we've talked a little bit about the
15       role of distributors over the last few minutes.
16       Doctor, if McKesson ceased distributing opioid
17       medications in Cabell County, would the opioid
18       crisis in Cabell County be any different than it is
19       today?
20                           MR. BURNETT:      Objection, calls for a
21       legal conclusion.
22             A.        Now, I'm honestly not sure.            It would -- it
23       would depend on what proportion of the market share
24       -- I honestly don't know.


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  1            Q.        And so your answer would be the same for
  2      ABDC and Cardinal.         You don't know what impact
  3      distribution by ABDC, Cardinal and McKesson would
  4      have on the rates of overdose in Cabell County,
  5      correct?
  6                          MR. BURNETT:      Objection, calls for a
  7      legal conclusion.
  8            A.        Yes, I -- I don't think I could do that
  9      because -- and it would depend -- if they hadn't
10       distributed in the first place, then maybe it may
11       have had an impact.         But I don't know.
12             Q.        That's not something on which you have an
13       opinion in this case?
14             A.        That's correct.
15             Q.        Doctor, you're not an expert in assessing
16       criminal organizations that traffic drugs into
17       Cabell County in West Virginia, correct?
18             A.        I have read reports and I have a knowledge
19       of the DEA reports and the way that these things
20       are done, but I haven't done individual studies
21       myself.
22             Q.        Do you claim expertise in criminal drug
23       trafficking organizations?
24             A.        I have a good knowledge as a researcher


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  1      because it's part of the field of drug abuse, but I
  2      haven't done specific studies in that area myself.
  3            Q.        And you haven't published any peer review
  4      articles which analyze or review the role of drug
  5      trafficking organizations, correct?
  6            A.        That is correct.
  7            Q.        Doctor, you did not consider the effect of
  8      criminal drug trafficking organizations in forming
  9      your opinions in the context of this case, correct?
10             A.        Did -- no.   No.
11             Q.        However, you are aware that criminal drug
12       trafficking organizations sell opioids in Cabell
13       County, correct?
14                           MR. BURNETT:      Objection.
15             A.        I -- I guess criminal drugs are selling
16       opioids anywhere in the country and I see a risk --
17       data -- I've seen a risk for it, yes.               So the
18       answer is yes.
19             Q.        Your report, Doctor, doesn't address the
20       extent to which the activity of drug trafficking
21       organizations has contributed to the opioid crisis
22       in Cabell County, correct?
23             A.        That's correct.
24             Q.        And so it follows that you didn't attempt


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  1      to determine whether any specific fatal overdose
  2      referenced in your report can be traced to the
  3      activity of a criminal drug trafficking
  4      organization, correct?
  5            A.        No, my report can only determine that it
  6      was a prescription drug versus the illegal drugs
  7      that were not part of the DEA's Schedule I.
  8            Q.        Now, Doctor, I'd like to turn back to your
  9      report which is Exhibit 3 and look at page 10 of
10       the report.
11             A.        Yes.
12             Q.        And I can call your attention to -- I guess
13       it's one paragraph that we're looking at here on
14       page 10.         Let's see -- the seventh line from the
15       bottom, there's a sentence that reads, "The data
16       therefore support the recognized transition from
17       prescription to illicit opioid use, which has been
18       documented in numerous peer-review studies at the
19       US population in general."
20                              Do you see what I've read?
21             A.        Yes.
22             Q.        Doctor, you -- in this portion of your
23       report on page 10, you are not offering opinions
24       about what caused the transition from prescription


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  1      to illicit opioid use, correct?
  2            A.        No, I'm not.     I'm relying on the studies
  3      that -- and -- that -- my finding of the changes
  4      support the recognized transition from prescription
  5      to illicit opioids.
  6            Q.        And you just mentioned the sources that you
  7      cite.      If we look down at -- still on page 10, at
  8      Footnote 9, you cite two academic articles.                 Do you
  9      see that?
10             A.        Yes, I do.
11             Q.        All right.     Doctor, neither of those
12       articles find a causal relationship between
13       prescription opioids and illicit opioids; is that
14       right?
15             A.        I -- it's a while since I read them.           All I
16       can say at this stage is that what I wrote in my
17       report, that they support this recognized
18       transition from prescription to illicit opioids,
19       and you're seeing that in my report, whereby -- on
20       page 11, the next page over, Figure 2, you will see
21       an increase in the illicit drugs, but still the
22       prescription drugs maintained.
23                           We're still finding prescription drugs
24       even in those people.


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  1            Q.        Right.     But you aren't offering an opinion
  2      as to the causal relationship between prescription
  3      opioids and illicit opioids, correct?
  4            A.        I'm not offering a causal relationship.
  5      I'm just saying that we find -- continue to find
  6      prescription drugs even when the illicit drugs were
  7      -- began to be a problem.
  8            Q.        Okay.     And then if we continue, it says -
  9      back on page 10 - "and in Erik Eyre's recent book
10       which describes how the same thing occurred
11       throughout WV, including in Cabell County."
12                              Do you see where I've read that?
13             A.        Yes.
14             Q.        And at Footnote 10, it cites Erik Eyre's
15       book "Death in Mud Lick."                Do you see that?
16             A.        Yes, I do.
17             Q.        Doctor, who is Erik Eyre?
18             A.        Erik Ayers was a reporter for the capital
19       Gazette -- I think that's the Charleston -- the
20       main Charleston newspaper.
21             Q.        He's not an epidemiologist, is he?
22             A.        That's correct.
23             Q.        And his book hasn't been peer reviewed,
24       correct?


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  1             A.       No, it has not.
  2             Q.       Doctor, now I'd like to --
  3             A.       But -- he -- yeah, yes.             Okay, yeah.
  4             Q.       Doctor, I'd now like to ask you to take out
  5      another document, which is Exhibit 5, which is a
  6      copy of your CV.
  7                          MR. BURNETT:      Ms. Wu, I'd note we've
  8      gone about an hour, so you know, whenever is a good
  9      time for a break, I would suggest one.
10                           MS. WU:   Sure.       I'm happy to break now
11       if you'd like to break now.
12                           MR. BURNETT:      What do you think, do
13       you like to break now?
14                           THE DEPONENT:       Yeah, I wouldn't mind a
15       little break now -- yes.
16                           MR. BURNETT:      Yeah, you want to break
17       now?        It doesn't have to be a lunch break.              We're
18       still waiting on lunch for us.                 Why don't you go
19       off the record.
20                           MS. WU:   Okay.       Sure.
21                           VIDEO OPERATOR:        Going off the record.
22       The time is 11:47 a.m.
23                           (A recess was taken after which the
24                           proceedings continued as follows:)


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  1                          VIDEO OPERATOR:         Now begins Media Unit
  2      4 in the deposition of Gordon Smith.                     We're back on
  3      the record.         The time is 12:35 p.m.
  4      BY MS. WU:
  5            Q.        Good afternoon, Doctor.              We just took a
  6      break.      You understand that you're still under
  7      oath, correct?
  8            A.        Yes, that's correct.
  9            Q.        Okay.   Thank you, Doctor.             I'd like to pick
10       up where we left right before the break.                     Before
11       the break, you testified that -- I asked you when
12       you look at overdose deaths, whether it's possible
13       to determine the origin of the drugs involved in
14       the fatal overdose.          Do you recall that?
15             A.        Yes, I do.
16             Q.        You stated that you can only determine
17       whether it's prescription drugs on the one hand,
18       versus illegal drugs not part of the PDMP.                     Do you
19       recall that testimony?
20             A.        Yes, I do.
21             Q.        Doctor, simply because someone has a
22       prescription drug found in his system at the time
23       of death does not indicate that the prescription
24       drug was legally obtained.               Correct?


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  1             A.       That's correct.
  2             Q.       It doesn't tell you either way, correct?
  3             A.       Yes, that's correct.
  4             Q.       In fact, the study that you cite, the Smith
  5      study, found that in the vast majority of fatal
  6      overdose deaths, more than 63 percent had
  7      prescription opioids in their system at the time of
  8      death, but the decedent did not have a prescription
  9      from a physician.         Correct?
10              A.       That was, I think, the distinction we made
11       between the males and females.                 I'll go back and
12       look at that.         Let me see that here.
13                           MR. BURNETT:      Ms. Wu, are you quoting
14       something from his report that I could look at?
15                           MS. WU:     I'm asking a question based
16       on his testimony earlier.             Actually, the witness
17       can answer based on his knowledge and his report.
18              A.       Yeah, it was in my report.
19                           Yeah, that's right, 63.1 percent were
20       found to not have a documented prescription for the
21       actual drug found.            But the important part was that
22       36.9 percent had active prescriptions at least for
23       some of the drugs and -- when they died.                 And --
24       yep.


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  1            Q.        So --
  2            A.        That was the 2006 study.               Yes, exactly.
  3      But then the more recent one --
  4            Q.        Doctor --
  5            A.        Carry on.
  6            Q.        Doctor, based on the data indicating that
  7      63 percent of decedents did not have a valid
  8      prescription for prescription opioids, you found
  9      that those -- that data suggested diversion,
10       correct?
11             A.        That's suggesting it, yes.
12             Q.        And diversion is criminal activity,
13       correct?
14             A.        Correct.
15                           MR. BURNETT:         Objection.
16             A.        It may be criminal activity; it may be
17       someone taking -- a son or a partner taking the
18       drug of somebody else in the same household, which
19       probably doesn't involve criminal activity.
20                           In fact, there's some evidence in a
21       lot of younger people, that's actually what happens
22       in some of them, but --
23             Q.        Doctor, do you know if it's illegal to take
24       the -- a prescription medication prescribed to


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  1      another individual?
  2            A.        That's a legal opinion.               I'm not 100
  3      percent -- I'm not 100 percent sure of the actual
  4      legality of that, to be honest.
  5            Q.        Okay, fair enough.          Doctor, a few minutes
  6      ago, you also referenced the statistic that 36 -- I
  7      think you said 36.9 percent of the decedents
  8      studied in the 2006 study cited in your report had
  9      a prescription for at least one of the drugs found
10       in their system at the time of death.                      Correct?
11             A.        That's correct.
12             Q.        It's not the case that the decedents had a
13       prescription for all of the drugs found in their
14       system at the time of death.                 Correct?
15             A.        Correct.
16             Q.        A prescription for controlled substances
17       isn't valid for a full year, correct?
18                           MR. BURNETT:        Objection.
19             A.        I'm not sure about the legality of that.
20       It's not an area I've studied.
21             Q.        Doctor, do you know that prescriptions for
22       Schedule II substances are not valid beyond 90
23       days?
24             A.        I'm -- I'm not 100 percent sure that.                 That


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  1      sounds reasonable, but I don't know for sure.
  2             Q.       You don't know.     If we assume that it is
  3      the case that Schedule II substances are only valid
  4      -- prescriptions for Schedule II substances are
  5      only for -- only valid for 90 days, it follows that
  6      a person who is prescribed a controlled substance
  7      more than 90 days prior to the time of death used
  8      the prescription in a criminal way.                 Correct?
  9                          MR. BURNETT:      Objection, calls for
10       speculation.
11              A.       Yeah, no, I don't know that for sure at
12       all.        I -- it's hard to say.
13                           MR. BURNETT:      Again -- Doctor --
14       Doctor Smith, when -- in a case like that where I'm
15       objecting, as with Ms. Wu, just make sure that you
16       let me say the full objection --
17                           THE DEPONENT:       Yes.
18                           MR. BURNETT:      -- before you answer so
19       that we don't overlap each other.
20                           THE DEPONENT:       Thank you.
21                           MR. BURNETT:      Thanks.
22              Q.       Okay, Doctor, maybe we can simplify this
23       and take it outside of criminal terms.                 The 2006
24       study that we're discussing, the Hall study, didn't


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  1      identify the number of individuals cited in the
  2      study who had a valid prescription for an opioid
  3      medication at the time of death when drugs were
  4      found in their system.              Correct?
  5            A.        Yes.     I must say - and I didn't put it in
  6      my report - I'm not sure how far back they looked
  7      for their prescription.               I know in the latest
  8      study, they only looked at controlled substances
  9      prescriptions 30 days prior to death.
10                              They may have done the same thing with
11       this, and I don't know.               I would have to go back
12       and check the article - and I don't have it with me
13       - to determine how far back they looked for the
14       prescription.
15             Q.        You don't have any --
16             A.        Because your suggestion --
17             Q.        You're talking about the Hall study
18       published in 2006.
19             A.        Yes.
20             Q.        You don't know if that study identified the
21       number of individuals who had a valid prescription
22       at the time of their death.                  Correct?
23             A.        That's what I don't know.              But it says
24       here, 39 -- 36.9 had active prescriptions, and I'm


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  1      guessing that's probably a quotation from their
  2      study, meaning that probably it was within the
  3      valid prescription.
  4                          I would have to check that with the
  5      original article, and I'm not sure.                    And you can --
  6            Q.        And you don't know that one way or the
  7      other?
  8                          MR. BURNETT:         Objection.
  9            A.        Yeah, because they do say "active
10       prescription."            And to me, an active prescription
11       would be one that was legal.                  But I don't know for
12       sure.
13             Q.        You don't know that?
14                           MR. BURNETT:         Objection.
15             A.        Agreed.     I don't know.          I would have --
16       would not have put "active" down after having read
17       it if I didn't think that it was a valid
18       prescription at the time, but I don't know for
19       sure.
20                           I would have to check that.             And I do
21       know that the -- the two thousand and -- the more
22       recent study, they probably followed the same
23       methodology, and they talk about 30 days prior to
24       death.


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  1                             But I don't know.
  2            Q.        You -- as you sit here today, you don't
  3      know one way or another?
  4            A.        No.     But you could easily check that by
  5      looking at the article.
  6            Q.        Right.     I'm looking for your knowledge as
  7      you sit here today.
  8            A.        Yep.
  9            Q.        Doctor, if we say we're talking about the
10       2006 study, the Hall study, you also -- it also has
11       a finding that 21.4 percent of all decedents had
12       obtained prescriptions from five or more doctors.
13       Do you recall that?
14             A.        Exactly, yes.
15             Q.        Are you familiar with the term "doctor
16       shopping"?
17             A.        Yes, I am.     I put the term down in my
18       report.
19             Q.        Doctor shopping is a form of diversion,
20       correct?
21             A.        I --
22                              MR. BURNETT:      Objection.
23             A.        I'm not sure whether it's considered
24       diversion because it's to the same person.                 I don't


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  1      understand the legal -- legality whether it's
  2      considered diversion or not.
  3            Q.        Fair enough.      You understand that doctor
  4      shopping means seeking prescriptions in a way
  5      inconsistent with the standard of care.                    Correct?
  6                          MR. BURNETT:         Objection.
  7            A.        Probably.    It's generally considered to be
  8      not a good practice.
  9            Q.        And therefore, prescriptions obtained
10       through doctor shopping would be taken in the form
11       of nonmedical use, correct?
12                           MR. BURNETT:         Objection.
13             A.        I honestly don't know.             Because many of
14       these people have valid pain and they seek -- and
15       also looking at this, I don't know, and I don't
16       have all the details in front of me.
17                           It's five clinicians in the past year.
18       They could have just moved.                  That doesn't prove
19       doctor shopping, but I think it suggested it.
20             Q.        And you have no opinion on whether or not
21       doctor shopping is criminal activity, correct?
22             A.        I don't know the legality of it, the strict
23       legality of it.
24             Q.        Okay.   Now, a few moments ago, you cited "a


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  1      more recent report."             Were you referring to the
  2      2017 report published by the West Virginia
  3      Department of Health and Human Services?
  4            A.        Yes, that's correct.
  5            Q.        Doctor, that report assessed 830 overdose
  6      deaths across the state of West Virginia in 2016,
  7      correct?
  8            A.        Yes.
  9            Q.        That report was --
10             A.        2016, yes.
11             Q.        That report, the 2017 report, was not
12       limited to Cabell County, correct?
13             A.        Correct.
14             Q.        So Doctor, I now want to go back to talk a
15       little bit more about the data that you relied on.
16       And if you have handy -- sorry, we've been moving
17       around to some of your other sources.
18                              -- Exhibit 3, your report.       And if you
19       turn to page 5 --
20             A.        Exhibit 3, page 5.           Yep.
21             Q.        Doctor, on page 5 of your report, you state
22       that "West Virginia has some of the highest
23       quality" and -- I'm sorry.                 The medical examiner
24       data in West Virginia is, quote, "some of the


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  1      highest quality in the country, especially for drug
  2      overdoses and information on actual drugs
  3      involved."
  4                          Do you see that?
  5            A.        That's page 5 of my report or of the --
  6            Q.        Of your -- of your report.
  7            A.        Of my report, okay.          Yes, I do.   That's
  8      correct.         I'll go back to page 5 of my report.              I'm
  9      a little --
10                           Yes.
11             Q.        Doctor, are you familiar with the National
12       Association of Medical Examiners?
13             A.        Yes, I am.
14             Q.        Are you aware that the National Association
15       of Medical Examiners accredits state medical
16       examiners?
17             A.        Yes, I am.
18             Q.        Are you aware that West Virginia -- the
19       West Virginia Office of the Medical Examiner is not
20       accredited?
21             A.        I'm not aware of that, but I am aware that
22       the laboratory upon which the toxicology is an
23       accredited -- the last time I looked, was an
24       accredited laboratory for the toxicology testing.


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  1            Q.        And as you sit here, Doctor, you don't know
  2      whether the West Virginia Office of the Chief
  3      Medical Examiner is accredited by the National
  4      Association of Medical Examiners, correct?
  5            A.        I'm not aware of that.          I do know -- yes,
  6      I'm not aware.
  7            Q.        Doctor, you didn't personally conduct any
  8      of the autopsy or toxicology screens for the
  9      individuals who died of drug overdoses discussed in
10       your report, correct?
11             A.        I did not, but I'm very familiar with the
12       procedures.         I've been working with medical
13       examiner data and been part of observing autopsies
14       probably 25 years in terms of work I did in
15       Maryland and work here, so I'm very familiar with
16       the practices and the way in which they do things.
17             Q.        Doctor, but you don't personally conduct
18       the autopsies or tox screens yourself, correct?
19             A.        I didn't conduct them, no, but I'm very
20       well aware and understand fully the procedures
21       involved.
22             Q.        Doctor, did you review the procedures by
23       which medical examiners in West Virginia conduct
24       autopsies and toxicology screens which are


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  1      referenced in your report?
  2            A.        To the extent that I have co-published
  3      articles with them, both the toxicologists and the
  4      medical examiner, where we have written up
  5      procedures that have passed peer review -- reviewed
  6      by other people and their procedures, all of the
  7      documentation that I had seen, looked to be very
  8      appropriate and also were considered to be adequate
  9      by peer reviewers to allow our articles to be
10       published.
11             Q.        Doctor, in West Virginia, medical examiners
12       that provide data to the State Office of the Chief
13       Medical Examiner do not need to be licensed
14       physicians, correct?
15             A.        The -- could you just repeat that again?
16       So who --
17             Q.        Certainly.    The local medical examiners who
18       report --
19             A.        Oh, yes.
20             Q.        -- data to the state do not have to be
21       licensed physicians, correct?
22             A.        That's correct.
23             Q.        Do you know what individuals reported
24       medical examiner data for Cabell County to the


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  1      state?
  2            A.        It's a matter of what you're talking about
  3      by the report.         From the procedures that I know, is
  4      that they have a locally-appointed medical examiner
  5      that's often a nurse, a emergency medical
  6      physician, someone who's taken a course in how to
  7      do the technical field work, and then that case is
  8      then reported to the medical examiner himself who
  9      is a licensed forensic pathologist, and they are
10       the ones who do the autopsy and the toxicology.
11                           Whereas the field work at the -- in
12       the county is not done necessarily by a licensed
13       physician.         Sometimes it is.
14             Q.        Doctor, do you investigate who was
15       responsible for the field work, as you've referred
16       to it, for Cabell County?
17             A.        I am -- I do not know, haven't investigated
18       myself, but it would be part of the team, and they
19       are under the supervision of the medical examiner.
20             Q.        But that's not something you've
21       investigated for purposes of forming your opinions
22       in this case, correct?
23             A.        That's -- that's correct, because most of
24       my data is based on actual toxicology that is


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  1      performed at the medical examiner's office where I
  2      do know much more about the procedures.
  3            Q.        Okay.   Doctor, a few minutes ago, you
  4      referenced the chief medical examiner that you
  5      co-authored an article with.                 Are you referring to
  6      Doctor Mock?
  7            A.        That's correct.
  8            Q.        Have -- are you aware that Doctor Mock was
  9      deposed in this litigation?
10             A.        I think I remember hearing that, yes.           I
11       don't know any details.
12             Q.        Did you review his deposition transcript --
13             A.        No, I --
14             Q.        -- in order to form your opinions?
15             A.        No, I --
16             Q.        In order to form your opinions in this
17       case?
18             A.        My opinion for this case was based entirely
19       on the -- the discussions regarding our
20       publications, our peer reviewed publications, and
21       the documentation that they provided when we have
22       written the article and where there would have been
23       errors, they would correct it.
24             Q.        So Doctor, earlier today you referenced


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  1      West Virginia's Controlled Substances Monitoring
  2      Program or CSMP, correct?
  3            A.        Correct.
  4            Q.        Doctor, are you aware that the West
  5      Virginia Office of the Chief Medical Examiner does
  6      not require doctors conducting autopsies to record
  7      information obtained from the CSMP?
  8            A.        I am not aware that -- I'm not sure.           There
  9      was this original study done, and I'm not sure
10       whether they kept the procedures up.
11             Q.        Okay.   Doctor, do you know if individuals
12       conducting autopsies -- autopsies on behalf of the
13       West Virginia chief medical examiner are required
14       to consult CSMP data?
15             A.        I am not aware of that exact procedure, and
16       I've not included that in my own original research.
17       We've just been interested in the toxicology.
18             Q.        And the CSMP data could be used to identify
19       prescription drug histories for decedents, correct?
20             A.        It has been done, and that's why I made a
21       point of using the data from these two separate
22       reports and two separate time periods, which I
23       quoted in my report.
24             Q.        But as -- but as you sit here today, you


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  1      don't know if consultation of the CSMP is required
  2      by the chief medical examiner's autopsy protocols,
  3      correct?
  4            A.        I do not know that.
  5            Q.        Doctor, do you know the extent of the data
  6      which is input into the CSMP?
  7            A.        By "extent," inputted -- put in by whom?
  8      Because it comes from different places.               The
  9      pharmacy and the physicians are also required to
10       check it.
11             Q.        Sure.   Let me try to make this more
12       concrete.         Doctor, are you aware that the Veterans
13       affairs system did not report prescriptions to the
14       CSMP for many years?
15             A.        Yes, I -- I am aware that there have been
16       problems with the federal system -- some of the
17       federal health care systems reporting.               I don't
18       know the period of time, and I'm -- but I have the
19       impression that they have fixed that, but I'm not
20       sure.
21             Q.        Have you done any work to test the
22       reliability of West Virginia's CSMP system?
23             A.        You know, it's not been the subject of this
24       report.         It was not something I was asked to do.


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  1      And I have not done that.
  2            Q.        Doctor, are you aware that West Virginia
  3      first established its forensic drug database in
  4      2005?
  5            A.        Yes, I am.
  6            Q.        So prior to that year, 2005, the
  7      information in the forensic drug database might not
  8      have been collected in any centralized fashion.
  9      Correct?
10             A.        I would disagree.       It was -- the database
11       was set up specifically originally to actually look
12       at the multiple drug combinations.                  But prior to
13       that, the medical examiners continued -- have been
14       doing the exact same procedure, doing their tests,
15       reporting the results out and writing them on the
16       death certificate.
17                           So it's more that there was a separate
18       reporting system established in 2005 for their
19       toxicology, and the original purpose behind it was
20       to -- because they were concerned that no one drug
21       was high enough concentration to kill a person, and
22       it was a combination of drugs that resulted in it.
23                           And -- but before that, they were
24       doing the standard procedures.                 The same data would


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  1      make it on to the death certificates.
  2                          So prior to 2005, the same data would
  3      make it on to the death certificate which would
  4      then make it down to Vital Statistics, and then we
  5      also have been paying people since 2005 to abstract
  6      that same data and put it into the forensic drug
  7      database.
  8            Q.        So prior to 2005, the data currently
  9      contained the forensic drug database was not
10       centralized in the same manner it began being
11       centralized in 2005, correct?
12             A.        I don't know about "centralized."
13                           MR. BURNETT:      Yeah, I object.
14             A.        I don't know about being centralized.           I
15       think it's more that the data was part of the
16       process, and this was an add-on, an additional step
17       to capture the multiple drug.                And in particular,
18       it captures the concentration of the drugs, which
19       is not listed on the death certificate.
20             Q.        Do you have any understanding of the
21       incremental benefit of implementing the forensic
22       drug database in 2005?
23                           MR. BURNETT:      Objection.
24             A.        Yes, I don't know what you're -- what


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  1      you're trying to get -- certainly not been the
  2      subject of my report, and it would -- I would have
  3      to go back and check with my colleagues on that.
  4                          I don't think it has affected at all
  5      the quality of data that makes it to the death
  6      certificate.
  7            Q.        Have you done any testing of the
  8      reliability of forensic drug data available prior
  9      to 2005 and after 2005?
10             A.        No, I have not done -- the -- perhaps the
11       best source was that detailed study that the CDC
12       did, the Hall study.          They did a detailed study of
13       the medical examiner data, and as I understand it,
14       the reason that they did that study back in -- what
15       was that -- when was the Hall study done?
16                           Anyway, the reason they did that study
17       was because the medical examiner data was of good
18       quality, and they did some of this validation and
19       did not document any problem.
20             Q.        And you yourself have not conducted any of
21       that type of data analysis, correct?
22             A.        No, I have relied on both those two -- the
23       -- those two evaluations and they have determined
24       to me -- it looked good to me, and there'd be no


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  1      change in procedures.
  2            Q.        What benchmarks did you use in order to
  3      determine whether that data was valid?
  4            A.        I do know that the forensic -- that the --
  5      that the forensic toxicology laboratory has been
  6      certified and accredited and has remained to be
  7      accredited, as far as I know.                I haven't checked
  8      every single month of every single year to know
  9      that, but it has been documented as being an
10       accredited laboratory.
11             Q.        So you relied on the accreditation of the
12       toxicology lab, correct?
13                           MR. BURNETT:      Objection.
14             A.        I relied mostly on the opinion of the --
15       Doctor Kraner, who is the top -- chief
16       toxicologist.
17             Q.        So you didn't create any reliability
18       testing on your own, correct?
19             A.        No, I've relied on the -- oh, we check --
20       the data is regularly checked.                 If it doesn't make
21       sense, we do go back to the medical examiner if we
22       see something that doesn't make sense or if a drug
23       level doesn't make sense, we go back and check and
24       check whether there could have been a minor


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  1      extraction error.
  2            Q.        And have you personally done that in
  3      connection with forming your opinions in this case?
  4            A.        It hasn't altered my case, because my case
  5      relied on the Vital Statistics data which is the
  6      recording of the actual drugs on the death
  7      certificates.
  8            Q.        But you yourself have not conducted any
  9      reliability testing for the data that you've
10       referenced in your report, correct?
11                           MR. BURNETT:      Objection.
12             A.        In -- not -- we relied when we checked the
13       data, and the Vital Statistics data is checked and
14       double-checked by the people that do it, but we
15       rely -- like most things, you can't check
16       absolutely everything, and so we do rely on what's
17       generally considered to have been a high-quality
18       Vital Statistics program.
19             Q.        And so you haven't checked that data
20       personally, correct?
21                           MR. BURNETT:      Objection.
22             A.        What do you mean by "checked?"        At what
23       level do you mean checking?
24             Q.        Have you run -- have you tested the


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  1      reliability of the data personally?                    It's a "yes"
  2      or "no" question.
  3            A.        In terms of reliability, we do checks.                If
  4      it doesn't make sense, or if it seems clearly
  5      errors, we would pick those up.
  6                             So I don't quite know at what level of
  7      checking that you mean.               To the -- if you mean that
  8      I -- have I personally looked at every toxicology
  9      report in the state and looked at every death
10       certificate to make sure that they wrote it down in
11       exactly the right way and then went back and
12       checked that every person entered the data in the
13       same way, I have not.
14             Q.        So let's try to make this more concrete.
15       One of the major sources of data cited in your
16       report is the data compiled by the West Virginia
17       Office of the Chief Medical Examiner.                    Correct?
18             A.        Yes.
19             Q.        What, if anything, did you do to test the
20       reliability of the data from the Office of the
21       Chief Medical Examiner that you cited in your
22       report?
23             A.        I didn't cite anything in my report about
24       that, checking that quality.


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  1            Q.        Okay.   Did you do anything to check the
  2      reliability of that data?
  3            A.        I relied on the discussions with the people
  4      doing the testing as to what our -- where the data
  5      comes from.         But otherwise, no.
  6            Q.        Okay.   So you relied on the Office of the
  7      Chief Medical Examiner in order to produce the data
  8      that you've relied on without checking it.
  9      Correct?
10                           MR. BURNETT:       Objection.
11             A.        To the point that we check it to make sure
12       that the data -- we do internal checks, but it's a
13       matter of at what level you're checking.                Is it
14       every single spelling mistake when they write
15       something down or whatever -- you can't check
16       everything.
17             Q.        At what level did you check the data
18       provided by the Office of the Chief Medical
19       Examiner?
20             A.        If we see inconsistencies that don't make
21       sense or a drug name that's written -- would be
22       written down -- that actually would be done, I
23       know, by the Vital Statistics office.                Something
24       that's written down as a wrong name or something


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  1      like that, that would be picked up.
  2                            But I didn't check it, no.
  3            Q.        Okay.     You didn't check it yourself?
  4            A.        That's correct.
  5            Q.        Given the -- we've talked about toxicology
  6      screens, correct, Doctor?
  7            A.        Yeah, we talked about doing toxicology
  8      testing, yes.
  9            Q.        Can a medical examiner determine a cause of
10       death on a toxicology screen alone?
11             A.        No.     It's a process by looking at the
12       toxicology results, looking at the autopsy result,
13       and it's up to the -- the final decision that's
14       made is the expert opinion of the medical examiner
15       based on the preponderance -- as I understand the
16       legal term, the preponderance of evidence presented
17       to them, along which with they have toxicology, and
18       they make a determination that if a drug was -- was
19       found -- drug was responsible -- at least partially
20       responsible for the death, they would include it on
21       the death certificate, and then it would have been
22       in the data that I used.
23             Q.        Doctor --
24             A.        Contributed --


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  1            Q.        -- so --
  2            A.        The term they use is "contributed to the
  3      death."         Whether that particular drug contributed
  4      to the death.
  5            Q.        Doctor, I'll represent to you that in the
  6      context of this case, Doctor Mock has testified
  7      that it would be irresponsible to claim to identify
  8      the cause and manner of death based on a toxicology
  9      screen.         Do you agree with that statement?
10             A.        I would agree definitely with that.
11             Q.        More information beyond the toxicology
12       screen is needed to determine the cause of death,
13       correct?
14             A.        Correct.
15             Q.        For example, evidence from the place where
16       a death occurred might be important.                  Correct?
17             A.        Often is, yes.
18             Q.        Drug paraphernalia at the scene of an
19       overdose might be important to determining the
20       cause of death, correct?
21             A.        It can provide valuable evidence, yes.
22             Q.        Other evidence such as illicit drugs at the
23       scene of an overdose might also be important to
24       determining the cause of the death, correct?


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  1             A.       Yes, that's used as part of their process,
  2      yes.
  3             Q.       Photographs of the overdose scene could be
  4      important to determining the cause of death,
  5      correct?
  6             A.       They can provide valuable supplemental
  7      information in some cases.
  8             Q.       Those sources of supplemental information
  9      that we've just reviewed are collected by law
10       enforcement rather than the medical examiner,
11       correct?
12              A.       It's often done in collaboration together,
13       as I understand it.
14              Q.       Is the medical -- to the best of your
15       knowledge, is the medical examiner responsible for
16       collecting those types of supplemental information
17       that we've just discussed?
18              A.       I think a lot of it is done on a
19       case-by-case basis if they feel it is needed.
20              Q.       Doctor, are you aware that the West
21       Virginia State Crime Lab performed toxicology tests
22       on evidence found at suspected -- on the scene of
23       suspected drug overdoses?
24              A.       I would expect that they would do that,


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  1      yes.        It's common procedure.
  2             Q.       Doctor, are you aware that the State Crime
  3      Lab has a significant backlog?
  4                          MR. BURNETT:      Objection.
  5             A.       I'm not aware.     I could understand it did.
  6      But that's not really relevant, because the data
  7      that I use comes from our medical examiner lab, and
  8      it's what's actually found inside the person as
  9      against what was found at the scene.
10                           So none of that information is
11       necessarily used.
12              Q.       But as you said, you agree that toxicology
13       results alone are insufficient to determine the
14       cause of death, correct?
15              A.       In most cases.
16              Q.       Doctor, I'll represent to you that Doctor
17       Mock has testified that in most instances, the
18       medical examiner determines a cause of death before
19       results from the State Crime Lab are available.
20       Were you aware of that when you relied on the
21       medical examiner data in order to form your
22       opinion --
23              A.       You know, I --
24              Q.       Were you aware of that?             "Yes" or "no,"


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  1      sir.
  2             A.       I wasn't aware of that, but it's not
  3      relevant.         Because they have got the -- you could
  4      find a drug at the scene, but it might be a whole
  5      different drug to actually the drug that that
  6      particular person had consumed at the time and were
  7      responsible for killing them.
  8                          They're not necessary just because the
  9      drug -- one drug was found at the scene and tested.
10       I don't see that as being that relevant to the
11       toxicology that we actually find inside somebody
12       when they die.
13              Q.       But you weren't aware of that information,
14       correct?
15                           MR. BURNETT:      Objection.
16              A.       I wasn't aware of it, but I don't see the
17       relevance.
18              Q.       Doctor, your report assessed accidental
19       poisonings, correct?
20              A.       That's correct.
21              Q.       So it excluded suicides from its analysis,
22       correct?
23              A.       Yes, correct.
24              Q.       And differentiating between suicides and


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  1      accidental poisonings, you relied on the
  2      determinations of the medical examiner, correct?
  3            A.        That's correct.
  4            Q.        And as we just determined, the medical
  5      examiner did not have the benefit of law
  6      enforcement input prior to making most of its
  7      determinations, correct?
  8                          MR. BURNETT:      Objection.
  9            A.        I think you would have to check on that
10       with the medical examiner.              I'm not -- in some --
11       at times, they do, in my experience, but I don't
12       know for sure with the West Virginia Medical
13       Examiner.
14             Q.        That's something that you don't know about,
15       correct?
16             A.        I don't know the full details.        I could
17       imagine that it's missing in some, but I don't
18       know.
19             Q.        Doctor, do you know the criteria that the
20       West Virginia Medical Examiner's Office uses to
21       distinguish between suicides and accidental
22       poisonings?
23             A.        There are some well-established guidelines
24       that people use, but I -- I don't know their exact


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  1      criteria.
  2            Q.        And you didn't consider the criteria used
  3      by the medical examiner's office before relying on
  4      its data in forming your opinions in this case,
  5      correct?
  6            A.        What I would say is that the medical exam
  7      -- the distribution of -- I have looked in the past
  8      that suicides versus accidents, and in West
  9      Virginia - in common with most other places - the
10       vast bulk of the drug poisoning deaths are
11       considered to be accident -- are classified as
12       accidental.
13             Q.        Did you undertake any inquiry in order to
14       determine the protocol that the West Virginia
15       Office of the Chief Medical Examiner uses in order
16       to classify suicide?
17                             MR. BURNETT:      Objection.
18             A.        I did not, but the find -- but the
19       reporting of the ratio of suicide to accident is
20       very consistent with national standards, the ratio.
21             Q.        But you didn't undertake any independent
22       inquiry, correct?
23             A.        No.
24             Q.        Doctor, heroin can be difficult to detect


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  1      in fatal overdoses, correct?
  2            A.        Correct.
  3            Q.        Your report separately lists deaths related
  4      to heroin and deaths related to morphine, correct?
  5            A.        Yes.    Well, it lists them out, yes,
  6      exactly.
  7            Q.        Doctor, heroin metabolizes into morphine,
  8      correct?
  9            A.        Yes.
10             Q.        Heroin also metabolizes into another
11       chemical, 6-monoacetylmorphine, correct?
12             A.        Yes.
13             Q.        And if I refer to 6-MAM, you'll know that
14       I'm referring to 6-monoacetylmorphine because it's
15       very difficult to say.
16             A.        Yep.
17             Q.        Correct?
18             A.        Yep.
19             Q.        Okay.    Thank you, I appreciate that.
20       Doctor, both morphine and 6-MAM are present in the
21       body when heroin is metabolized, correct?
22             A.        Yes.
23             Q.        Is there --
24             A.        Sometimes you may not get each of them.            As


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  1      I understand it, it's quite difficult to determine.
  2            Q.        Is that -- that's because 6-MAM is very
  3      difficult to identify in small amounts, correct?
  4            A.        I think that's the reason.
  5            Q.        If the West Virginia Office of the Chief
  6      Medical Examiner detects morphine by no 6-MAM, the
  7      office categorizes the death as related to morphine
  8      but not heroin, correct?
  9            A.        I'm not sure about that in every single
10       case.      As in our discussions with that, we've
11       clearly -- there are difficulties in determining
12       whether heroin was involved.
13             Q.        And did you undertake any inquiry to
14       determine the protocol pursuant to which the Office
15       of the Chief Medical Examiner identifies heroin
16       deaths?
17             A.        We've had some discussion about that over
18       the years with regard to papers and how to prevent
19       it, and as I understand it, they are probably a
20       little cautious about calling it a heroin if
21       there's -- if they don't have any other evidence.
22             Q.        And when you're --
23             A.        Because sometimes you just find the
24       morphine.


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  1            Q.        And when you're talking about -- when you
  2      reference discussions, with whom did you have these
  3      discussions?
  4            A.        These would be in e-mail discussions and
  5      papers -- comments on papers as we're trying to
  6      write our paper and make sure that it's as
  7      scientifically as correct as possible.
  8            Q.        Are those conversations that you had with
  9      Doctor Mock?
10             A.        I will say it wasn't with myself
11       personally; it was with my colleague Maria Abate
12       who would have been having most of the discussions
13       about that.         She's the pharmacist/toxicologist who
14       is a part of our team.
15             Q.        Okay.   Doctor, the difficulty in
16       identifying heroin as metabolized in overdose may
17       result in an underreporting of heroin deaths,
18       correct?
19                           MR. BURNETT:       Objection.
20             A.        That -- there certainly is described in the
21       literature that there can be underreporting of
22       these deaths.
23             Q.        And do you have any reason to disagree with
24       the literature which reports an undercounting of


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  1      heroin deaths?
  2            A.        No, I don't.
  3            Q.        Doctor, do you still have Exhibit 3 handy?
  4      It's a copy of your report.
  5            A.        Yes, I do.     It's in front of me.
  6            Q.        Okay.     So if we turn to Exhibit A of your
  7      report, which follows right after page 18 of the
  8      numbered pages --
  9            A.        Got it.
10             Q.        -- Exhibit A includes a list of deaths
11       related to -- associated with drugs by year.
12       Correct?
13             A.        Yes.
14             Q.        And if we look at the drugs included in
15       your Exhibit A, we see that you included morphine
16       as a category of drugs separate from heroin.
17       Correct?
18             A.        That's correct.
19             Q.        Doctor, you didn't perform any independent
20       assessment of the toxicology screens that formed
21       the basis of your opinion, correct?                    That's what
22       you said earlier.
23             A.        No, but we --
24                              MR. BURNETT:      Objection.


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  1            A.        Yeah.   Did not.     But we had considerable
  2      discussion of the issues relating to the morphine
  3      and the heroin, and I think if you read our paper
  4      on this, it mentions that specifically.
  5            Q.        Doctor, which paper are you referencing,
  6      just for clarity of the record?
  7            A.        That was the fentanyl paper that we -- I
  8      talked about -- the "Fentanyl and fentanyl-analog
  9      involvement in drug-related deaths" that I cite in
10       my report.
11             Q.        Thank you.   Doctor, so if the medical
12       examiner -- the West Virginia medical examiner,
13       failed to detect small amounts of 6-MAM and
14       erroneously categorized a heroin overdose as
15       related to morphine, you wouldn't have identified
16       that error in preparing Exhibit A.                   Correct?
17                           MR. BURNETT:       Objection, calls for
18       speculation.
19             A.        Yeah, I would not, and if you look at it,
20       the heroin deaths exceed the morphine deaths quite
21       considerably.
22             Q.        In the case that the chief medical examiner
23       was unable to detect 6-MAM and categorized heroin
24       deaths erroneously as a morphine death, that


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  1      categorization would carry through to the chart
  2      which you've presented as Exhibit A.                   Correct?
  3                             MR. BURNETT:      Objection.
  4            A.        They possibly could do.
  5            Q.        And as it follows, Doctor, you would have
  6      categorized that erroneous morphine death as
  7      related to prescription opioids, correct?
  8                             MR. BURNETT:      Objection.
  9            A.        Possibly.     But I would have to look at the
10       ratio -- yeah, the -- if you were to look at that,
11       are you talking about the -- on page 11, the figure
12       on page 11?
13             Q.        Well, if we -- we can do that.            So let's go
14       to page 11 of your report, which is Exhibit 3.                      And
15       I think, Doctor, you were calling out Figure 1.                       Do
16       you have that in front of you?
17             A.        Yep.     Because if you look at it, the
18       morphine deaths are about three times the overall
19       -- more than three times the heroin.                   So even if
20       you were to bring down some of those, you would
21       only be, at best, bringing those figures up a very
22       small -- a small amount.
23                              You would bring them up by a third, if
24       that was the case.            Well, by about a quarter,


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  1      actually.
  2            Q.        So Doctor, let me ask a question.          So we've
  3      now just turned to page 11 in your report, and
  4      we're looking together at Figure 1.                 If we look at
  5      your Figure 1, you'll see that morphine deaths are
  6      included in the red line that represents deaths
  7      from prescription opiates -- opioids from the
  8      period 2001 to 2011.
  9                          Do you see that?
10             A.        That's correct.
11             Q.        Doctor, you don't know how many deaths that
12       were caused by heroin might have been incorrectly
13       included in the count for morphine deaths, correct?
14                           MR. BURNETT:      Objection.
15             A.        I do not know, but if you go back and look
16       at the exhibit that you --
17             Q.        You don't --
18             A.        -- cited --
19             Q.        You do not know.      It -- Doctor, it's just a
20       "yes" or "no" question.            You don't -- you don't
21       know, correct?
22                           MR. BURNETT:      Ms. Wu, you interrupted
23       the witness.         He was in the process of answering
24       your question.


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  1                          MS. WU:   It was a "yes" or "no"
  2      question.
  3            A.        What we normally do in studies, we don't
  4      have "yes" or "no" answers.               We have an error bar
  5      around it, so if you were to create an error bar
  6      around it to be able to estimate, you would find
  7      that overall, there were 330 heroins and there were
  8      108 morphine, and you probably could find -- and so
  9      at best, there would be only a third more, even if
10       you were to bring all of the morphine down into the
11       heroin, you would only go up about 25 percent.
12                           So it would not greatly change the
13       scope of those curves.           And so that's what we would
14       do in -- we're never 100 percent sure about --
15       certainly with regard to the heroin.
16                           But if it was, it would not
17       dramatically change the shape of those curves.
18             Q.        Okay.
19             A.        It might change the actual number.
20             Q.        Doctor, my question was more narrow than
21       that.      Doctor, you don't know how many deaths that
22       were caused by heroin may have been incorrectly
23       included in the number of deaths represented by the
24       red line in Figure 1, correct?


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  1                             MR. BURNETT:      Objection, asked and
  2      answered.
  3            A.        Yeah.     I do know that if -- that the -- the
  4      difference would be relatively small, but the
  5      extent to which, I do not know.
  6            Q.        Doctor, Figure 2 also has -- also on page
  7      11, Figure 2, has a red line that indicates the
  8      number of deaths associated with prescription
  9      opioids between 2001 and 2018.                    Do you see that?
10             A.        Yes.
11             Q.        Once again, fatal overdoses associated with
12       morphine are included in the red line which shows
13       prescription opioid overdose deaths.                    Correct?
14             A.        Correct.
15             Q.        Once again, Doctor, you don't know how many
16       deaths caused by heroin were incorrectly reported
17       as caused by morphine for the period 2001 to 2018?
18                              MR. BURNETT:      Objection.
19             A.        No, I do not.       I would say that there's a
20       error -- and if I look at the data, actually, it's
21       even a lessor proportion -- would have relatively
22       less impact in recent years, looking at that.
23             Q.        Doctor, any deaths caused by heroin that
24       were incorrectly recorded as caused by morphine


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  1      would be shown as having been caused by a
  2      prescription opioid in Figure 2, correct?
  3            A.        The --
  4                          MR. BURNETT:         Objection.
  5            A.        There might have been some
  6      misclassification, but the effect would be minimal.
  7            Q.        And that type -- that's the same type of
  8      miscategorization which you referenced in your 2019
  9      article, correct?
10             A.        Correct.
11             Q.        Doctor, I'd like to talk a little bit about
12       fentanyl.         In your report, you categorize fentanyl
13       as a prescription opioid for the period 2001
14       through 2011.            Correct?
15             A.        Yes, I think it was based on the C -- as we
16       -- as I under -- the best source of that was the
17       Centers for Disease Control, which if I remember
18       correctly, stated that after a certain year - which
19       I think is 2017 - that the vast bulk of the
20       fentanyl was illicit at that period of time.
21             Q.        And then you characterized fentanyl as an
22       illicit opioid for the time period 2011 for {sic}
23       2018, correct?
24             A.        That's correct.        And you can see that


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  1      there's very little in 2014.                  That was including
  2      all of them.         Yes.
  3            Q.        Now, if we look at Exhibit A to your
  4      report, which is Exhibit 3 --
  5                          MR. BURNETT:         Exhibit A?
  6                          MS. WU:      Yes, Exhibit A to the report
  7      which is Exhibit 3.
  8            A.        Exhibit --
  9                          MR. BURNETT:         Yeah, right, right.
10                           THE DEPONENT:          Is that the exhibit on
11       my report, Exhibit A?
12                           MR. BURNETT:         Yes, Exhibit A on your
13       report which she has marked as Exhibit 3.
14             A.        Oh, good, yes.
15             Q.        Thank you, Doctor.
16                           MS. WU:      Thank you, David.
17             Q.        So if we look at Exhibit A to your report,
18       there was at least one death associated with
19       fentanyl for each year, 2001 through 2011.
20       Correct?
21             A.        Yes, that's correct.
22             Q.        And none of those deaths are categorized as
23       associated with illicit opioids in your Figure 2,
24       correct?


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  1            A.        That's correct.
  2            Q.        But you didn't review the medical records
  3      for each of the individuals associated with those
  4      overdoses reported here, correct?
  5            A.        No.    We re -- I relied on evidence from the
  6      literature as to when illicit fentanyl came into --
  7      started coming into widespread availability.
  8            Q.        Doctor, are you aware that the West
  9      Virginia Office of the Chief Medical Examiner did
10       not consistently distinguish between prescription
11       fentanyl and illicit fentanyl prior to 2010?
12             A.        I would be aware of that.               But as I
13       understand the literature, does not docu -- and I
14       think drug seizures probably -- basically the
15       Centers for Disease Control has suggested in their
16       literature that from 2013 on, the vast bulk of --
17       that was the period that the dramatic increase in
18       the availability of illicit heroin began.
19             Q.        And so again, you don't know how the
20       fentanyl deaths were reported in the medical
21       examiner data on which you relied.                      Correct?
22                             MR. BURNETT:      Objection.
23             A.        It's the same chemical.               And I don't think
24       -- other than looking for contaminants in it, it's


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  1      a drug -- it's a molecule, and it would be the same
  2      molecule.         If it's called fentanyl, it would be the
  3      same drug, and there would be no way of
  4      distinguishing between them.
  5            Q.        And that would be how you would distinguish
  6      based on a toxicology screen alone, correct?
  7            A.        That's correct, you would best be relying
  8      on what molecule they find.
  9            Q.        And as Doctor Mock testified - and you
10       agreed - it is improper to categorize a cause of
11       death based on a toxicology screen alone.                   Correct?
12                           MR. BURNETT:      Objection.
13             A.        I'm relying on his judgment.           But it sounds
14       like it.
15             Q.        Okay.
16                           MS. WU:   So we've been going almost an
17       hour, and I apologize.           I've got to go get my power
18       cord this time.         Could we go off the record and
19       just take ten minutes?
20                           MR. BURNETT:      Sure.
21                           MS. WU:   Take it now?          Okay.   Okay,
22       so --
23                           VIDEO OPERATOR:        Going off the record.
24       The time is 1:27 p.m.


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  1                             (A recess was taken after which the
  2                             proceedings continued as follows:)
  3                             VIDEO OPERATOR:        Now begins Media Unit
  4      5 in the deposition of Gordon Smith.                   We're back on
  5      the record.            The time is 1:54 p.m.
  6      BY MS. WU:
  7            Q.        Doctor, we just took a brief break.            You
  8      understand that you're still under oath, correct?
  9            A.        Correct.     Yes.
10             Q.        Before our break, we were talking about
11       fentanyl, and I want to pick up where we left off.
12       Do you have Exhibit 3, which is your report, in
13       front of you?
14             A.        Yes, I do.
15             Q.        Doctor, if we turn to page 10 of your
16       report, you state that "fentanyl overdoses began to
17       rise steeply in 2015, with the growing presence of
18       illicit fentanyl."
19                              Do you see that?
20             A.        Yes.
21             Q.        What is the source for that statement?
22             A.        Began to rise -- that is -- this is the
23       Vital Statistics data, and that's what's shown on
24       Figure 2 on page 11.


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  1            Q.        And now if we look at your -- back a few
  2      pages to page 7 of your report -- I'm sorry, it's
  3      Footnote 7 on page 8 of your report.                   I apologize.
  4            A.        Yes.
  5            Q.        You cite CDC analysis -- and quote it.             It
  6      says, "The third wave began in 2013, with
  7      significant increases in overdose deaths involving
  8      synthetic opioids," specifically, "those involving
  9      illicitly manufactured fentanyl."                   Do you see that?
10             A.        Yes.
11             Q.        So illicit fentanyl is listed as a problem
12       as far back as 2013, correct?
13             A.        At a national level.         It took a little
14       longer to come to West Virginia, yes.
15             Q.        Do you have an opinion as to when illicit
16       fentanyl first became available nationally?
17             A.        I'm relying -- my opinion is based on what
18       the Centers for Disease Control report, that felt
19       that -- that this really became a problem in --
20       beginning in 2013, and that their general
21       understanding is that before that, they weren't
22       bringing in the -- I guess the Chinese hadn't
23       learned how to make it or whatever, but anyway,
24       they created a market for it.


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  1             Q.       Doctor, do you know if there were domestic
  2      sources for illicit fentanyl prior to 2013?
  3             A.       There were prescription as a source.           There
  4      was a -- there was a patch, Duragesic patch, that
  5      was available.
  6             Q.       Was there illicitly -- I should say
  7      illicitly-manufactured fentanyl available in the
  8      United States prior to 2013?
  9             A.       Not that I know of in any quantity, based
10       on the reports that I've seen.
11              Q.       So Doctor, I'd like to show you another
12       exhibit, Exhibit 15 --
13                           MS. WU:   And Counsel, we're going to
14       do this one by screen share.               We sent it last
15       night.       I'm not sure if you have hard copies with
16       you.
17                           MR. BURNETT:      Yeah, I have the hard
18       copy.       Remind me what the name of the document is.
19                           MS. WU:   Sure.       It's fentanyl briefing
20       sheet for first responders.
21                           MR. BURNETT:      Yeah, okay.
22                           MS. WU:   We're also happy to put it up
23       on the screen if that's helpful.
24                           MR. BURNETT:      Let's ask the witness.


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  1      This is -- so this is Exhibit 15.                    She sent this
  2      separate from the envelopes.
  3                          THE DEPONENT:        Oh, okay.       Yes.   All
  4      right.      Yes.
  5                      SMITH DEPOSITION EXHIBIT NO. 15
  6                          ("Fentanyl A Briefing Guide for First
  7                          Responders" from the U.S. Department
  8                          of Justice, Drug Enforcement
  9                          Administration dated 6-6-17
10                           (HUNT_01800002-021) was marked for
11                           identification purposes as Smith
12                           Deposition Exhibit No. 15.)
13             Q.        Doctor, for the record, you're now looking
14       at a document, Deposition Exhibit 15, which is
15       titled Fentanyl briefing sheet for first
16       responders.         Do you have that in front of you?
17             A.        Yes, I do.
18             Q.        You didn't rely on this document in writing
19       your report, correct?
20             A.        No, I relied on the Centers for Disease
21       Control document.
22             Q.        Okay.   Doctor, in looking at the document,
23       you see it was prepared by the Drug Enforcement
24       Administration, correct?


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  1            A.        Correct, yes.
  2            Q.        And at the top of the first page of Exhibit
  3      15, someone has written "June 6th, 2017" by hand.
  4      Do you see that?
  5            A.        Correct.    Yes, I do.
  6            Q.        In the bottom right, you see the word
  7      "HUNT," followed by a series of numbers.                     Do you
  8      see that?
  9            A.        Correct.    The first page ends in 2.            Yes.
10             Q.        Okay.    If I refer to that number as the
11       Bates number, will you understand what I'm
12       referring to?           That's the Huntington production
13       prefix, also known as a Bates number.
14             A.        The Bate -- B-A-T-E-or --
15             Q.        B-A-T-E, yes.      Bates number.
16             A.        Bates number.      What's the origin of Bates?
17       Is that the name of the person who did it?
18             Q.        Very good question.          Perhaps other counsel
19       on the line can help me out here.                     I don't know.
20                           MR. BURNETT:        Yeah, I think there was
21       a Mr. Bates that came up with the numbering system.
22        It's used across --
23                           THE DEPONENT:         Oh, okay.
24                           MR. BURNETT:        -- in --


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  1                             THE DEPONENT:       Oh, okay.     All
  2      government things?            Oh, okay.         Yes.   Good.
  3            Q.        Okay.     So if we turn to page 3 of the
  4      document which has the Bates stamp ending in a
  5      Number 5 in the bottom right-hand corner, do you
  6      see that?
  7            A.        Yes.
  8            Q.        Now, if we go to the paragraph that begins
  9      at the bottom of the left column of the page --
10             A.        Yes.
11             Q.        -- DEA report -- it reads, the DEA reports
12       indicate that there were multiple clandestine labs
13       producing illicit fentanyl in the U.S. between 2000
14       and 2005.
15                              Do you see that, Doctor?
16             A.        Yes.
17             Q.        You weren't aware of that when you produced
18       your report, were you?
19             A.        No, I wasn't.
20             Q.        That's the same time frame when you have
21       fentanyl listed as a prescription opioid in your
22       report, correct?
23             A.        That is correct.
24             Q.        And between 2005 and 2007, according to


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  1      this report, law enforcement attributed more than
  2      1,000 deaths between Chicago and New Jersey to
  3      illicit fentanyl.            You weren't aware of that when
  4      you prepared your report, correct?
  5            A.        No, I wasn't.        I was much more aware of the
  6      statement at the bottom in the last -- in the
  7      second to the last paragraph.                   "Beginning in 2013,
  8      the DEA, along with" "law enforcement, began
  9      noticing an alarming" overdose -- "number of
10       overdose incidents throughout the nations," and
11       that's when they felt that it was illicit opioids.
12                              But you're right.          There seems to be
13       some documentation prior to that.
14             Q.        And West Virginia lies -- geographically
15       lies between Chicago and New Jersey, correct?
16             A.        Yes.
17             Q.        If we turn to Exhibit A of your report,
18       which is Deposition Exhibit 3 -- and look at the
19       numbers for fentanyl.
20             A.        Uh-huh.
21             Q.        Your Exhibit A reports that there were 15
22       deaths related to fentanyl in Cabell County between
23       2005 and 2007.            Correct?
24             A.        Yes.


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  1                             MR. BURNETT:      You said 15 or 16?
  2            Q.        You attributed --
  3            A.        2004, 2005 and 2006, is that what you're
  4      counting?
  5            Q.        2005, 2006 and 2007.
  6            A.        Yes.
  7            Q.        16.
  8            A.        16, yes.
  9            Q.        I'm sorry.     I said "15" before.      So if we
10       turn to Exhibit A of your report, it indicates --
11       it reports that there were 16 deaths related to
12       fentanyl in Cabell County between 2005 and 2007.
13       Correct?
14             A.        Correct.
15             Q.        Doctor, you attributed each of those deaths
16       to prescription fentanyl, correct?
17             A.        Based on the CDC reports, that was correct.
18             Q.        Doctor, you didn't consider the law
19       enforcement reports such as the document marked as
20       Exhibit 15 which report the prevalence of illicit
21       fentanyl during that same time period, 2005 to
22       2007.      Correct?
23                              MR. BURNETT:      Objection,
24       mischaracterizes the document.


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  1            A.        Yeah.     No, we did not, but we were not
  2      aware that it was much of a problem, and certainly
  3      the number of -- compared to the most recent time
  4      period where we do know that there were large
  5      amounts of illicit opioids and -- I'm not sure --
  6                             People were -- certainly were dying
  7      from the prescribed patches, so I don't know.
  8            Q.        But you didn't consider the law enforcement
  9      reports such as the DEA document identified as
10       Exhibit 15 in preparing your report.                      Correct?
11                              MR. BURNETT:      Objection.
12             A.        No.     And it says here that they closed --
13       they started closing it down in 2005.                      So those --
14             Q.        And Doctor --
15                              MR. BURNETT:      Wait.
16             Q.        Doctor, my question was --
17                              MR. BURNETT:      He was answering.
18             Q.        -- did you consider --
19                              MR. BURNETT:      He was --
20                              MS. WU:   Counsel, do you have an
21       objection?            I don't have a question pending.
22             Q.        Doctor, my question was:               You did not
23       consider law enforcement reports such as the DEA
24       report marked as Deposition Exhibit 15 in preparing


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  1      your report in connection with this case, correct?
  2            A.        I did not have access to that report.
  3                          MR. BURNETT:        Objection, asked and
  4      answered.
  5            Q.        Okay.   So Doctor, earlier today, you
  6      mentioned the concept of polypharmacy.                 Could you
  7      explain for us what you mean when you use the term
  8      "polypharmacy"?
  9            A.        Polypharmacy is people taking more than one
10       drug at the same time to get -- to get high off of
11       their drug problem.
12             Q.        Doctor, the presence of multiple drugs in
13       toxicology screens can indicate polypharmacy,
14       correct?
15             A.        Correct.
16             Q.        Polypharmacy is common among fatal
17       overdoses in West Virginia, correct?
18             A.        That's correct.
19             Q.        More than three-quarters of fatal overdoses
20       between 2005 and 2017 involved multiple drugs,
21       correct?
22             A.        I don't know which paper -- I presume
23       that's from my report.             Yes?      I don't know the
24       exact number.


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  1            Q.        Doctor, you cited the Smith study for that
  2      proposition, correct?
  3            A.        Where was that, on which page was that?
  4      I'd have to remember.
  5            Q.        Well, let me try it in a simpler way.
  6      Doctor, do you agree that three-quarters of fatal
  7      drug overdoses in West Virginia for the period 2005
  8      to 2017 involve multiple drugs or polypharmacy?
  9            A.        That would be very consistent with our --
10       our analyses of data.
11             Q.        Doctor, when multiple drugs are present in
12       a toxicology screen, each drug is included in the
13       autopsy report, correct?
14             A.        Only if in the opinion of the medical
15       examiner that drug contributed to the death.                 For
16       example --
17             Q.        Are you aware --
18             A.        -- if marijuana was found in the
19       toxicology, they would not list it as having
20       contributed to the death.
21             Q.        Have you considered circumstances in which
22       the West Virginia Office of the Chief Medical
23       Examiner determined to exclude a drug identified in
24       a toxicology screen from the autopsy report?


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  1            A.        Yes.    In discussions with them, if they
  2      found a very, very low level of a drug, they would
  3      not consider it -- they would find the drug, but
  4      they would not consider it as having contributed to
  5      the death, and therefore they would not write it on
  6      the death certificate.
  7            Q.        And what is the source for your knowledge
  8      of that practice of the West Virginia Office of the
  9      Chief Medical Examiner?
10             A.        That's based on our correspondence and
11       e-mails and correspondence with my colleague with
12       the medical examiner as to how they determined
13       whether they list the drug on the death certificate
14       and whether they list it as having contributed to
15       the death.
16             Q.        When you refer to "the medical examiner,"
17       are you referring to Doctor Mock?
18             A.        Yes, Doctor Mock.         And also my colleague
19       worked with the medical examiner prior to Doctor
20       Mock.      I can't remember his name offhand.
21             Q.        Okay.    Did you work with any medical
22       examiner other than Doctor Mock in West Virginia?
23             A.        No, I have not myself personally, but I
24       know my colleague has.


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  1            Q.        Doctor, there isn't a limit to the number
  2      of drugs that could be present on a toxicology
  3      screen, correct?
  4            A.        That's correct.
  5            Q.        In cases where multiple drugs are present
  6      in a toxicology screen, it may be difficult to
  7      determine which drug caused the death.                   Correct?
  8            A.        Exactly.   That's why what they do is:              They
  9      just list drugs that contrib -- they believe
10       contributed to the death.               If they didn't believe
11       the drug contributed to the death, then they
12       wouldn't list it.
13             Q.        And more information beyond the toxicology
14       screen results would be required to determine which
15       drug actually caused the death.                   Correct?
16             A.        For the drug -- and generally, as I
17       understand it, for the drug to have contributed to
18       the death, it would be based on the levels of the
19       drug, that they were of a significant level.
20                           So if they found just an absolute
21       trace of morphine, for example, or a -- or a trace
22       of OxyContin and no other -- no other symptom, then
23       they would not consider that -- might not consider
24       that drug to have contributed to the death.


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  1            Q.        So it's the general practice -- it is your
  2      understanding that it is the practice of the West
  3      Virginia Office of the Chief Medical Examiner to
  4      list each drug detected in a toxicology screen at
  5      more than a minimal level.              Correct?
  6            A.        At more than a level that they considered
  7      to have contributed to the death.                   And it's
  8      entirely up to the opinion of the medical examiner,
  9      and then when they have these team meetings to
10       decide on difficult cases, which one -- which drugs
11       they feel would have contributed.
12             Q.        And have you inquired into the standards
13       that the medical examiner uses in order to
14       determine when a drug detected in a toxicology
15       screen is present in a substantial enough amount to
16       have contributed -- to be listed as contributing to
17       an overdose?
18             A.        I'm not sure.    The -- basically it's up --
19       many of these things, it's a matter of the judgment
20       based on the experience of a trained board
21       certified pathologist who's gone through a standard
22       training program, and I am not aware of every
23       single criteria that they use.
24                           And it may even vary between trained


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  1      -- training programs as to how they consider it.
  2      But I certainly know that if a insignificant amount
  3      of a drug were found, it would not be listed on the
  4      death signi -- death certificate.
  5            Q.        Doctor, based on your understanding of the
  6      practices of the Office of the Chief Medical
  7      Examiner in West Virginia, the fact that a drug is
  8      listed on an autopsy report does not mean that the
  9      medical examiner determined the drug caused the
10       overdose death.           Correct?
11             A.        Yes.    And I think I would make a
12       distinction between the autopsy report, which is an
13       individual report which might list all of the drugs
14       that were found, as against the drugs that make it
15       on to the death certificate on what they call "Part
16       a" of the death certificate where they list the
17       significant factors that contributed to the death.
18                              So there may be a difference between
19       the medical examiner report -- they could list --
20       they may -- in the report, there may be the
21       toxicology report that lists all the drugs they
22       found, but then it is up to his certified -- his
23       opinion as a professional to decide which of the
24       drugs contributed to the death, and those are the


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  1      ones that are put on the death certificate, and
  2      they are the ones that make it into the Vital
  3      Statistics data that we've been using for this
  4      report.
  5            Q.        Okay.   Let me reframe that with that
  6      clarification.          So the fact that a drug is listed
  7      on "Part a" of a death certificate does not mean
  8      that the Office of the Chief Medical Examiner in
  9      West Virginia has found that the drug caused the
10       overdose death.
11             A.        They believe it contributed, and I -- it's
12       very difficult to say what cause -- which inde --
13       in polydrugs, the whole point of the polydrugs,
14       there's never one drug that contributed.
15                           For example, opioids depress the
16       respiration and people stop breathing.               So if you
17       have three opioids, none of them alone may have a
18       concentration enough to normally kill someone; but
19       if you add the respiratory depressant to one drug
20       to the respiratory depressant of the other opioid
21       to the other opioid, then you can get enough
22       respiratory depression to kill you.
23             Q.        Doctor, you followed the practices of the
24       Office of the Chief Medical Examiner and -- in the


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  1      way that you compiled the data in your report for
  2      polypharmacy overdose deaths, correct?
  3             A.       Yeah, we're relying on the data that we --
  4      that we get people to extract from their records,
  5      yes.
  6             Q.       So if multiple drugs were present on the
  7      toxicology screen of a decedent in West Virginia
  8      during the time frame covered in your report, that
  9      would count against the total for each of the drugs
10       detected in the toxicology screen for that overdose
11       event.      Correct?
12              A.       That's correct.     The data -- and the data
13       that's in the -- in that Exhibit A, they're not
14       mutually exclusive, but because they can't --
15       excuse me.
16              Q.       Bless you.
17              A.       -- that they -- it's almost impossible to
18       determine which single drug caused it, but what's
19       listed here are all of the drugs that they believe
20       contributed.
21                           And so they add up to more than the
22       total number of overdose deaths.
23              Q.       Doctor, according to Exhibit A of your
24       report, which is Exhibit 3 -- I'm going to pause


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  1      for a second, sir.
  2            A.        That's okay.
  3            Q.        Okay.   So do you have Exhibit 3 in front of
  4      you, Doctor?
  5            A.        Exhibit 3.     Yes.    Exhibit 3.
  6            Q.        So if we look at -- yes.             Your -- the copy
  7      of your report.
  8            A.        My report, yes, I do, of course, I do, yes.
  9            Q.        And if we look at Exhibit A of your
10       report --
11             A.        Yep.
12             Q.        -- I just want to make this more concrete
13       by going through an example.                If we look at the
14       first year reported of 2001, there's a total of 16
15       fatal overdoses reported, correct?
16             A.        Yes, that's correct.
17             Q.        And then if we go through the exercise of
18       adding horizontally across the drugs attributed to
19       each type of drug in the chart, we tally 32 deaths.
20       Is that right?
21             A.        I guess so, yes.       That would -- that would
22       make sense.
23             Q.        And that's because - just to illustrate
24       your point - that the counting -- the counting of


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  1      the drugs in a tox screen results in counting an
  2      overdose death into multiple categories.                  Correct?
  3            A.        That's correct, yes.
  4            Q.        Doctor, we were talking about fentanyl a
  5      short while ago.         Do you recall that?
  6            A.        Yes.
  7            Q.        Doctor, you are aware that fentanyl is
  8      often mixed with other drugs, correct?
  9            A.        That's correct.
10             Q.        Doctor, you -- would you agree that
11       fentanyl can cause a fatal overdose at lower
12       concentrations than other opioids?
13             A.        Yes, it can.
14             Q.        Doctor, you are also aware that the
15       concentration of fentanyl can vary widely across
16       different parts of the body in postmortem
17       examinations, correct?
18             A.        Yes.
19             Q.        Most fatal overdoses related to fentanyl
20       involved more than one drug.                 Correct?
21             A.        That -- that's what we are finding, yes.
22             Q.        And in addition to fentanyl, you are
23       familiar with a number of fentanyl analogs,
24       correct?


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  1            A.        That's correct.
  2            Q.        Fentanyl analogs are examples of illicit
  3      fentanyl, correct?
  4            A.        Yes.
  5            Q.        Fentanyl analogs require specific chemical
  6      tests in order to identify them in a toxicology
  7      screen, correct?
  8            A.        Correct.
  9            Q.        If the examiner doesn't conduct one -- if
10       the medical examiner doesn't conduct one of these
11       tests, he could not identify fentanyl analogs,
12       correct?
13                              MR. BURNETT:      Objection.
14             A.        That -- if they didn't include the test for
15       it, they wouldn't pick it up, yes.
16             Q.        Doctor, do you know when the Office of the
17       Chief Medical Examiner in West Virginia first
18       implemented tests to identify fentanyl analogs?
19             A.        I would have to go back and check my
20       records.         I am aware we -- that was something I
21       remember we inquired about as to when it -- when
22       they first started testing.                  And it's also a
23       sequential thing, because they ask for individual
24       tests here.


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  1            Q.        You didn't take account of when those
  2      testing capacities became available to the Chief
  3      Medical Examiner's Office in West Virginia in
  4      connection with your report for this case, correct?
  5                             MR. BURNETT:      Objection.
  6            A.        Not for this Exhibit A, we didn't, no.
  7            Q.        Okay.     Do you know if those testing
  8      capabilities became available prior to 2001?
  9            A.        I do not know.        As I say, I don't know the
10       date, and I -- I've got it recorded somewhere in my
11       office, but I don't know when.
12             Q.        So Doctor, do you still have your report in
13       front of you?
14             A.        Yes, I do.
15             Q.        So let's turn to page 8 of your report.
16             A.        Yep.
17             Q.        Doctor, in the first full paragraph on page
18       8, it starts, "Among the individual drugs listed in
19       Exhibit A, heroin has no legal use," it "is not
20       prescribed, and is always illicit.                     The other
21       drugs, including fentanyl, are sometimes prescribed
22       but sometimes misused or used illicitly."
23                              Do you see that?
24             A.        Is it page 8?


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  1            Q.        Yes.
  2            A.        Could you start off with the sentence again
  3      just to -- I was --
  4            Q.        Yes, certainly.        I'm looking on your report
  5      on page 8, the first full paragraph on the page.
  6            A.        Yep.
  7            Q.        And reads, "Among the individual drugs
  8      listed" --
  9            A.        Yep, I know exactly where you are now.
10       Yeah.
11             Q.        -- "heroin has no legal use, is not
12       prescribed and is always illicit.                      The other drugs,
13       including fentanyl, are sometimes prescribed but
14       sometimes misused or used illicitly."
15                              Do you see that, Doctor?
16             A.        Yes.
17             Q.        So all of the drugs are sometimes
18       prescribed but sometimes misused or used illicitly.
19       Is that right?
20             A.        Yes, I guess, yes.
21             Q.        So now if we toggle back to Exhibit A which
22       is referenced there --
23                              I'll wait till we're together.
24                              Are you at Exhibit A, Doctor?


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  1            A.        Yes.
  2            Q.        So if we look at the second table on this
  3      -- I guess it's the lower half of the page on page
  4      1 of Exhibit A, do you see the column for cocaine
  5      overdose deaths?
  6            A.        Yes.     Yes, cocaine, yes.
  7            Q.        Doctor, do you have any reason to believe
  8      that a single one of the individuals who died of a
  9      fatal overdose with cocaine in their system had a
10       prescription for cocaine at the time they died?
11                              MR. BURNETT:        Objection.
12             A.        I -- that was not subject to my
13       investigation.
14             Q.        Did you make any inquiry into the cocaine
15       data which is listed in Exhibit A of your report?
16             A.        With regard to what?
17             Q.        With regard to the prescription drug
18       histories for the individuals --
19             A.        No, we did not --
20             Q.        -- who overdosed --
21             A.        -- examine prescription drug histories.
22             Q.        Now, if we go over two columns and -- we
23       see meth -- a column for methamphetamine.                  And I'm
24       still looking at the same chart in Exhibit A.                    Do


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  1      you see that, Doctor?
  2            A.        Yes.
  3            Q.        Doctor, methamphetamine is a Schedule II
  4      controlled substance, correct?
  5            A.        Correct.
  6            Q.        Illicit methamphetamine is considered one
  7      of the most dangerous drug threats in the
  8      Appalachian drug -- Appalachian region today.
  9      Correct?
10             A.        That's correct.
11             Q.        Do you have any reason to believe that the
12       overdose fatalities associated with methamphetamine
13       in Exhibit A refer to prescribed methamphetamine?
14             A.        I don't have any evidence of that.
15             Q.        And you haven't investigated the origin of
16       the methamphetamine associated with the overdoses
17       listed on Exhibit A, correct?
18             A.        I would reiterate, the way this data is
19       collected, it's based on the chemical nature of the
20       molecule of the drug and whether they were
21       considered to be a prescribable drug, is probably
22       the best way to think about it, and whether they
23       were Schedule II or below.
24                              And Schedule I drugs were generally


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  1      considered, for the vast bulk of this report, as
  2      being those that were illicit.
  3                             MR. BURNETT:      Counsel, I don't mean to
  4      interrupt.         When you have a good moment, I'd like
  5      to take a quick break.
  6                             MS. WU:   Certainly.            Let me just --
  7      I'm almost done with this.                 I'm happy to take a
  8      break.
  9      BY MS. WU:
10             Q.        Doctor, you didn't undertake any
11       investigation into the origin of the
12       methamphetamine, whether it be illicit or
13       prescription methamphetamine associated with the
14       overdose incidence reported in your Exhibit A,
15       correct?
16             A.        That was beyond the scope of my
17       investigation.
18             Q.        Doctor, just finally - and then we'll take
19       a break - I'd like to call your attention to the
20       last column, U-47700.             Do you see that?
21             A.        Yes.
22             Q.        U-47700 is commonly referred to as pink
23       heroin, correct?
24             A.        I think so.      I'm not sure of the popular


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  1      name for it.            I'd have to look it up.
  2            Q.        Are you aware that U-47700 is a Schedule I
  3      drug?
  4            A.        I'm fairly sure it is.             Or was --
  5            Q.        And that means --
  6            A.        Yep.
  7            Q.        I'm sorry, Doctor.           I didn't mean to
  8      interrupt.
  9            A.        I presume so.       Many of these synthetic
10       drugs get scheduled as they get discovered.
11             Q.        Okay.     And a Schedule I drug has no
12       FDA-approved medical purpose, correct?
13             A.        Correct.
14             Q.        Contrary to what we looked at in your
15       report, heroin is not the only drug in this table
16       that has no legal use and is always illicit,
17       correct?
18                              MR. BURNETT:      Objection.
19             A.        Yeah.     The trouble is, it becomes legal
20       when they discover it and when the DEA make it
21       illegal, and it's a bit of a moving -- it's a bit
22       of a moving target with drugs.
23             Q.        You recognize that heroin is not the only
24       illicit drug listed in your Exhibit A, correct?


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  1            A.        I guess so, yes.
  2                             MS. WU:   Counsel, I'm happy to take a
  3      break now.         How long do you want to take?
  4                             MR. BURNETT:      Yeah, let's take ten
  5      minutes.
  6                             MS. WU:   Sure.
  7                             MR. BURNETT:      Okay.
  8                             VIDEO OPERATOR:        Going off the record.
  9      The time is 2:26 p.m.
10                              (A recess was taken after which the
11                              proceedings continued as follows:)
12                              VIDEO OPERATOR:        Now begins Media Unit
13       6 in the deposition of Gordon Smith.                   We're back on
14       the record.            The time is 2:50 p.m.
15       BY MS. WU:
16             Q.        Doctor, we just took a break, a snack
17       break, and now we're back on.                   Do you understand
18       that you're still under oath?
19             A.        Yes.
20             Q.        Thank you, Doctor.           Before the break, we
21       spent some time talking about fentanyl, and I'd
22       like to just close out that subject matter before
23       moving on to new terrain.
24                              When you prepared your report, as you


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  1      said earlier, you did not consider the prescription
  2      drug histories for the individuals that fatally
  3      overdosed.         Correct?
  4             A.       Not for the cases for the whole state, only
  5      looking at a couple of studies that had done that,
  6      yes.
  7             Q.       So your report does not reflect work done
  8      in order to consider the prescription drug
  9      histories of the individuals who were involved in
10       fatal overdose incidents, correct?
11              A.       Correct.
12              Q.       And if you had wanted to look at
13       prescription drug histories, one way you could have
14       done that was to look at the CSMP data available in
15       West Virginia.         Correct?
16              A.       I could do -- I could have looked at that.
17       It's difficult to get ahold of.
18              Q.       But in fact, you didn't look at the CSMP
19       data, correct?
20              A.       Correct.
21              Q.       You also didn't undertake an exercise to
22       look at the death certificates for the overdose
23       fatalities reflected in the data in your report.
24       Correct?


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  1            A.        And consistent with all of the studies that
  2      are done using death certificate data, I did not
  3      myself, and many, many studies that rely -- there's
  4      intensive checking on the Vital Statistics, so I
  5      did not feel it necessary.
  6            Q.        For the overdose fatalities for which you
  7      identify prescription opioids, did you consider
  8      whether the prescription opioids detected in the
  9      toxicology report were used consistent with the
10       physician's prescribing instructions?
11             A.        We did not examine that as part of my
12       report.
13             Q.        Now, Counsel and Doctor, we're going to
14       show a document which we're going to identify as
15       Deposition Exhibit 16, and my colleague, Sam Howe,
16       is going to help me put it up on the screen.                 So
17       please bear with us.
18                       SMITH DEPOSITION EXHIBIT NO. 17
19                           (Copy of Amended WV Death Certificate
20                           dated 1-22-09 (CCCLERK_0009216) was
21                           marked for identification purposes as
22                           Smith Deposition Exhibit No. 17.)
23                           MS. WU:   And for the record, this is a
24       death certificate which is identified with the


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  1      Bates stamp CCCLERK_0009216.
  2                             MR. BURNETT:      Wait, sorry.      Is this --
  3      do we have a paper copy of this?
  4                             MS. WU:   No, you don't.
  5                             MR. BURNETT:      Oh, you said this is 16.
  6      And the two paper copies you sent me were -- I
  7      thought they were 15 and 16.
  8                             MS. WU:   Well, then to avoid confusion
  9      - thank you, Counsel - let's call this Deposition
10       Exhibit 17.            I apologize.      My virtual exhibit
11       tracking is lacking today.
12                              So again, for the -- just for clarity
13       in the record, we are now marking as Smith
14       Deposition Exhibit No. 17 a death certificate which
15       we have pulled up and it's identified with a Bates
16       stamp CCCLERK_0009216.
17       BY MS. WU:
18             Q.        Doctor, can you see that on the screen in
19       front of you?
20             A.        Yeah, it was a little easier to read
21       before.         You had a bigger -- that's better.
22             Q.        Here we go.      Okay.       Great.    Can you read it
23       okay now?
24             A.        Yes.


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  1             Q.       We are now looking at Deposition Exhibit
  2      No. 17, which is a copy of a death certificate.                          Do
  3      you see that?
  4             A.       Yes.
  5             Q.       And the location for the overdose is
  6      Huntington, West Virginia.                 Do you see that?
  7             A.       Yes.
  8             Q.       And the amended date of the death
  9      certificate stamped at the top is January 22, 2009.
10       Do you see that?
11              A.       Yes, I do.
12              Q.       So this is a fatal overdose incident which
13       would be reflected in the data reported in your
14       expert report for this case.                  Correct?
15                              MR. BURNETT:      Objection.
16              A.       Could you repeat that again?                I didn't get
17       --
18              Q.       Doctor, we're now looking at a death
19       certificate from 2009.              Do you see that?
20              A.       That's correct.        Yes, I am looking at it.
21       Yes.
22              Q.       Fatal overdoses from 2009 are reflected in
23       the overdose data reported in Exhibit 3, which is
24       your expert report in this case.                       Correct?


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  1            A.        Correct.
  2            Q.        Now, if we could scroll down -- and I want
  3      to give the witness a chance to review the
  4      document, so let's do this slowly.                    It's just a
  5      one-page document, so we don't have to rush.
  6                          If we could scroll down a little bit
  7      further, there is a section -- it's Section 27,
  8      Part 1.         It says, "IMMEDIATE CAUSE (Final disease
  9      or condition resulting in death)."
10                           Do you see that, Doctor?
11             A.        Yes, I do.
12             Q.        And it says, "Combined fentanyl and
13       diazepam intoxication."              Do you see that?
14             A.        Correct, yes.
15             Q.        Now, I'd like to go down a little bit
16       further in the document.              And I'm now looking at
17       Box 29.         It says, "MANNER OF DEATH."             It says,
18       "Accident."         Do you see that?
19             A.        Yes, I -- yes, yes, the check box, yes.
20             Q.        And so an accidental death, again, would be
21       included in the overdose -- the fatal overdose
22       reports that are set forth in your report in this
23       case, correct?
24             A.        That's correct.


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  1            Q.        Now, if we follow that row across to Box 30
  2      -- 30D, it says, "DESCRIBE HOW INJURY OCCURRED."
  3      Do you see that, Doctor?
  4            A.        Yes, I do.
  5            Q.        And that box reads, "Ingested prescribed
  6      transdermal fentanyl patch."                 Do you see that?
  7            A.        Correct.
  8            Q.        Doctor, ingesting a fentanyl patch is
  9      inconsistent with the medical use of that product.
10       Correct?
11             A.        It's not the normal way to use, yes, that's
12       correct.
13             Q.        Are you aware of any situation in which a
14       fentanyl patch has been prescribed for ingestion?
15             A.        Not that I'm aware of.
16             Q.        Are you aware of an FDA approval for a
17       fentanyl patch for ingestion?
18             A.        I don't think it's an approved mode of use.
19             Q.        Are you -- can you identify any conduct of
20       distributor defendants in this case that could have
21       prevented the death reflected in Exhibit 17, which
22       is -- was caused by an ingested fentanyl patch?
23                           MR. BURNETT:        Objection, calls for
24       speculation.


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  1            A.        Yes, I don't know.        I can't see any --
  2      there's no name of anybody, distributor, on the
  3      death certificate.
  4            Q.        Is there anything any distributor could
  5      have done to stop an individual from eating a
  6      prescribed fentanyl patch?
  7                          MR. BURNETT:      Objection.    Calls for
  8      speculation.
  9            A.        I don't know.     I think it's purely
10       speculation.         There may be some theoretical thing
11       they could have done, but I don't know.
12             Q.        As a prescribing physician, Doctor, would
13       you foresee that an individual prescribed a
14       fentanyl patch would eat it?
15             A.        The only -- it would depend if I knew the
16       person was an addict, there could be some under --
17       there could -- we might get concerned about that.
18                           But there's nothing reflected on the
19       death certificate to indicate that.
20             Q.        That type of patient evaluation is specific
21       to the province of the prescribing physician,
22       correct?
23             A.        Generally, yes.
24             Q.        Because the prescribing physician is


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  1      uniquely able to weigh the risks and benefits of a
  2      prescription medication, correct?
  3                          MR. BURNETT:      Objection.
  4            A.        Maybe that's standard practice, but it
  5      wasn't part of what I was called upon to examine.
  6            Q.        In your -- in your view as a prescribing
  7      physician yourself, do you agree that the
  8      prescribing physician is best positioned to
  9      evaluate the risks and benefits of a prescription
10       medication?
11             A.        That's standard medical practice.
12             Q.        So you agree that the physician is in the
13       best position to weigh the risks and benefits of a
14       prescription medication.            Correct?
15                           MR. BURNETT:      Objection, asked and
16       answered.
17                           THE DEPONENT:       What's asked and --
18                           MR. BURNETT:      You can answer.
19                           THE DEPONENT:       Can answer this?
20             A.        I would say probably so, yes.
21             Q.        And addiction may be a risk of certain
22       prescription medications, correct?
23             A.        It can be.   It is.
24             Q.        Distributors such as McKesson are not able


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  1      to evaluate a patient's risk of addiction, correct?
  2                          MR. BURNETT:      Objection.
  3            A.        They -- they don't have any -- they don't
  4      provide medications to individual patients; they
  5      provide them to the pharmacy.
  6            Q.        So they don't have the -- distributors do
  7      not have the opportunity to assess the addiction
  8      profile of a patient receiving prescription
  9      opioids, correct?
10                           MR. BURNETT:      Objection.
11             A.        It's individual patients, but they -- no,
12       they don't.
13             Q.        Thank you, Doctor.
14                           MS. WU:   And Sam, thank you.        We can
15       take down the Exhibit 17.
16             Q.        Okay, Doctor, I'm now going to leave
17       fentanyl and move on to another subject.                Doctor,
18       state and local officials in West Virginia have
19       worked for years to decrease the abuse of opioids,
20       correct?
21             A.        That's what I understand.
22             Q.        Do you think that those efforts of the
23       state and local communities have been effective?
24                           MR. BURNETT:      Objection.


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  1            A.        I think it's such a difficult problem.                 In
  2      some hand, yes; in some ways, no.
  3            Q.        In what ways do you believe that West
  4      Virginia has been successful in decreasing the
  5      abuse of opioids?
  6                          MR. BURNETT:      Objection.
  7            A.        It was not a subject of my investigation.
  8      I don't know -- my report.
  9            Q.        A few moments ago, Doctor, you said that
10       you believe in some ways, West Virginia has been
11       successful in decreasing abuse of opioids.
12       Correct?
13             A.        I'm looking -- based on the report and my
14       data, I would see that in recent years, this -- in
15       the most recent year, there's been a decrease in
16       fatalities.         So to that extent, I can testify on
17       that, that there seems to have been.
18             Q.        To what do you attribute the decrease in
19       overdose fatalities that you've identify in the
20       data?
21                           MR. BURNETT:      Objection, calls for
22       speculation.
23             A.        Yes, there's no data to -- in my report
24       that has any indication of that.                    But based on


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  1      reports in the literature, the general feeling is
  2      that provision of better treatment services and
  3      naloxone and Emergency Medical Services has been
  4      responsible for declining in its fatality.                 But
  5      that's not based on --
  6            Q.        Doctor, is -- Doctor, the data which you
  7      cite in your report reflects that abuse of
  8      prescription opioids has declined significantly.
  9      Correct?
10                              MR. BURNETT:      Objection.
11             A.        I didn't do a significance test on it,
12       statistical significance.                But if you look at my
13       figure, there certainly has been a decline in the
14       last year.
15             Q.        And the same is true for the abuse of
16       heroin and fentanyl, correct?
17             A.        They all declined together, as represented
18       in the fatalities.
19             Q.        If we look at Exhibit A to your report,
20       which is Deposition Exhibit 3, if we look at the
21       top chart and look at 2017, we see that there were
22       184 total opioid-related overdose deaths as
23       reported in Exhibit A.              Do you see that?
24             A.        Yes.


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  1            Q.        And then if we go down just one line to
  2      Figure 2018, we see that there were 134
  3      opioid-related overdose deaths as recorded in your
  4      Exhibit A.         Do you see that?
  5            A.        Yes.     And in my report, I do note that the
  6      data for 2018 were not necessarily completely
  7      closed.         Sometimes it takes time for the deaths to
  8      be closed.
  9            Q.        Doctor, for the data as reported in your
10       Exhibit A, it reflects approximately a 27 percent
11       decrease in opioid-related overdose deaths for the
12       period 2017 to 2018.             Correct?
13             A.        That's correct.
14                              MR. BURNETT:      Objection.
15             Q.        Doctor, the West Virginia Department of
16       Health and Human Resources has not yet released its
17       2019 overdose statistics, correct?
18             A.        To the best of my knowledge.           I haven't
19       checked re -- checked recently.
20             Q.        Are you aware that media reports suggest
21       that the total number of fatal overdoses in Cabell
22       County declined again in 2019?
23             A.        I'm not sure.       I haven't read the report --
24       any reports.


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  1            Q.        And you did not include any data from 2019,
  2      including preliminary data, in your report.
  3      Correct?
  4            A.        That's correct, for exactly the reason you
  5      stated, that the data has not been finalized and
  6      it's not been made available.
  7            Q.        And the data would be maintained by the
  8      West Virginia Department of Health and Human
  9      Resources, correct?
10             A.        That's correct.
11             Q.        Now, do you have your report in front of
12       you still, Doctor?
13             A.        Yes, I do.
14             Q.        Could we go to page 6 of your report?            And
15       page 6 of your report states that -- states, "I
16       have accessed" -- I'm sorry.                 You note that you
17       worked closely with the State Department of Health
18       and Human Resources.            Do you see that?
19             A.        Yes.
20             Q.        And then you go on to say, "I have access
21       to detailed state Vital Statistics overdose
22       fatality data for West Virginia from 2001 onwards."
23                              Do you see that?
24             A.        That's correct.


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  1            Q.        A few sentences later, you continue:              "This
  2      database is maintained by the Health Statistics
  3      Center" "and is continually updated."                  Correct?
  4            A.        Yes.
  5            Q.        You were referring to data that is not
  6      publicly available, correct?
  7            A.        Correct, yes.
  8            Q.        "Continually updated" as used in your
  9      report, implies that the data available in the
10       system is more current than the data that has been
11       periodically released to the public.                  Correct?
12             A.        My guess is that the date they release the
13       data to the public, the data that they have on hand
14       was current.           That's the way I understand it.            And
15       then after they release it, there may be other
16       deaths that are cleared by the medical examiner and
17       they -- then they update the numbers.
18             Q.        To the best of your knowledge, Doctor, does
19       the state currently have data available for 2019
20       which has not been released to the public?
21             A.        They may have it internally, but they also
22       don't release it to investigators like myself until
23       they feel confident that -- that they have reached
24       -- it's a reasonable -- and they may issue a


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  1      preliminary, like as the data that I noticed up to
  2      2018 was not necessarily the final number, but
  3      there are often cases that dribble into their
  4      system, and with the very high overdose rates, the
  5      system has been a bit overwhelmed.
  6            Q.        What efforts, if any, did you undertake in
  7      order to obtain fatal overdose data from 2019?
  8                          MR. BURNETT:        Objection.
  9            A.        At the time of my report, I was advised
10       that it would -- this was the most recent data
11       available.
12             Q.        Who advised you of that?
13             A.        A colleague of mine who work -- in the
14       Vital -- in a series of e-mails from the Vital
15       Statistics department.
16             Q.        Cabell County is one of the plaintiffs in
17       this lawsuit, correct?
18             A.        Correct.
19             Q.        Did you make any inquiry as to your clients
20       in this case as to whether or not it could provide
21       you with fatal overdose data for the year 2019?
22             A.        I did not, because it's not my -- it's not
23       my -- my understanding is that the data is all kept
24       centrally and -- with respect to the fatalities and


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  1      they're unlikely to have it.
  2            Q.        You are not aware of any overdose
  3      information maintained by Cabell County, correct?
  4                          MR. BURNETT:        Objection.
  5            A.        Often the local jurisdictions do keep track
  6      themselves of the ones they know of.
  7            Q.        What inquiry, if any, did you make to
  8      Cabell County in order to obtain overdose data for
  9      2019?
10                           MR. BURNETT:        Objection, asked and
11       answered.
12             A.        I did not do that.
13             Q.        Now, earlier, Doctor, you stated that you
14       are directing the West Virginia SUPPORT Needs
15       Assessment.         Do you recall that?
16             A.        Correct.
17             Q.        You wrote in your report that the SUPPORT
18       project is funded by the Federal Centers for
19       Medicare and Medicaid Services.                   Correct?
20             A.        Correct.
21             Q.        Do you anticipate that any services will be
22       provided to Cabell County in connection with the
23       SUPPORT project?
24             A.        The SUPPORT project itself may not, but it


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  1      will be used to plan central allocation of services
  2      by the State Department of Health and Human
  3      Services.
  4            Q.        What type of services will the state
  5      provide as an outgrowth of the SUPPORT project?
  6            A.        The state funds programs for prevention.
  7      The exact detail, I'm not 100 percent sure of.                  But
  8      they provide funding for people to get treatment.
  9                          They provide grants to programs such
10       as the QRT program that go out and investigate
11       overdose deaths -- or over -- nonfatal overdoses,
12       and then enroll and get people into treatment.
13                           They fund prevention activities in the
14       schools.
15                           They fund a cross-section of
16       activities to provide services for the treatment of
17       opioid addiction.
18             Q.        Do you know what -- over what period of
19       time those services would be available to
20       communities in West Virginia?
21             A.        They're constantly -- the state gets
22       prevention grants on an annual basis to the state,
23       so the services are always available, but they're
24       constrained by the amount of money that's


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  1      available.
  2            Q.        Doctor, your report includes data
  3      identifying the number of fatal overdoses
  4      associated with a variety of drugs in Cabell County
  5      between 2001 and 2018.             Correct?
  6            A.        Correct.
  7            Q.        You did not review the underlying death
  8      certificates for those fatal overdoses, correct?
  9                          MR. BURNETT:        Objection, asked and
10       answered.
11             A.        I think I answered that earlier by stating
12       that the vast bulk of people doing analyses and
13       death certificate data rely on the quality that we
14       know that they -- that is done by Vital Statistics,
15       and that's standard procedure.
16                           MS. WU:     Counsel, my earlier question
17       was for the general West Virginia data which was
18       studied in the report.             I want to make sure it's
19       the same for Cabell County.
20             Q.        So Doctor, did you review death
21       certificates associated with the data reported --
22       that you have reported for fatal overdoses in
23       Cabell County?
24                           MR. BURNETT:        I believe he just


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  1      answered that.
  2            A.        My answer is the same, that we would just
  3      rely - as would everybody, all the other
  4      researchers and program, public policy people -
  5      rely on the data provided by the Vital Statistics
  6      office.
  7            Q.        So the answer is no, you did not review
  8      death certificates, correct?
  9                          MR. BURNETT:      Objection.
10             A.        I did not.
11             Q.        And for the fatal overdoses in Cabell
12       County, you also did not review records in order to
13       identify which decedents had valid prescriptions
14       for opioids.         Correct?
15                           MR. BURNETT:      Objection.
16             A.        As I answered earlier, yes, I did not.
17             Q.        And Doctor, selling or giving away
18       prescription drugs - other than by a prescriber
19       with a prescription - is one form of diversion,
20       correct?
21                           MR. BURNETT:      Objection.
22             A.        As I understand, I'm -- it depends on
23       whether it's illegal, and I explained earlier that
24       I was not sure whether it was legal or not.


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  1            Q.        Do you know if stealing drugs is a form of
  2      criminal diversion?
  3            A.        I would assume it's a criminal offense.
  4            Q.        Are you aware that local and federal law
  5      enforcement officials who have testified in this
  6      case have provided testimony that all types of
  7      diversion are crimes?
  8                             MR. BURNETT:      Objection.
  9            A.        I'm not aware of that.
10             Q.        And your report did not take into account
11       criminal activity by the decedent, correct?
12             A.        My report was based on the finding of drugs
13       that were considered to be prescription in Schedule
14       II and below, and the illicit drugs that I
15       considered for my report were both to be considered
16       to be in Schedule I of the DEA.
17             Q.        Okay.     So now I'd like to ask you:       Do you
18       have your report in front of you still, Doctor?
19             A.        Yes.
20             Q.        I'd like to ask you to turn to Exhibit C?
21                              MR. BURNETT:      Exhibit C?
22                              MS. WU:   Yes.
23             Q.        Do you see that, Doctor?
24             A.        Yes.


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  1            Q.        Exhibit C is a document which you
  2      incorporate into your report, the "West Virginia
  3      Drug Overdose Death Historical Overview for 2001"
  4      to "2015."         Do you see that?
  5            A.        Yes, I do.
  6            Q.        Now, Doctor, I'd like to ask you to turn to
  7      page 19 of Exhibit C.            Do you see that, Doctor?
  8            A.        Yes, I do.
  9            Q.        Now, I'd like to ask you to look at Figure
10       31 in the middle of the page.
11             A.        I can see that, yes.
12             Q.        Do you see that?
13             A.        Yes.
14             Q.        And in the narrative accompanying Figure
15       31, it says, "Figure 31 shows that 192 amphetamine-
16       related deaths were detected from 2001 through
17       2015, with 74% of the overdose deaths occurring in
18       the last three years, 2013" to "2015."
19                              Do you see that?
20             A.        Yes, I do.
21             Q.        And in your report, you stated that meth --
22       that amphetamine was not recorded during that
23       period.         Is that correct?
24             A.        I would have to go back and just check 100


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  1      percent.
  2                             MR. BURNETT:      Take the time you need
  3      to find it.
  4            A.        Yea.     2017.
  5            Q.        I'm happy to expedite this if you'd like to
  6      look at your report, Doctor --
  7            A.        I have on record that they stopped
  8      reporting in 2012, and I would need to go back and
  9      discover why they stopped reporting on that then.
10             Q.        So if I can direct your attention --
11             A.        Some special study they did, but it -- it
12       wasn't in the data that was given to me.
13             Q.        So I'd like to call your attention, Doctor,
14       to Exhibit A to your report, which is Deposition
15       Exhibit No. 3.            Do you have that, Doctor?
16             A.        Exhibit A.
17             Q.        To your report, which is Deposition Exhibit
18       3.
19             A.        Yes, I do.        Yes.
20             Q.        If we look at the second page, Note 1 to
21       Exhibit A reads, "amphetamine was stopped reporting
22       in the year 2012."               Correct?
23             A.        Yes, that's correct.
24             Q.        Based on our review of Exhibit C to your


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  1      report - which is incorporated into your report -
  2      the state was in fact tracking amphetamine during
  3      that period, correct?          2012 forward.
  4            A.        In exhibit -- which exhibit?
  5            Q.        Exhibit C to your report.
  6            A.        Oh, it does seem -- does seem so, yes.
  7      Now, that, I do not know, and I would need to
  8      investigate that further.
  9            Q.        So Doctor, Note 1 to Exhibit A to your
10       report is inaccurate, correct?
11             A.        I would not say -- may have been some
12       reason as to why it was not reported, and that
13       would require further investigation.
14             Q.        Doctor, do you agree that Exhibit C to your
15       report includes state data for methamphetamine for
16       the period that post-dates 2012?
17             A.        If you -- sorry, let me just look at that.
18       Yeah, I recorded that -- and the cases that get
19       reported here are for the whole state anyway, but I
20       don't know.         I will have to investigate that
21       further.
22             Q.        Doctor, are you aware of any other
23       inaccuracies in Exhibit A to your report?
24                           MR. BURNETT:      Objection.    Misstates


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  1      his testimony.
  2                          THE DEPONENT:       Yeah.
  3                          MR. BURNETT:      You can answer.
  4            A.        No, I'm not aware of any other problems.
  5            Q.        Are you aware of any other data that you
  6      failed to consider in assembling Exhibit A, or your
  7      report, more broadly?
  8                          MR. BURNETT:      Objection.
  9            A.        No, I was aware of the data that was
10       provided -- this is the way the data was provided
11       to me by the Vital Statistics office.
12             Q.        Doctor, are you aware based on press
13       reports or other data sources that methamphetamine
14       is considered the greatest threat in terms of drugs
15       used in the Appalachia region?
16             A.        It certainly --
17                           MR. BURNETT:      Objection.
18             A.        -- has become an increasing threat.
19             Q.        Do you take account of that information in
20       assembling your report for this case?
21                           MR. BURNETT:      Objection.
22             A.        Yes, but it's quite clear that we include
23       the methamphetamine data in our report.
24             Q.        But according to your Exhibit A, it


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  1      misstates that methamphetamine data is not
  2      available for the period following 2012, correct?
  3                          MR. BURNETT:      Objection, misstates the
  4      testimony.
  5            A.        I just stated that the amphetamine was
  6      stopped reporting.           That was the footnote to the
  7      table that I was provided by Vital Statistics.
  8            Q.        And what work, if any, did you do to test
  9      the data provided to you by Vital Statistics?
10                           MR. BURNETT:      Objection, asked and
11       answered.
12             A.        I think I answered that earlier.         We relied
13       on the data they provide, they are considered to be
14       reliable, widely used by people and standardly used
15       in the reports and research.
16             Q.        Did you check it against the data reported
17       in your Exhibit C, the West Virginia Drug Overdose
18       Deaths Historical Overview?
19             A.        I did not check it against that report.
20             Q.        Doctor, you're aware that --
21             A.        I was using the same source.
22             Q.        I'm sorry.    Doctor, what did you mean by
23       "the same source?"           I'm sorry, I might have missed
24       what you said.


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  1            A.        I'm sorry.   It comes from the same database
  2      in the Vital Statistics office.
  3            Q.        Doctor, I'd like to return to some of our
  4      discussion that we had earlier about drug
  5      trafficking organizations and criminal enterprises.
  6      Doctor, were you aware that local law enforcement
  7      in the City of Huntington and Cabell had identified
  8      drug trafficking organizations based in Detroit
  9      that were engaged in trafficking prescription
10       opioids in Cabell County in the mid 2000s?
11                           MR. BURNETT:      Objection, beyond the
12       scope.
13             A.        Yeah, it was not something that I examined
14       for my report.
15             Q.        Same question for detection of criminal
16       organizations trafficking prescription opioids from
17       Columbus, Ohio.         Were you aware of that, Doctor?
18             A.        No, the type -- my report was based just on
19       the drug chemicals found in dead people when they
20       died.
21                           MR. BURNETT:      And I'll lodge an
22       objection, and just a reminder, Doctor Smith,
23       again, give a pause for me to object, okay?
24                           THE DEPONENT:       Certainly.


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  1            Q.        You didn't review any law enforcement
  2      reporting from the period 2001 to 2018 regarding
  3      the trafficking of prescription opioids into Cabell
  4      County, correct?
  5                          MR. BURNETT:      Objection.
  6            A.        It was not the subject of my investigation
  7      for my report.
  8            Q.        So you didn't undertake that work, correct?
  9            A.        That's correct.
10             Q.        And you didn't attempt to determine which
11       of the fatal overdoses reflected in your report
12       resulted from diverted prescription opioids,
13       correct?
14                           MR. BURNETT:      Objection, asked and
15       answered.
16             A.        To me, the most important -- my entire
17       report is based on finding the chemical,
18       irregardless of -- basically identifying what
19       chemicals, what molecules were consumed by the
20       people that died.
21             Q.        And the origin of the drugs consumed is not
22       reported in your opinions, correct?
23                           MR. BURNETT:      Objection.
24             A.        It was not the subject of my report.


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  1            Q.        And the origin of the report is not
  2      reflected in your opinions for this case, correct?
  3                             MR. BURNETT:      Objection.
  4            A.        I don't quite understand what you're --
  5      what you're --
  6            Q.        Let me try that again.             The origin of the
  7      drugs involved in the fatal overdoses are not part
  8      of your opinions in this case, correct?
  9            A.        That's correct.
10             Q.        And therefore, it follows that any drugs
11       distributed by the defendants in this case have not
12       been analyzed as part of your opinions in this
13       case.      Correct?
14             A.        I --
15                              MR. BURNETT:      Objection.
16             A.        I would say that these drugs are all drugs
17       that are prescription, and the only way they would
18       have got in -- other than the counterfeit drugs
19       coming in with fentanyl, the only way they would
20       have got into the state is by having been brought
21       in by somebody.
22             Q.        Are you aware --
23             A.        -- and it doesn't matter how they were
24       brought in or not.


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  1            Q.        Are you aware of pharmaceutical
  2      distributors other than McKesson, AmerisourceBergen
  3      and Cardinal?
  4            A.        I am not familiar -- very familiar with who
  5      -- what drug distributors there are in West
  6      Virginia.
  7            Q.        And you have not considered whether any of
  8      the substances identified in the toxicology screens
  9      you've referenced can be traced back to McKesson,
10       Cardinal or AmerisourceBergen, correct?
11                           MR. BURNETT:      Objection, asked and
12       answered.
13             A.        Yeah, as stated, that was not the subject
14       of my report and my investigation.
15             Q.        You haven't done that work, correct?
16                           MR. BURNETT:      Objection.
17             A.        It was not the subject of my investigation.
18             Q.        And the toxicology data on which you relied
19       would not allow you to undertake that exercise,
20       correct?
21             A.        The toxicology is based entirely on the
22       molecules found and does not indicate the origin of
23       the -- of the molecules and where they came from.
24             Q.        Doctor, earlier, you referenced the Hall


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  1      study from 2008 which reviewed fatal overdoses in
  2      West Virginia.         Do you recall that?
  3            A.        Yes, I do.
  4            Q.        And you also referred to a 2017 study, the
  5      Sanders study, correct?
  6            A.        Yes, correct.
  7            Q.        Neither the Hall study nor the Sanders
  8      study broke down their findings by county, correct?
  9            A.        Not that I know of.        I would have to go
10       back and look at the -- I certainly know the Hall
11       one didn't, and I'm not sure whether there was
12       mention of county in the Sanders study.
13             Q.        The findings in the Hall and Sanders
14       studies are statewide, correct?
15                           MR. BURNETT:      Objection.
16             A.        As I understand it, the bulk of it would be
17       statewide.         There may be some mention of county
18       data, but I don't remember.
19             Q.        Doctor, are you familiar with the High
20       Intensity Drug Trafficking program, also referred
21       to as HIDTA?
22             A.        Yes, I am.
23             Q.        In preparing your report, do you consider
24       that HIDTA has determined that the rates of drug


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  1      abuse in Cabell County are higher than elsewhere in
  2      West Virginia?
  3            A.        I've read several HIDTA reports.             The
  4      earliest one that I read, they were most concerned
  5      about marijuana rather than opioids or other
  6      concerns back in the very early investigations, and
  7      then they became concerned about opioids.
  8            Q.        I think I've lost Doctor Smith.
  9            A.        I'm sorry, I just accidentally pulled out.
10       I put my foot on the cord.               I'm sorry.
11             Q.        No problem.
12             A.        Get back -- there we go.             Good.
13             Q.        Great.   I can see you.          Can you see me as
14       well, Doctor?
15             A.        Yep, I can see fine.
16             Q.        Wonderful.    Okay.      So a moment ago, we were
17       talking about HIDTA, and you referenced reviewing a
18       number of HIDTA reports.              Did you review those
19       HIDTA reports in connection with your work for this
20       case?
21             A.        I looked up -- I was given a report from
22       Hollister, and I did look at one of the reports
23       that he cited, and the one that he cited documented
24       that marijuana was the majority of the problem back


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  1      in the earlier times when they first started
  2      there --
  3            Q.        Are those reports that you've just
  4      referenced including -- included in the materials
  5      considered for your report?
  6            A.        No, I have reviewed those after my report
  7      was written.
  8            Q.        How --
  9            A.        -- not relevant to the case of my report.
10             Q.        You don't plan to rely on those HIDTA
11       reports in any way?
12             A.        They are not part of my report, and so I
13       won't be reporting on them.
14             Q.        But you did consider them in connection
15       with your report in this case, correct?
16                           MR. BURNETT:      Objection.
17             A.        The reason I looked at them is because I
18       saw the report from Hollister, and so as a good
19       scientist, I decided to check on the references,
20       and that's where I discovered that the concern that
21       was quoted initially was actually regarding
22       marijuana.
23             Q.        You reference Hollister.            Are you referring
24       to a report by Larry Holifield?


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  1            A.        Yes, Holifield, I apologize.           Holifield.
  2            Q.        Larry Holifield is an expert retained by
  3      defendants in this case.               Are you aware of that?
  4            A.        Yes.
  5            Q.        You reviewed Mr. Holifield's report, expert
  6      report, in this case?
  7            A.        Correct.
  8            Q.        Are you relying on your review of that
  9      report in connection with your opinions in this
10       case?
11                              MR. BURNETT:      Objection.
12             A.        It was not -- was not at all relative to
13       the opinions.            I did not have access to it when I
14       wrote my opinions for this report, and my opinions
15       are restricted to the report.
16             Q.        What other expert reports have you been
17       provided by counsel?
18             A.        I saw a draft of the Keyes report, and
19       that's the other one that I've read.
20             Q.        Were you provided any other materials that
21       are not cited in your materials considered list?
22                              MR. BURNETT:      Objection.
23             A.        They were -- no, they were not -- what was
24       in my materials considered was the materials that


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  1      were considered for the -- for the preparation of
  2      my report.         There's been no relation -- they bore
  3      no value in terms of the preparation of my report.
  4            Q.        And are there any other expert reports or
  5      depositions that plaintiffs' counsel provided to
  6      you in connection with this case?
  7            A.        Oh, yes, there was one double-barrelled
  8      Tierney name.            I can't remember the last -- Ra --
  9      Terry -- Tierney.
10             Q.        Catherine Rahilly-Tierney.
11             A.        Yeah, that's the one, yes.
12             Q.        Doctor Rahilly-Tierney is an epidemiologist
13       retained by the defendants in this case, correct?
14             A.        Correct.
15             Q.        And you were -- plaintiffs provided you
16       with a copy of her expert report?
17             A.        Yes.
18             Q.        Did you review that expert report?
19             A.        I read it over, yes.
20                              MS. WU:   Counsel, we request that you
21       provide a list of -- a supplemental list of
22       materials considered.
23                              MR. BURNETT:      Noting the request.
24                              MS. WU:   We'll leave the deposition


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  1      open in case we need to ask further questions
  2      related to those materials which were not provided
  3      in advance of today's deposition.
  4                          MR. BURNETT:      Well, Counsel, as the
  5      witness said, he did not rely on these materials in
  6      preparing his report, and he also said they weren't
  7      relevant to preparation of the report.
  8                          THE DEPONENT:       They were given to me
  9      as background because they referred to the data
10       that I had used in my report.                They were not at all
11       used in the preparation of my report or in my
12       opinions since then.
13             Q.        Understood, Doctor.        Doctor, will you agree
14       that the vast majority of prescription opioids --
15       prescriptions for opioids are written in good
16       faith?
17                           MR. BURNETT:      Objection.     Beyond the
18       scope.
19                           THE DEPONENT:       Exactly.
20             A.        I don't really have an opinion -- it's not
21       something that I've studied and was not contained
22       in my report.
23             Q.        Do you know who Mr. Joseph Rannazzisi is?
24             A.        No, I do not.


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  1            Q.        Doctor, in 2017, three-quarters of overdose
  2      deaths in Cabell County were related to illicit
  3      fentanyl, correct?
  4            A.        I'd have to go back and check, but that's
  5      probably -- they included fentanyl as part of the
  6      -- the spectrum of drugs found.
  7                            MR. BURNETT:      If you need to check
  8      your report, please do so.
  9            A.        So what years are you talking about?
10             Q.        I'm talking about 2017.               But perhaps we can
11       make this a little easier.                Doctor, I'd like to ask
12       you to -- you can pull up Exhibit 13, which will be
13       in a separate envelope.              And it's your publication,
14       "Fentanyl and fentanyl-analog involvement in
15       drug-related deaths."
16             A.        I found it.     13, yes.
17                       SMITH DEPOSITION EXHIBIT NO. 13
18                             ("Fentanyl and fentanyl-analog
19                             involvement in drug-related deaths" by
20                             Smith, et al. dated 3-1-19 was marked
21                             for identification purposes as Smith
22                             Deposition Exhibit No. 13.)
23             A.        13.    Yes, I have it in front of me.
24             Q.        Do you recognize this document, Exhibit 13?


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  1            A.        Yes, I do.
  2            Q.        What is it?
  3            A.        It's a article of mine, that I was involved
  4      with, published in the Alcohol and Drug Dependence,
  5      2019.
  6            Q.        Based on this publication and the work you
  7      did in connection with it, will you agree that for
  8      the 75 percent of overdose deaths that occurred in
  9      Cabell County in 2017, almost all of those deaths
10       were related to fentanyl that was illicit and
11       obtained without a prescription?
12             A.        That's beyond the scope of the article.            I
13       don't have -- this article, in particular, did not
14       look at any specific county.               It looked at the
15       state as a whole.
16             Q.        Based on your work for the state as a
17       whole, would it -- would it -- would you agree that
18       there's been a decline in the number of fatal
19       overdose incidents that involve any form of
20       prescription fentanyl?
21                           MR. BURNETT:      Objection.
22             A.        We did not examine prescription -- we never
23       examined with this whether there was prescription
24       fentanyl involved, but based on the proportion and


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  1      the CDC reports and the DEA reports, the vast bulk
  2      of the fentanyl in recent years was illicit.
  3            Q.        Doctor, I'd like to ask you to look to page
  4      6 of Exhibit 13.
  5                             MR. BURNETT:      What was that, page 6?
  6                             THE DEPONENT:       Page 6, yes.
  7                             MS. WU:   Page 6.
  8            Q.        Doctor, you co-authored the article which
  9      we're looking at as Exhibit 13, correct?
10             A.        Correct.
11             Q.        At the top of page 6, the last sentence of
12       the paragraph that carries over from page 5 reads
13       "Most notable was the recent decline in the
14       percentage of decedents who had a prescription
15       identified fentanyl."             Do you see that?
16             A.        Yes.
17             Q.        Is that accurate?
18             A.        That was part of the finding, yes.          Yes.
19             Q.        Do you have any explanation for the
20       decrease in overdoses associated with prescription
21       fentanyl which is reported in your 2019 paper?
22             A.        Yeah, I think the primary reason is the
23       vast surge of illicit fentanyl that was brought
24       into the country -- brought in which is very well


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  1      documented in DEA and CDC and other reports, and
  2      that's what's responsible for the much higher
  3      proportion of them.
  4                          For example, even if the number of
  5      people with a prescription remained the same in
  6      both overdoses, if you brought in a much larger --
  7      a huge increase of fentanyl deaths from illicit
  8      fentanyl, that's what you would expect.
  9            Q.        This shift in abuse patterns reported in
10       your 2019 paper is driven by illicit drug cartels,
11       correct?
12                           MR. BURNETT:      Objection.
13             A.        I have no evidence to say that.         The drugs
14       are certainly known to be brought in by illicit
15       drug people.
16             Q.        The availability of illicit drugs drives
17       the abuse patterns which are referenced here on
18       page 6 of your 2019 report.               Correct?
19                           MR. BURNETT:      Objection.
20             A.        What do you mean by "driving the abuse
21       patterns?"         Certainly we're finding both
22       prescription drugs and fentanyl in the cases up
23       till now.
24             Q.        So a short while ago, we referenced that


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  1      three-quarters of all overdose deaths in Cabell
  2      County for the year 2017 related to illicit
  3      fentanyl.         Do you recall that?
  4            A.        They involved illicit fentanyl, yes.            But
  5      by no means, they're the only cause.                   There's other
  6      drugs involved as well.
  7            Q.        Pharmaceutical distributors do not
  8      distribute illicit fentanyl, correct?
  9            A.        Correct.
10             Q.        Pharmaceutical distributors also do not
11       distribute heroin.            Correct?
12             A.        Correct.
13             Q.        And as you've just described in explaining
14       the abuse patterns reported in page 6 of your 2019
15       report, market factors play a role in contributing
16       to patterns of drug abuse.                Correct?
17             A.        Is that what I -- is that 6 here?            Market
18       factors?         What --
19                           MR. BURNETT:        Yeah, if you're quoting,
20       can you please point us to it?
21                           MS. WU:     I'm not.         I'm referring to
22       the doctor's earlier testimony that the
23       availability of illicit drugs contributed to the
24       patterns of abuse in West Virginia.


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  1            A.        They contributed to the deaths, certainly.
  2      The deaths are not necessarily abuse.               If illicit
  3      fentanyl came in, there could still be the
  4      underlying abuse, but then the people die at a
  5      higher rate because of the fentanyl.
  6            Q.        So Doctor, the fatal overdoses which are
  7      referenced in your report do not necessarily
  8      indicate patterns of drug abuse in Cabell County,
  9      do they?
10                           MR. BURNETT:      Objection.
11             A.        They are -- you can't have a drug-related
12       death unless there's abuse going on in the
13       community, but if you bring in a drug like
14       fentanyl, you can get more deaths for the same
15       number of people that are using.
16             Q.        And you don't know what proportion of
17       overdoses in Cabell County for the period 2001 to
18       2018 were fatal, correct?
19             A.        No, I've made no comment on that, and I
20       don't have any data to support anything on that.
21             Q.        Doctor, are you aware that heroin is not
22       produced in the United States?
23             A.        I don't have any evidence one way or the
24       other, but I had understood it that it wasn't.


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  1            Q.        Would you agree, Doctor, that illicit drug
  2      cartels are responsible for the distribution of
  3      heroin which eventually reaches Cabell County?
  4                          MR. BURNETT:        Objection, calls for
  5      speculation.
  6            A.        Yeah, it has to come in somehow.         I don't
  7      know.      I don't have direct evidence myself except
  8      for looking at arrests in the newspaper and those
  9      type of things.
10             Q.        And that's because you haven't undertaken
11       any analysis of the origin of drugs identified in
12       the toxicology screens referenced in your expert
13       report.         Correct?
14             A.        The origin of the drugs was not a focus of
15       my investigation.          My focus was to identify the
16       actual individual drugs and molecules that were
17       found in people that died.
18             Q.        And the molecules involved in people who
19       died tell you nothing about what caused that person
20       to overdose.         They just --
21                           MR. BURNETT:        Objection.
22             Q.        -- tell you the molecules that are present
23       in the body.
24             A.        What you get in the data that we're


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  1      presenting is you get drugs that were considered to
  2      have contributed to the death and the multiple
  3      drugs that were considered to have contributed to
  4      the death based on what the medical examiner found,
  5      the toxicology report that may have consider -- had
  6      other drugs.
  7                          But then based on their expert
  8      opinion, they determined which of the drugs was
  9      considered to be part of or contributing.
10             Q.        And the origin of those drugs is not part
11       of the analysis that you've conducted for this
12       case, correct?
13                           MR. BURNETT:       Objection, asked and
14       answered.
15             A.        That's correct.
16             Q.        Okay.   So Doctor, I'd like to ask you to
17       pull out another document, which is Exhibit 5,
18       which is a copy of your CV.                Do you have that in
19       front of you, Doctor?
20             A.        Yes, I do.
21                           MR. BURNETT:       Yeah, you opened that
22       earlier.
23                        SMITH DEPOSITION EXHIBIT NO. 5
24                           (Curriculum Vitae of Gordon Smith,


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  1                          M.B., CH.B. (MD Equivalent Otago
  2                          University), MPH, Appendix A to Expert
  3                          Report was marked for identification
  4                          purposes as Smith Deposition Exhibit
  5                          No. 5.)
  6                          MS. WU:   That's right, we did before a
  7      break.      Thank you, Counsel.
  8             Q.       So I'm quickly going to review some of your
  9      professional history, and we'll use the CV as
10       reference, and feel free to reference it as we walk
11       through this.
12                           MR. BURNETT:      Actually --
13              Q.       Doctor, have you --
14                           MR. BURNETT:      Sorry.        Before we get
15       into this, we've been going about an hour.                   We
16       don't have to break now, but, you know, this is one
17       place we could break --
18                           MS. WU:   That's fine.           Before we dive
19       in, why don't take ten minutes, if that's okay with
20       you.
21                           MR. BURNETT:      Sure.
22                           VIDEO OPERATOR:        Going off the record.
23       The time is 3:44 p.m.
24                           (A recess was taken after which the


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  1                          proceedings continued as follows:)
  2                          VIDEO OPERATOR:          Now begins Media Unit
  3      7 in the deposition of Gordon Smith.                  We're back on
  4      the record.         The time is 4:01 p.m.
  5      BY MS. WU:
  6            Q.        Doctor, we just took a break.           You
  7      understand that you're still under oath, correct?
  8            A.        Yes, correct.
  9            Q.        Okay.   Doctor, do you have in front of you
10       Exhibit 5, a copy of your CV?
11             A.        Yes, I do.
12             Q.        And as I said just before the break, we're
13       going to walk through some of your professional
14       background, and we can use your CV for reference as
15       we go through this exercise.                 Feel free to look at
16       it as we review your history.
17                           Doctor, you reviewed -- you received
18       an MB, ChB from the University of Otago Medical
19       School in 1975; is that correct?
20             A.        That's correct.
21             Q.        That's equivalent of an M.D. in the United
22       States, correct?
23             A.        Correct.
24             Q.        You received a master's in public health


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  1      from Harvard in 1981?
  2            A.        Yes.
  3            Q.        From 1975 to 1977, you were a medical
  4      intern in New Zealand?
  5            A.        Yes.
  6            Q.        In 1977, you worked at the Children's
  7      Hospital in Brisbane, Australia, correct?
  8            A.        Correct.
  9            Q.        From 1975 through 1978, you also served as
10       a medical officer in the Cook Islands and in Papua,
11       New Guinea, correct?
12             A.        That's correct. .
13             Q.        From 1978 to 1980, you supervised
14       epidemiological research for the World Bank in
15       Papua, New Guinea, correct?
16             A.        That's correct, yes.
17             Q.        You then attended Harvard, correct?
18             A.        Right.
19             Q.        After graduating from Harvard, you held a
20       research fellowship at Brigham Women's Hospital in
21       Boston, correct?
22             A.        Correct.
23             Q.        From 1982 until 1984, you worked as a
24       preventive medicine resident, correct?


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  1            A.        Yes.
  2            Q.        Could you briefly tell us what your
  3      responsibilities were during that period?
  4            A.        Which period of time is this?
  5            Q.        At 1982 to 1984 when you worked as a
  6      preventive medicine resident.
  7            A.        Oh, okay, yes.        So I started off -- this
  8      was working for the Centers for Disease Control,
  9      and they have a two-year field epidemiology
10       training program called the Epidemic Intelligence
11       Service, and with that, I was assigned to the State
12       Health Department in Colorado for two years where I
13       did general field epidemiology, investigations,
14       food-borne outbreaks, diarrheal diseases, and then
15       also studied some injuries and death certificate
16       data for ski injuries, which got me interested in
17       looking at the whole mortality data which later
18       became a big focus of mine -- my work after that.
19                              And so I did that for about a year and
20       three-quarters, and then I got asked to take a --
21       take a -- to come and work at the Centers for
22       Disease Control to help them develop a injury
23       section of a big report -- because at the time, the
24       Centers for Disease Control did not have a


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  1      full-time injury epidemiologist on a report for the
  2      Carter Center the CDC was doing, and I was doing
  3      general epidemiologic investigations of injuries,
  4      and we include poisonings under injuries, under the
  5      broad category of injury.
  6                          And then I -- I then was working in
  7      the injury group as one of the first -- their first
  8      full-time injury epidemiologist, and that's what I
  9      did my preventive medicine residency on.                And also
10       during that time, I spent three months in Nigeria
11       working on getting (Zoom audio glitch) disease for
12       the UNICEF on assignment.
13             Q.        Thank you, Doctor.        From 1985 through
14       present, you've been affiliated with Johns Hopkins,
15       correct?
16             A.        Not all the time.       From '85 to 2002, I was
17       -- I've had affiliations with them, and I've been
18       on advisory boards and things like that with them.
19       But I left Johns Hopkins and then went to -- if you
20       look at my employment history, to the Liberty
21       Mutual Research Institute, and then went to the
22       University of Maryland, and then was offered this
23       endowed chair here at West Virginia.
24             Q.        So you just referenced your kind of


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  1      academic posts, correct?
  2            A.        Yes.
  3            Q.        From 2006 -- '07 until 2016, you were
  4      professor of epidemiology and public health at the
  5      University of Maryland, correct?
  6            A.        Correct, yes.     That's right.
  7            Q.        And then from 2016 through present, you've
  8      been a professor at West Virginia University,
  9      correct?
10             A.        That's correct, yes.
11             Q.        And you're a professor in the School of
12       Public Health, correct?
13             A.        That's correct, yes.
14             Q.        You also serve as an adjunct professor of
15       medicine, correct?
16             A.        That's correct.     Emergency medicine.
17             Q.        Do you hold those -- both those posts
18       today?
19             A.        Yes, I do.
20             Q.        At -- Doctor, you are employed by West
21       Virginia University, correct?
22             A.        That's correct.
23             Q.        West Virginia University is a public
24       institution, correct?


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  1            A.        Yes.
  2            Q.        So you're an employee of the state of West
  3      Virginia?
  4            A.        Yes.
  5            Q.        Doctor, could you briefly describe the
  6      areas in which you consider yourself to be an
  7      expert?
  8            A.        I consider myself to be an expert in the
  9      area of injury statistics, injury data -- under
10       injury, I would include poisoning.                     I've looked at
11       a variety of the classifications -- the way we code
12       injuries, the way we collect them in Vital
13       Statistics.
14                              I was a member of the WHO commission
15       that designed the external cause codes, which
16       include the poisoning codes, for the current
17       revision of the International Disease
18       Classification Code, which is what we use to be
19       able to understand and code the statistics
20       currently at the moment.               We're using the 10th
21       revision.
22                              So this whole use of health data for
23       research and to understand health problems.                     I have
24       analyzed hospital data with regard to a variety of


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  1      injuries, from alcohol-related injuries, to motor
  2      vehicle crashes.
  3                      And then in more recent years, I -- my
  4      expertise has been looking at trauma and alcohol
  5      and trauma and then substance abuse and trauma and
  6      the role of drugs and trauma and because of that
  7      work and because of my expertise in this whole area
  8      of injury - which would include the poisoning under
  9      - and the ability to analyze the kind of medical
10       examiner data, I've been working with the medical
11       examiner data in Maryland, and I expect I was the
12       first person to computerize the medical examiner
13       data in Maryland.
14                        When I first started there, we were
15       studying drownings, and we had to look just at code
16       books, and we developed the first computer system
17       there, data system.
18                       So I've been looking at substance
19       abuse relationship to injuries a lot -- for most of
20       my career, and then most recently being in West
21       Virginia, I've particularly concentrated just on
22       the poisoning aspect of it because the drug
23       overdose problem is so great, you can't not look at
24       that when you come to West Virginia.


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  1            Q.        And Doctor, you've published over 200 peer
  2      reviewed articles over the course of your career,
  3      correct?
  4            A.        Correct.
  5            Q.        Of those 200 art -- plus articles, can you
  6      identify the articles you published that are
  7      specific to opioids?
  8            A.        The specific, as I mentioned, I've been
  9      working in the area of substance abuse, and the --
10       that general area.          Let me just look over --
11                           Oh, good, you have -- so you do have
12       my most recent one that includes --
13                            Okay, my -- this is on page 28.             No.
14       207, the "Quantifying enhanced risk from alcohol
15       and other factors in polysubstance-related deaths."
16       So I don't have to add that.                 That is on there,
17       good.
18                           No. 202, looking at nonfatal overdoses
19       in emergency room -- emergency department --
20       Emergency Medical Services data.
21                           The others mostly all related to
22       alcohol.         No. 2000 {sic}, which is the "Fentanyl
23       and fentanyl-analog" "and drug-related abuse."
24                           And the bulk of my other ones have all


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  1      been related to alcohol and substance abuse and
  2      generally in the area of injuries.
  3                          But particularly a lot of them would
  4      involve using data and the whole coding and how we
  5      track diseases, including tracking opioid poisoning
  6      and being able to work on that.
  7                          And I've been part of an international
  8      group of injury statistics that analyzes problems
  9      and injury statistics, including poisoning deaths.
10             Q.        Thank you, Doctor.        So Publication No. 200
11       is the 2019 fentanyl study which we discussed
12       earlier today, correct?
13             A.        That's correct, yes.
14             Q.        And that is one of the two opioid-specific
15       publications that you just referenced.               Correct?
16             A.        One of three.    Because the 2002 {sic},
17       which is opioid overdose -- overdoses from the EMS
18       run data, and the other one is 2007 {sic},
19       "Quantifying" "risk from alcohol and other factors
20       in" polysubstance deaths."
21                           And there's also a number of other
22       publications that are working on submitting for
23       publication that we've been working on.
24                           But they -- it always takes time when


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  1      you move from one university to the other to get
  2      things published.
  3            Q.        Doctor, Article 207 relates to alcohol and
  4      polysubstance related deaths.                Correct?
  5            A.        Yes, that's drug deaths, yes.
  6            Q.        It's not limited to opioid-related deaths,
  7      correct?
  8            A.        But it's looking at, in particular, how --
  9      and the vast bulk of the drugs that we examine are
10       opioids, and we find out, for example, that the --
11       if alcohol -- look at the alcohol involvement in
12       these polysubstances are part of the general drug
13       deaths.
14             Q.        So you first published a peer reviewed
15       article related specifically to opioids in 2019,
16       correct?
17                           MR. BURNETT:      Objection.
18             A.        With particularly to opioids.           But I think
19       I would emphasize that my expertise has been more
20       on how we classify causes of death and how medical
21       examiner data is used, and so it's a natural jump
22       to include opioids.
23             Q.        But in terms of your publications, the
24       first one specific to opioids was in 2019, correct?


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  1            A.        That's probably correct.
  2            Q.        Doctor, you also have a number of grants
  3      listed in your CV.         Just to try to short-circuit
  4      this review, am I correct that the first grant you
  5      received which is specifically related to opioids
  6      began in 2017?
  7            A.        Yeah, that was the one we wrote when I
  8      first came to West Virginia, yes.
  9            Q.        Are there any grants that you received
10       prior to 2017 that specifically relates to opioids?
11             A.        There's a grant we're working on now with
12       one of my doctoral students, and she did her
13       analysis -- published the -- she's published her
14       thesis on it, is related to the drug toxicology
15       from the -- from the center data and looking at the
16       risk of people dying -- was included in it alcohol
17       and other drugs.
18                           And we specifically are looking at --
19       and she's done all the analysis and published and
20       successfully defended her thesis, but we're still
21       working on drafts of the papers to get those out
22       looking at the drugs and the role of drugs in
23       trauma-related deaths.
24             Q.        You didn't receive any grant money specific


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  1      to opioid research prior to your arrival in West
  2      Virginia, correct?
  3            A.        It wasn't specific.          It was related to
  4      alcohol and drugs prior to coming to West Virginia,
  5      one of the drugs.
  6            Q.        Doctor, and now I just want to turn quickly
  7      to your personal background.                 Have you ever been
  8      convicted of a crime?
  9            A.        No, I haven't.
10             Q.        Have you ever been arrested?
11             A.        Nope.
12             Q.        Have you ever been disciplined by your
13       employer?
14             A.        No.
15             Q.        Have you ever been disciplined by a
16       professional board, such as the medical board?
17             A.        No, I haven't.
18             Q.        Have you ever personally used illegal
19       drugs?
20             A.        No, I haven't.
21             Q.        Do you currently use prescription opioids?
22             A.        No, I do not.
23                             MR. BURNETT:      Counsel, I'm going to
24       interject here.           What is the relevance of this line


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  1      of questions - they're highly personal - about his
  2      personal life?
  3                          MS. WU:     Goes to bias.
  4                          MR. BURNETT:      I find the questions
  5      problematic.         I haven't heard any other expert
  6      being asked these sorts of questions.               I don't know
  7      if you have any reason to think his answer would be
  8      affirmative to any of these.
  9                          MS. WU:     These are questions that
10       plaintiffs have asked defense testifying witnesses,
11       and we simply seek symmetry in this proceeding,
12       Counsel.
13                           MR. BURNETT:      Again, that's not one
14       way or the other, but --
15                           MS. WU:     That's fine.
16             Q.        Doctor, have you ever used prescription
17       opioids?
18             A.        I presume so.     I fractured my femur when I
19       was about 19 years old, and so I presumably was
20       given -- I certainly hope I was given some opioids
21       when I fractured my femur, run over by a car.
22                           And then I also had a ski injury and
23       fractured my tibia -- fibula when I was at
24       university.


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  1                          So high school and -- I think I
  2      probably got one dose of opioids when they were
  3      bringing me down the mountain on a stretcher and
  4      then put in the ambulance and taken to the
  5      hospital.
  6            Q.        Thank you, Doctor.        Following those
  7      incidents of prescription for opioid-class
  8      medications, did you struggle with addiction?
  9            A.        No, I did not.     They were very short
10       courses.
11             Q.        Doctor, earlier today - just before our
12       last break - you testified that prescription pills
13       came into Cabell County somehow.                    And I just want
14       to return to that statement.               You're aware that
15       prescription pills were trafficked by drug
16       trafficking organizations into Cabell County,
17       correct?
18                           MR. BURNETT:      Objection.
19             A.        I -- yes, I said that they -- that they are
20       -- that some are, yes.
21             Q.        Doctor, are you also aware that law
22       enforcement in Cabell County has testified that a
23       substantial portion of opioids abused in Cabell
24       County -- prescription opioids abused in Cabell


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  1      County were trafficked by drug trafficking
  2      organizations?
  3                          MR. BURNETT:         Objection.
  4            A.        Not particularly.          I don't know what
  5      proportion.         There were an awful lot of opiates
  6      prescribed --
  7            Q.        Doctor --
  8            A.        -- as well.
  9            Q.        Doctor, are you aware that Cabell County
10       and the City of Huntington are often referred to as
11       "Little Detroit"?
12                           MR. BURNETT:         Objection.
13             A.        Actually, I haven't heard that term.
14       That's interesting.
15             Q.        I thought you might have read it in the
16       HIDTA reports you referenced earlier.
17             A.        Yeah, I probably have.
18             Q.        I'd recommend them to you.
19                           MS. WU:      Thank you, Doctor.       I
20       appreciate your time today.                  I have no further
21       questions.
22                           Pass the witness.
23                           THE DEPONENT:          Okay.
24                           MR. BURNETT:         Do counsel for the other


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  1      defendants have any questions?
  2                      MS. VITALE:        No questions at this
  3      time.     Thank you.
  4                      MR. BURNETT:         So that was two -- I
  5      can't remember which -- who the third defendant is,
  6      but not hearing any other --
  7                      I may have a few questions for
  8      redirect, so if we could take a break, say, until
  9      4:30.     If I do, it will be short.
10                       MR. FRANKS:        This is -- this is Ray
11       Franks, local counsel for Cardinal.                I defer to
12       Danielle, who's national counsel, as to whether she
13       has any questions for Cardinal.
14                       MS. SOCHACZEVSKI:             No questions here.
15       Thank you.
16                       MR. BURNETT:         I didn't hear the male
17       voice before that.
18                       MR. FRANKS:        Well, it's moot now.
19       This is Ray Franks, I'm local counsel for Cardinal.
20       I was going to defer to Danielle as to whether
21       Cardinal had any questions for the witness, but she
22       piped up right after that and said that they don't.
23                       MR. BURNETT:         All right.      So it sounds
24       like none of the defendants have any further


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  1      questions.         Let's come back in about ten minutes
  2      for a possible redirect.
  3                          VIDEO OPERATOR:        Going off the record,
  4      the time is 4:20 p.m.
  5                          (A recess was taken after which the
  6                          proceedings continued as follows:)
  7                          VIDEO OPERATOR:        Now begins Media Unit
  8      8 in the deposition of Gordon Smith.                We're back on
  9      the record.         The time is 4:34 p.m.
10                                 EXAMINATION
11       BY MR. BURNETT:
12             Q.        Good afternoon, Doctor Smith.
13             A.        Good afternoon.
14             Q.        In your professional work, it is common for
15       you to rely on other sources as the basis for your
16       opinions; is that right?
17             A.        Very common.   In fact, much of the research
18       that's done relies on different data sources from
19       different origins, particular studies.
20             Q.        And in this case, among other sources of
21       data, you've relied on Vital Statistics data that
22       came from the West Virginia Medical Examiner's
23       Office; is that right?
24             A.        That's correct.


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  1             Q.       And you have relied on that Vital
  2      Statistics data in the past in your academic and
  3      other professional work, right?
  4             A.       In both I have, and it's widely used in
  5      research -- the Vital Statistics data, either
  6      specific state studies or national data or
  7      comparing data from one country -- state to the
  8      next, widely used in both academic publications and
  9      peer-reviewed journals.
10                           The Centers for Disease Control use it
11       very widely to decide disease priorities, and the
12       state uses it in West Virginia to look and
13       understand the problems and where their risky areas
14       are.
15              Q.       And you use that Vital Statistics data in
16       prior publications in academic journals, right?
17              A.       Exactly.   And that's been one of my area of
18       expertise, is this whole coding and the
19       International Disease Classification Codes, which
20       is the way that we analyze the data.
21              Q.       And you consider that Vital Statistics data
22       to be reliable?
23              A.       I would consider it to be very reliable.
24       It's particularly reliable in a numb -- in limited


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  1      number of states that have a good medical examiner
  2      system, and the published articles stating that
  3      West Virginia is a group of five or six or seven
  4      states with the best quality drug overdose data in
  5      the country.
  6             Q.       And the work that you did in preparing this
  7      report for this litigation is similar to the type
  8      of work that you do in preparing academic articles,
  9      right?
10              A.       Exactly, yes.
11              Q.       And the data that you used for this report,
12       you believe is the most authoritative, accurate and
13       complete source of overdose data for Cabell County?
14              A.       That's the most accurate that anybody could
15       get.
16              Q.       Okay.
17                           MR. BURNETT:      I have no further
18       questions.         Thank you.
19                           MS. WU:     Thank you, Doctor.      I have no
20       further questions for McKesson.
21                           THE DEPONENT:       Thank you.
22                           VIDEO OPERATOR:        If there are no
23       further questions, we are off the record at
24       4:37 p.m., and this concludes today's testimony


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  1      given by Gordon Smith.
  2                       The total number of media units used
  3      was eight and will be retained by Veritext.
  4                       (Having indicated he would like to
  5                       read his deposition before filing,
  6                       further this deponent saith not.)
  7
  8                                   --oOo--
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                                                                 Page 257

  1      STATE OF WEST VIRGINIA,
  2      COUNTY OF JACKSON, to wit;
  3
  4               I, Teresa S. Evans, a Notary Public within
         and for the County and State aforesaid, duly
  5      commissioned and qualified, do hereby certify that
         the foregoing deposition of GORDON SMITH was duly
  6      taken by me and before me at the time and place and
         for the purpose specified in the caption hereof,
  7      the said witness having been by me first duly
         sworn.
  8
                  I do further certify that the said
  9      deposition was correctly taken by me in shorthand
         notes, and that the same were accurately written
10       out in full and reduced to typewriting and that the
         witness did request to read his transcript.
11
                  I further certify that I am neither
12       attorney or counsel for, nor related to or employed
         by, any of the parties to the action in which this
13       deposition is taken, and further that I am not a
         relative or employee of any attorney or counsel
14       employed by the parties or financially interested
         in the action and that the attached transcript
15       meets the requirements set forth within article
         twenty-seven, chapter forty-seven of the West
16       Virginia Code.
17                My commission expires October 25, 2020.
         Given under my hand this 25th day of October, 2020.
18
19       <%10538,Signature%>
         Teresa S. Evans
20       RMR, CRR, RPR, WV-CCR
21
22
23
24

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  3                                    Phone: 216-523-1313
  4
         September 25, 2020
  5
         To: David D. Burnett
  6
         Case Name: City Of Huntington v. Amerisourcebergen Drug Corporation,
  7      Et Al.
  8      Veritext Reference Number: 4241613
  9      Witness:     Gordon Smith          Deposition Date:      9/22/2020
 10
         Dear Sir/Madam:
 11
 12      Enclosed please find a deposition transcript.           Please have the witness
 13      review the transcript and note any changes or corrections on the
 14      included errata sheet, indicating the page, line number, change, and
 15      the reason for the change.      Have the witness’ signature notarized and
 16      forward the completed page(s) back to us at the Production address
         shown
 17
         above, or email to production-midwest@veritext.com.
 18
 19      If the errata is not returned within thirty days of your receipt of
 20      this letter, the reading and signing will be deemed waived.
 21
         Sincerely,
 22
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 24      NO NOTARY REQUIRED IN CA

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  1                         DEPOSITION REVIEW
                         CERTIFICATION OF WITNESS
  2
           ASSIGNMENT REFERENCE NO: 4241613
  3        City Of Huntington v. Amerisourcebergen Drug Corp, Et Al.
           DATE OF DEPOSITION: 9/22/2020
  4        WITNESS' NAME: Gordon Smith
  5              In accordance with the Rules of Civil
           Procedure, I have read the entire transcript of
  6        my testimony or it has been read to me.
  7              I have made no changes to the testimony
           as transcribed by the court reporter.
  8
           _______________        ________________________
 9         Date                        Gordon Smith
10               Sworn to and subscribed before me, a
           Notary Public in and for the State and County,
11         the referenced witness did personally appear
           and acknowledge that:
12
                   They have read the transcript;
13                 They signed the foregoing Sworn
                   Statement; and
14                 Their execution of this Statement is of
                   their free act and deed.
15
                   I have affixed my name and official seal
16
           this ______ day of_____________________, 20____.
17
                         ___________________________________
18                       Notary Public
19                       ___________________________________
                         Commission Expiration Date
20
21
22
23
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25

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  1                         DEPOSITION REVIEW
                         CERTIFICATION OF WITNESS
  2
           ASSIGNMENT REFERENCE NO: 4241613
  3        City Of Huntington v. Amerisourcebergen Drug Corp, Et Al.
           DATE OF DEPOSITION: 9/22/2020
  4        WITNESS' NAME: Gordon Smith
  5              In accordance with the Rules of Civil
           Procedure, I have read the entire transcript of
  6        my testimony or it has been read to me.
  7              I have listed my changes on the attached
           Errata Sheet, listing page and line numbers as
  8        well as the reason(s) for the change(s).
  9              I request that these changes be entered
           as part of the record of my testimony.
10
                 I have executed the Errata Sheet, as well
11         as this Certificate, and request and authorize
           that both be appended to the transcript of my
12         testimony and be incorporated therein.
13         _______________        ________________________
           Date                        Gordon Smith
14
                 Sworn to and subscribed before me, a
15         Notary Public in and for the State and County,
           the referenced witness did personally appear
16         and acknowledge that:
17               They have read the transcript;
                 They have listed all of their corrections
18               in the appended Errata Sheet;
                 They signed the foregoing Sworn
19               Statement; and
                 Their execution of this Statement is of
20               their free act and deed.
21               I have affixed my name and official seal
22         this ______ day of_____________________, 20____.
23                     ___________________________________
                       Notary Public
24
                         ___________________________________
25                       Commission Expiration Date

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  1                               ERRATA SHEET
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  2                          ASSIGNMENT NO: 4241613
  3         PAGE/LINE(S) /              CHANGE              /REASON
  4         ___________________________________________________
  5         ___________________________________________________
  6         ___________________________________________________
  7         ___________________________________________________
  8         ___________________________________________________
  9         ___________________________________________________
10          ___________________________________________________
11          ___________________________________________________
12          ___________________________________________________
13          ___________________________________________________
14          ___________________________________________________
15          ___________________________________________________
16          ___________________________________________________
17          ___________________________________________________
18          ___________________________________________________
19
            _______________              ________________________
20          Date                                  Gordon Smith
21          SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
22          DAY OF ________________________, 20______ .
23                          ___________________________________
                            Notary Public
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                            ___________________________________
25                          Commission Expiration Date

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